                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 1 of 30
                                                                               LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number        Custodian         Date          Application              Subject                Author                 To              CC             Filename             Treatment                Claim                          Privilege Statement

                                                                                                                                                                                                                      Email communication between SOS legal and SOS
STATE177086   Andre Montgomery   10/4/2022      Outlook Email          FW Residency            LegalTeam         Andre Montgomery                                       Privileged - Redact      Attorney Client        attorney that references prior attorney-client
                                                                                                                                                                                                                                       communication
                                                                    FW Potential Double
                                                                                                                                                                                                                       Election complaint submitted 2/15/23 regarding
DOC_0805922   Andre Montgomery   2/15/2023      Outlook Email        voter in 2016 GE in    Elections Internet      LegalTeam                                          Privileged - Withhold      Investigative
                                                                                                                                                                                                                       potential double voter in 2016 General Election
                                                                     Travis County, TX
                                                                                                                                                                                                                       Election complaint submitted 2/15/23 regarding
                                                                                                                                                  McLaughlin SOS TX
DOC_0805923   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                   Privileged - Withhold         Investigative        potential double voter in 2016 General Election
                                                                                                                                                    Complaint pdf
                                                                                                                                                                                                                      Election complaint submitted 12/12/22 regarding
                                                                      FW Complaint-
DOC_0805947   Andre Montgomery   12/13/2022     Outlook Email                                  LegalTeam            Kate Fisher                                        Privileged - Withhold      Investigative              potential voter registration fraud
                                                                      Dershem-Perjury
                                                                                                                                                  complaintform-sos-                                                  Election complaint submitted 12/12/22 regarding
DOC_0805948   Andre Montgomery   1/11/2023    Adobe Acrobat (PDF)                                                                                                     Privileged - Withhold       Investigative
                                                                                                                                                    DERSHEM pdf                                                              potential voter registration fraud
                                                   JPEG File                                                                                      Google Map 6712 N                                                   Election complaint submitted 12/12/22 regarding
DOC_0805949   Andre Montgomery   1/11/2023                                                                                                                            Privileged - Withhold       Investigative
                                                  Interchange                                                                                       Lamar Blvd jpg                                                           potential voter registration fraud
                                                                                                                                                  Screenshot of motel                                                 Election complaint submitted 12/12/22 regarding
DOC_0805950   Andre Montgomery   1/11/2023    Adobe Acrobat (PDF)                             Merry Brand                                                             Privileged - Withhold       Investigative
                                                                                                                                                   6712 N Lamar pdf                                                          potential voter registration fraud
                                                                                                                                                                                                                      Election complaint submitted 12/12/22 regarding
DOC_0805951   Andre Montgomery   1/11/2023    Adobe Acrobat (PDF)                             Merry Brand                                           Signed page pdf    Privileged - Withhold      Investigative
                                                                                                                                                                                                                             potential voter registration fraud
                                                                                                                                                    Website of Mehl's                                                 Election complaint submitted 12/12/22 regarding
DOC_0805952   Andre Montgomery   1/11/2023    Adobe Acrobat (PDF)                             Merry Brand                                                             Privileged - Withhold       Investigative
                                                                                                                                                       Motel pdf                                                             potential voter registration fraud
                                                                                                                                                  ZacharyDershemDPS                                                   Election complaint submitted 12/12/22 regarding
DOC_0805953   Andre Montgomery   1/11/2023    Microsoft Word 2016                            Amanda Katzer                                                            Privileged - Withhold       Investigative
                                                                                                                                                          docx                                                               potential voter registration fraud
                                                                       2020 Election                                                                                                            Attorney Client;       Email communication between SOS attorneys
DOC_0805973   Andre Montgomery    8/8/2022      Outlook Email                               Andre Montgomery      Heidi Martinez                                       Privileged - Withhold
                                                                      Results E-mails                                                                                                          Deliberative Process          regarding election results emails
                                                                    FW Potential Double                                                                                                                                Election complaint submitted 2/15/23 regarding
DOC_0806028   Andre Montgomery   2/15/2023      Outlook Email        voter in 2016 GE in       LegalTeam            Kate Fisher                                        Privileged - Withhold      Investigative        potential double voter in 2016 General Election
                                                                     Travis County, TX
                                                                                                                                                                                                                       Election complaint submitted 2/15/23 regarding
                                                                                                                                                  McLaughlin SOS TX
DOC_0806029   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                   Privileged - Withhold         Investigative        potential double voter in 2016 General Election
                                                                                                                                                    Complaint pdf
                                                                                                                                                                                                                        Email communication between SOS attorneys
DOC_0806095   Andre Montgomery   8/26/2022      Outlook Email          retention 2020         Melanie Best          Elec Legal      Adam Bitter                        Privileged - Withhold     Attorney Client
                                                                                                                                                                                                                            regarding retention of 2020 records
                                                                      FW Irregularity -                                                                                                                                 Email communication between SOS attorney
STATE177118   Andre Montgomery   11/14/2022     Outlook Email           Pct 11 Cayote          LegalTeam          Heidi Martinez                                        Privileged - Redact      Attorney Client          regarding ballot complaint from Cayote
                                                                     Community Center                                                                                                                                        Community Center voting location
                                                                     FW Potential 2020
                                                                      Primary Election
                                                                                                                                                                                                                         Email conversation between SOS attorneys
                                                                      ineligible voter in                                                                                                           Attorney
DOC_0806329   Andre Montgomery   2/13/2023      Outlook Email                                  LegalTeam          Charles Pinney                                       Privileged - Withhold                          regarding complaint received 2/13/23 of ineligible
                                                                     Fulton County, GA                                                                                                         Client;Investigative
                                                                                                                                                                                                                             voter during 2020 primary election
                                                                     via Wayne County,
                                                                              MI
                                                                                                                                                      Krentzel GA                                                      Election complaint received 2/13/23 of ineligible
DOC_0806330   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                      History pdf                                                            voter during 2020 Primary Election
                                                                                                                                                                                                                       Election complaint received 2/13/23 of ineligible
DOC_0806331   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                 Krentzel GA Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                                                             voter during 2020 primary election
                                                                                                                                                     Krentzel MI                                                       Election complaint received 2/13/23 of ineligible
DOC_0806332   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                     History pdf                                                             voter during 2020 primary election
                                                                                                                                                    KRENTZEL MI                                                        Election complaint received 2/13/23 of ineligible
DOC_0806333   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                       Info pdf                                                              voter during 2020 primary election
                                                                                                                                                     Krentzel TX                                                       Election complaint received 2/13/23 of ineligible
DOC_0806334   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                     History pdf                                                             voter during 2020 primary election
                                                                                                                                                    KRENTZEL TX                                                        Election complaint received 2/13/23 of ineligible
DOC_0806335   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                       Info pdf                                                              voter during 2020 primary election
                                                                        FW Another
                                                                      Potential Double
                                                                                                                                                                                                                       Election complaint submitted 2/15/23 regarding
                                                                     voter in 2020 GE in
DOC_0806373   Andre Montgomery   2/15/2023      Outlook Email                                  LegalTeam            Kate Fisher                                        Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                    Rockland County, NY
                                                                      and Washington
                                                                         County, TX
                                                                                                                                                  Chamakala Abraham                                                    Election complaint submitted 2/15/23 regarding
DOC_0806374   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                   Privileged - Withhold         Investigative
                                                                                                                                                     NY Info pdf                                                       potential double voter in 2020 General Election
                                                                                                                                                  Chamakala Abraham
                                                                                                                                                                                                                       Election complaint submitted 2/15/23 regarding
DOC_0806375   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                      SOS TX       Privileged - Withhold         Investigative
                                                                                                                                                                                                                       potential double voter in 2020 General Election
                                                                                                                                                     Complaint pdf
                                                                                                                                                  Chamakala Abraham                                                    Election complaint submitted 2/15/23 regarding
DOC_0806376   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                   Privileged - Withhold         Investigative
                                                                                                                                                      TX Info pdf                                                      potential double voter in 2020 General Election

                                                                    FW Potential Double
                                                                     voter in 2020 GE in
                                                                                                                                                                                                                         Email with election complaint dated 2/15/23
DOC_0806433   Andre Montgomery   2/15/2023      Outlook Email       Rockland County, NY        LegalTeam            Kate Fisher                                        Privileged - Withhold      Investigative
                                                                                                                                                                                                                        alleging voter fraud in 2020 General Election
                                                                      and Washington
                                                                         County, TX
                                                                                                                                                      Chamakala
                                                                                                                                                                                                                       Election complaint dated 2/15/23 alleging voter
DOC_0806434   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                   Santhamma NY       Privileged - Withhold      Investigative
                                                                                                                                                                                                                               fraud in 2020 General Election
                                                                                                                                                       Info pdf


                                                                                                                         1 of 30
                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 2 of 30
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number        Custodian         Date          Application              Subject                Author                  To             CC        Filename             Treatment                 Claim                          Privilege Statement

                                                                                                                                                 Chamakala
                                                                                                                                                                                                                    Election complaint dated 2/15/23 alleging voter
DOC_0806435   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                            Santhamma SOS TX Privileged - Withhold           Investigative
                                                                                                                                                                                                                            fraud in 2020 General Election
                                                                                                                                                Complaint pdf
                                                                                                                                                 Chamakala
                                                                                                                                                                                                                    Election complaint dated 2/15/23 alleging voter
DOC_0806436   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                              Santhamma TX   Privileged - Withhold           Investigative
                                                                                                                                                                                                                            fraud in 2020 General Election
                                                                                                                                                  Info pdf
                                                                     FW Complaint -
                                                                                                                                                                                                                  Email with election complaint dated 9/2/22 alleging
DOC_0806447   Andre Montgomery    9/2/2022      Outlook Email        Perjury - Hannah       Elections Internet       LegalTeam                                     Privileged - Withhold      Investigative
                                                                                                                                                                                                                        voter fraud in 2020 General Election
                                                                     Marie Christian
                                                                                                                                              Election Complaint
                                                                                                                                                     to the                                                         Election complaint dated 9/2/22 alleging voter
DOC_0806448   Andre Montgomery   10/24/2022   Adobe Acrobat (PDF)                                                                                                Privileged - Withhold        Investigative
                                                                                                                                             SOS_HannahMarieC                                                              fraud in 2020 General Election
                                                                                                                                                 hristian pdf
                                                   JPEG File                                                                                 Mail&More_Address                                                      Election complaint dated 9/2/22 alleging voter
DOC_0806449   Andre Montgomery   10/24/2022                                                                                                                      Privileged - Withhold        Investigative
                                                  Interchange                                                                                          jpg                                                                 fraud in 2020 General Election
                                                   JPEG File                                                                                 Mail&MoreSte160 jp                                                     Election complaint dated 9/2/22 alleging voter
DOC_0806450   Andre Montgomery   10/24/2022                                                                                                                      Privileged - Withhold        Investigative
                                                  Interchange                                                                                           g                                                                  fraud in 2020 General Election
                                                   JPEG File                                                                                 Signature_on_Compl                                                     Election complaint dated 9/2/22 alleging voter
DOC_0806451   Andre Montgomery   10/24/2022                                                                                                                      Privileged - Withhold        Investigative
                                                  Interchange                                                                                       aint jpg                                                               fraud in 2020 General Election
                                                   JPEG File                                                                                 TravisSOR_Hannah                                                       Election complaint dated 9/2/22 alleging voter
DOC_0806452   Andre Montgomery   10/24/2022                                                                                                                      Privileged - Withhold        Investigative
                                                  Interchange                                                                                 MarieChristian jpg                                                           fraud in 2020 General Election
                                                                                                                                                                                                                    Email communication between SOS attorneys
                                                                    Legislative Report on                         Christina Adkins;                                                       Attorney Client;
DOC_0806487   Andre Montgomery   12/22/2022     Outlook Email                             Andre Montgomery                                                         Privileged - Withhold                           regarding draft Legislative report on November
                                                                           CWPP                                    Heidi Martinez                                                        Deliberative Process
                                                                                                                                                                                                                                    2020 election
                                                                                                                                              Report to the 88th
                                                                                               Information                                                                             Attorney Client;             Attorney-drafted report to 88th Legislation on
DOC_0806488   Andre Montgomery   1/22/2023    Microsoft Word 2016                                                                             Legislature Under Privileged - Withhold
                                                                                               Technology                                                                             Deliberative Process                            elections
                                                                                                                                             Section 43 007(j) docx
                                                                      FW Your Daily
                                                                                                                                                                                                                  Election complaint received 8/24/22 alleging voter
DOC_0806522   Andre Montgomery    9/2/2022      Outlook Email       Digest for Wed, Aug     Elections Internet       LegalTeam                                     Privileged - Withhold      Investigative
                                                                                                                                                                                                                          registration fraud in DeSoto, TX
                                                                             24
                                                                                                                                              Election Complaint                                                  Election complaint received 8/24/22 alleging voter
DOC_0806523   Andre Montgomery   10/24/2022   Adobe Acrobat (PDF)                                                                                                 Privileged - Withhold       Investigative
                                                                                                                                             to the SOS - ZJP pdf                                                         registration fraud in DeSoto, TX
                                                   JPEG File                                                                                      False Voter                                                     Election complaint received 8/24/22 alleging voter
DOC_0806524   Andre Montgomery   10/24/2022                                                                                                                       Privileged - Withhold       Investigative
                                                  Interchange                                                                                  Registration jpg                                                           registration fraud in DeSoto, TX
                                                                     FW Message from
                                                                                                                                                                                                                     Email conversation between SOS attorneys
                                                                    307-52981-9124206 |                                                                                                      Attorney Client;
DOC_0806537   Andre Montgomery   5/31/2022      Outlook Email                                  LegalTeam           Charles Pinney                                  Privileged - Withhold                           regarding election fraud complaint from Denton
                                                                      English option 4                                                                                                        Investigative
                                                                                                                                                                                                                                        County
                                                                        (8184008485)
                                                                     Message from 307-                                                        Message from 307-
                                                                                              Cisco Unity
                                                                      52981-9124206 |                            91251@voip dir texas          52981-9124206 _                                                     Email with election fraud complaint from Denton
DOC_0806538   Andre Montgomery   5/31/2022      Outlook Email                                  Connection                                                          Privileged - Withhold      Investigative
                                                                      English option 4                                  gov                    English option 4                                                                         County
                                                                                            Messaging System
                                                                        (8184008485)                                                          (8184008485) msg
DOC_0806539   Andre Montgomery    7/2/2022      Windows Sound                                                                                 VoiceMessage wav     Privileged - Withhold      Investigative         Election fraud complaint from Denton County

                                                                    FW Potential Double
                                                                                                                                                                                                                   Election complaint received 2/15/2023 alleging
DOC_0806541   Andre Montgomery   2/15/2023      Outlook Email        voter in 2016 GE in    Elections Internet       LegalTeam                                     Privileged - Withhold      Investigative
                                                                                                                                                                                                                         double vote in 2016 General Election
                                                                     Travis County, TX
                                                                                                                                             McLaughlin SOS TX                                                     Election complaint received 2/15/2023 alleging
DOC_0806542   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                              Privileged - Withhold          Investigative
                                                                                                                                               Complaint pdf                                                             double vote in 2016 General Election
                                                                     ABBM vs FPCA -                                                                                                                                 Email communication between SOS attorneys
                                                                                                                                                                                            Attorney Client;
STATE177129   Andre Montgomery   2/10/2023      Outlook Email       Common or Contract       Charles Pinney      Elections-Attorneys                                Privileged - Redact                               regarding response to Dallas Co email on
                                                                                                                                                                                           Deliberative Process
                                                                       Carrier DRAFT                                                                                                                                 delivering mail balloting material to voters
                                                                          FW Very
                                                                    possible/likely voter                                                                                                                            Email complaint received 10/9/22 regarding
DOC_0806570   Andre Montgomery   10/9/2022      Outlook Email                               Elections Internet       LegalTeam                                     Privileged - Withhold      Investigative
                                                                      fraud in Uvalde's                                                                                                                             possible voter registration fraud in Uvalde, TX
                                                                     upcoming election
                                                                    FW Potential Double
                                                                     voter in 2020 GE in                                                                                                                            Election complaint received 2/15/2023 alleging
DOC_0806572   Andre Montgomery   2/15/2023      Outlook Email                                  LegalTeam             Kate Fisher                                   Privileged - Withhold      Investigative
                                                                    Erie County, NY and                                                                                                                             double voting fraud in 2020 General Election
                                                                     Dallas County, TX
                                                                                                                                              Nelson NY County                                                     Election complaint received 2/15/2023 alleging
DOC_0806573   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold      Investigative
                                                                                                                                                   Info pdf                                                        double voting fraud in 2020 General Election
                                                                                                                                                                                                                   Election complaint received 2/15/2023 alleging
DOC_0806574   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                             Nelson NY Info pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                   double voting fraud in 2020 General Election
                                                                                                                                               Nelson SOS TX                                                       Election complaint received 2/15/2023 alleging
DOC_0806575   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold      Investigative
                                                                                                                                               Complaint pdf                                                       double voting fraud in 2020 General Election
                                                                                                                                              Nelson TX County                                                     Election complaint received 2/15/2023 alleging
DOC_0806576   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold      Investigative
                                                                                                                                                   Info pdf                                                        double voting fraud in 2020 General Election
                                                                                                                                                                                                                   Election complaint received 2/15/2023 alleging
DOC_0806577   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                             Nelson TX Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                   double voting fraud in 2020 General Election
                                                                     FW Complaint -                                                                                                                                 Election complaint submitted 9/2/22 alleging
                                                                                                                                                                                                Attorney
DOC_0806616   Andre Montgomery    9/2/2022      Outlook Email        Perjury - Hannah          LegalTeam             Kate Fisher                                   Privileged - Withhold                        fraudulent registration SOS attorney conversation
                                                                                                                                                                                           Client;Investigative
                                                                     Marie Christian                                                                                                                                            about the complaint
                                                                                                                                              Election Complaint
                                                                                                                                                     to the                                                          Election complaint submitted 9/2/22 alleging
DOC_0806617   Andre Montgomery   10/6/2022    Adobe Acrobat (PDF)                                                                                                Privileged - Withhold        Investigative
                                                                                                                                             SOS_HannahMarieC                                                                   fraudulent registration
                                                                                                                                                 hristian pdf



                                                                                                                          2 of 30
                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 3 of 30
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number        Custodian         Date          Application              Subject               Author                  To                  CC               Filename             Treatment                 Claim                          Privilege Statement

                                                   JPEG File                                                                                            Mail&More_Address                                                       Election complaint submitted 9/2/22 alleging
DOC_0806618   Andre Montgomery   10/6/2022                                                                                                                                 Privileged - Withhold         Investigative
                                                  Interchange                                                                                                  jpg                                                                         fraudulent registration
                                                   JPEG File                                                                                            Mail&MoreSte160 jp                                                      Election complaint submitted 9/2/22 alleging
DOC_0806619   Andre Montgomery   10/6/2022                                                                                                                                 Privileged - Withhold         Investigative
                                                  Interchange                                                                                                   g                                                                          fraudulent registration
                                                   JPEG File                                                                                            Signature_on_Compl                                                      Election complaint submitted 9/2/22 alleging
DOC_0806620   Andre Montgomery   10/6/2022                                                                                                                                  Privileged - Withhold        Investigative
                                                  Interchange                                                                                                 aint jpg                                                                     fraudulent registration
                                                   JPEG File                                                                                            TravisSOR_Hannah                                                        Election complaint submitted 9/2/22 alleging
DOC_0806621   Andre Montgomery   10/6/2022                                                                                                                                  Privileged - Withhold        Investigative
                                                  Interchange                                                                                            MarieChristian jpg                                                                fraudulent registration
                                                                     FW Message from
                                                                    307-52981-9124206 |                                                                                                                                         Election complaint received 5/31/22 alleging
DOC_0806655   Andre Montgomery   5/31/2022      Outlook Email                              Elections Internet       LegalTeam           Kate Fisher                           Privileged - Withhold      Investigative
                                                                      English option 4                                                                                                                                                election fraud in Denton County
                                                                        (8184008485)
                                                                     Message from 307-                                                                   Message from 307-
                                                                                             Cisco Unity
                                                                      52981-9124206 |                           91251@voip dir texas                      52981-9124206 _                                                       Election complaint received 5/31/22 alleging
DOC_0806656   Andre Montgomery   5/31/2022      Outlook Email                                 Connection                                                                      Privileged - Withhold      Investigative
                                                                      English option 4                                 gov                                English option 4                                                            election fraud in Denton County
                                                                                           Messaging System
                                                                        (8184008485)                                                                     (8184008485) msg
                                                                                                                                                                                                                                Election complaint received 5/31/22 alleging
DOC_0806657   Andre Montgomery   7/25/2022      Windows Sound                                                                                            VoiceMessage wav     Privileged - Withhold      Investigative
                                                                                                                                                                                                                                      election fraud in Denton County
                                                                        FW Another
                                                                      Potential Double
                                                                     voter in 2020 GE in                                                                                                                                     Election complaint received 2/15/23 alleging double
DOC_0806694   Andre Montgomery   2/15/2023      Outlook Email                              Elections Internet       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                    Rockland County, NY                                                                                                                                                voting in 2020 General Election
                                                                      and Washington
                                                                         County, TX
                                                                                                                                                        Chamakala Abraham                                                    Election complaint received 2/15/23 alleging double
DOC_0806695   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                         Privileged - Withhold          Investigative
                                                                                                                                                           NY Info pdf                                                                 voting in 2020 General Election
                                                                                                                                                        Chamakala Abraham
                                                                                                                                                                                                                             Election complaint received 2/15/23 alleging double
DOC_0806696   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                            SOS TX       Privileged - Withhold          Investigative
                                                                                                                                                                                                                                       voting in 2020 General Election
                                                                                                                                                           Complaint pdf
                                                                                                                                                        Chamakala Abraham                                                    Election complaint received 2/15/23 alleging double
DOC_0806697   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                         Privileged - Withhold          Investigative
                                                                                                                                                            TX Info pdf                                                                voting in 2020 General Election

                                                                    FW Potential Double
                                                                     voter in 2020 GE in
                                                                                                                                                                                                                             Election complaint received 2/15/23 alleging double
DOC_0806726   Andre Montgomery   2/15/2023      Outlook Email       Rockland County, NY    Elections Internet       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                                                                                                                                                                                       voting in 2020 General Election
                                                                      and Washington
                                                                         County, TX
                                                                                                                                                            Chamakala
                                                                                                                                                                                                                             Election complaint received 2/15/23 alleging double
DOC_0806727   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                         Santhamma NY   Privileged - Withhold           Investigative
                                                                                                                                                                                                                                       voting in 2020 General Election
                                                                                                                                                             Info pdf
                                                                                                                                                            Chamakala
                                                                                                                                                                                                                             Election complaint received 2/15/23 alleging double
DOC_0806728   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                       Santhamma SOS TX Privileged - Withhold           Investigative
                                                                                                                                                                                                                                       voting in 2020 General Election
                                                                                                                                                           Complaint pdf
                                                                                                                                                            Chamakala
                                                                                                                                                                                                                             Election complaint received 2/15/23 alleging double
DOC_0806729   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                         Santhamma TX   Privileged - Withhold           Investigative
                                                                                                                                                                                                                                       voting in 2020 General Election
                                                                                                                                                             Info pdf
                                                                    FW Potential Double
                                                                                                                                                                                                                              Election complaint submitted 2/15/23 regarding
DOC_0806736   Andre Montgomery   2/15/2023      Outlook Email        voter in 2016 GE in      LegalTeam             Kate Fisher                                               Privileged - Withhold      Investigative
                                                                                                                                                                                                                              potential double voter in 2016 General Election
                                                                     Travis County, TX
                                                                                                                                                        McLaughlin SOS TX                                                     Election complaint submitted 2/15/23 regarding
DOC_0806737   Andre Montgomery   3/24/2023    Adobe Acrobat (PDF)                                                                                                         Privileged - Withhold          Investigative
                                                                                                                                                          Complaint pdf                                                       potential double voter in 2016 General Election
                                                                    FW Potential Double
                                                                     voter in 2020 GE in                                                                                                                                      Election complaint submitted 2/15/23 regarding
DOC_0806760   Andre Montgomery   2/15/2023      Outlook Email                              Elections Internet       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                    Erie County, NY and                                                                                                                                       potential double voter in 2016 General Election
                                                                     Dallas County, TX
                                                                                                                                                         Nelson NY County                                                     Election complaint submitted 2/15/23 regarding
DOC_0806761   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                              Info pdf                                                        potential double voter in 2016 General Election
                                                                                                                                                                                                                              Election complaint submitted 2/15/23 regarding
DOC_0806762   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                        Nelson NY Info pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                              potential double voter in 2016 General Election
                                                                                                                                                          Nelson SOS TX                                                       Election complaint submitted 2/15/23 regarding
DOC_0806763   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                          Complaint pdf                                                       potential double voter in 2016 General Election
                                                                                                                                                         Nelson TX County                                                     Election complaint submitted 2/15/23 regarding
DOC_0806764   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                              Info pdf                                                        potential double voter in 2016 General Election
                                                                                                                                                                                                                              Election complaint submitted 2/15/23 regarding
DOC_0806765   Andre Montgomery   2/20/2023    Adobe Acrobat (PDF)                                                                                        Nelson TX Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                              potential double voter in 2016 General Election
                                                                                                                                                                                                                               Election complaint received 2/11/23 regarding
DOC_0806777   Andre Montgomery   2/13/2023      Outlook Email         FW Voter Fraud       Elections Internet       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  potential fraudulent voter registration
                                                                     FW Irregularity -
                                                                                                                                                                                                                             Election complaint submitted 11/8/22 regarding pre-
DOC_0806788   Andre Montgomery   11/13/2022     Outlook Email          Pct 11 Cayote       Elections Internet       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                                                                                                                                                                                         filled supplemental ballot
                                                                     Community Center
                                                                         FW Voter
                                                                                                                                                                                                                              Email communication between SOS attorneys on
STATE177133   Andre Montgomery   12/13/2022     Outlook Email       Registration Hidalgo    Heidi Martinez      Elections-Attorneys                                            Privileged - Redact      Attorney Client
                                                                                                                                                                                                                                voter registration confidentiality inquiries
                                                                           County
                                                                      100 Lori Rape                                                                                                                                             Election fraud complaint received March 2022
                                                                                                                                                                                                           Attorney
DOC_0806871   Andre Montgomery   11/7/2022      Outlook Email          Complaint -            Kate Fisher       Andre Montgomery       Heidi Martinez                         Privileged - Withhold                            alleging that someone voted who may have been
                                                                                                                                                                                                      Client;Investigative
                                                                     Assignment (AM)                                                                                                                                         ineligible SOS attorney conversation on complaint


                                                                                                                         3 of 30
                                                Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 4 of 30
                                                                             LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number        Custodian         Date         Application              Subject               Author                  To                      CC                 Filename             Treatment                Claim                        Privilege Statement

                                                                                                                                                                                                                                  Election fraud complaint received March 2022
                                                                                                                                                                  Lori Rape
DOC_0806872   Andre Montgomery   11/7/2022   Adobe Acrobat (PDF)                                                                                                                   Privileged - Withhold     Investigative      alleging that someone voted who may have been
                                                                                                                                                                Complaint pdf
                                                                                                                                                                                                                                                     ineligible
                                                                   RE DRAFT email to                                                                                                                                               Email conversation between SOS attorneys
                                                                                                                                                                                                           Attorney Client;
DOC_0806885   Andre Montgomery   3/3/2023      Outlook Email          Ellis County re        Lena Proft       Elections-Attorneys                                                  Privileged - Withhold                        discussing draft email to Ellis County regarding
                                                                                                                                                                                                         Deliberative Process
                                                                     Farmers Branch                                                                                                                                                           implementation of SB1
                                                                   RE DRAFT email to                            Heidi Martinez;                                                                                                    Email conversation between SOS attorneys
                                                                                                                                                                                                           Attorney Client;
DOC_0806901   Andre Montgomery   3/3/2023      Outlook Email          Ellis County re        Lena Proft         Charles Pinney;                                                    Privileged - Withhold                        discussing draft email to Ellis County regarding
                                                                                                                                                                                                         Deliberative Process
                                                                     Farmers Branch                           Elections-Attorneys                                                                                                             implementation of SB1
                                                                   RE Generic Chain of                        Alexa Buxkemper;                                                                                                   Email conversation between SOS attorneys and
DOC_0806911   Andre Montgomery   2/27/2023     Outlook Email        Custody Provision -    Tessa Rowland       Christina Adkins;                                                   Privileged - Withhold   Attorney Client     SOS elections division staff regarding advisory on
                                                                       High Priority                              Elec Legal                                                                                                                chain of custody of ballots
                                                                                                                                                                                                                               SOS employee to SOS legal regarding response to
STATE177135   Andre Montgomery   2/24/2023     Outlook Email       FW voter rolls 1880       Kate Fisher           Elec Legal              Kristi Hart                              Privileged - Redact    Attorney Client
                                                                                                                                                                                                                                     voter rolls question from Cooke County
                                                                                                                                                                                                                                Email communication from SOS attorney to SOS
                                                                   Tracking Reports as                                                   Kristi Hart; Dan
DOC_0806922   Andre Montgomery   3/19/2023     Outlook Email                              Christina Adkins         Elec Legal                                                      Privileged - Withhold   Attorney Client          legal and Elections Division regarding bill
                                                                        of 3 19 20                                                     Glotzer; Adam Bitter
                                                                                                                                                                                                                                                      tracking
                                                                                                                                                                                                                                 Email conversations between SOS attorney and
                                                                   Re DRAFT email to                                                                                                                       Attorney Client;
                                                                                                              Lena Proft; Elections-                                                                                            SOS legal regarding draft response email to Ellis
DOC_0806927   Andre Montgomery   3/3/2023      Outlook Email         Ellis County re       Charles Pinney                                                                          Privileged - Withhold Deliberative Process;
                                                                                                                   Attorneys                                                                                                       County elections admin question on election
                                                                    Farmers Branch                                                                                                                          W kP d
                                                                                                                                                                                                                                                    procedures
                                                                                                                                                                                                                               Email communication from SOS elections division
                                                                     FW Best phone
STATE177138   Andre Montgomery   3/1/2023      Outlook Email                                 Kate Fisher           Elec Legal              Kristi Hart                              Privileged - Redact    Attorney Client        staff to SOS legal regarding response to ERIC
                                                                      number to call
                                                                                                                                                                                                                                                       inquiry
                                                                   RE Generic Chain of                         Alexa Buxkemper;                                                                                Attorney
                                                                                                                                                                                                                               SOS employee to SOS legal re revisions to chain of
DOC_0806935   Andre Montgomery   2/27/2023     Outlook Email        Custody Provision -   Elizabeth Hawkins    Christina Adkins;                                                   Privileged - Withhold Client;Deliberative
                                                                                                                                                                                                                                custody provision and interpretation of statutes
                                                                      High Priority                                Elec Legal                                                                                  Process
                                                                     FW ELECTIONS
                                                                                                                                                                                                                               SOS employee to SOS legal re response to question
STATE177145   Andre Montgomery   2/28/2023     Outlook Email       FORMS/PRINTING            Kate Fisher           Elec Legal              Kristi Hart                              Privileged - Redact    Attorney Client
                                                                                                                                                                                                                                 on election form printing from Collin County
                                                                      QUESTIONS
                                                                                                              Andre Montgomery;
                                                                                                                Charles Pinney;                                                                               Attorney
                                                                                                                                                                                                                                 Email communication between SOS attorneys
DOC_0806958   Andre Montgomery   3/21/2023     Outlook Email            To Review         Christina Adkins     Christina Adkins;                                                   Privileged - Withhold Client;Deliberative
                                                                                                                                                                                                                                         regarding review of SB1933
                                                                                                              Heidi Martinez; Lena                                                                             Process
                                                                                                                     Proft
                                                                                                                                                                SB01933I (CA
DOC_0806959   Andre Montgomery   3/21/2023   Microsoft Word 2016                          Andre Montgomery                                                                         Privileged - Withhold   Attorney Client               SOS attorney notes on SB1933
                                                                                                                                                                 Rev 3) docx
                                                                                                               Elizabeth Hawkins;                                                                                              Email conversation between SOS election division
                                                                   RE Generic Chain of                                                                                                                        Attorney
                                                                                                               Alexa Buxkemper;                                                                                                   employees and SOS attorney regarding draft
DOC_0806976   Andre Montgomery   2/27/2023     Outlook Email        Custody Provision -    Deborah Abrego                                                                          Privileged - Withhold Client;Deliberative
                                                                                                                Christina Adkins;                                                                                              response to inquiry on chain of custody and how to
                                                                      High Priority                                                                                                                            Process
                                                                                                                    Elec Legal                                                                                                                    apply statutes
                                                                   RE DRAFT email to                          Charles Pinney; Lena                                                                            Attorney             Email conversation between SOS attorneys
DOC_0806982   Andre Montgomery   3/3/2023      Outlook Email          Ellis County re      Heidi Martinez        Proft; Elections-                                                 Privileged - Withhold Client;Deliberative    regarding draft response to Ellis County elections
                                                                     Farmers Branch                                 Attorneys                                                                                  Process            administrator inquiry on election procedures
                                                                   RE Generic Chain of                                                                                                                                         Email conversation between SOS elections division
                                                                                                               Christina Adkins;
DOC_0807003   Andre Montgomery   2/27/2023     Outlook Email        Custody Provision -   Alexa Buxkemper                                                                          Privileged - Withhold   Attorney Client      employee and SOS attorneys re draft response to
                                                                                                                  Elec Legal
                                                                       High Priority                                                                                                                                                        chain of custody inquiry
                                                                   DRAFT email to Ellis                                                                                                                                           Email communication between SOS attorneys
DOC_0807011   Andre Montgomery   3/2/2023      Outlook Email        County re Farmers        Lena Proft       Elections-Attorneys                                                  Privileged - Withhold   Attorney Client     regarding draft response to Ellis County inquiry in
                                                                          Branch                                                                                                                                                               election procedures
                                                                        Fwd Texas
                                                                                                                                                                                                                                 Email communication between SOS attorneys
STATE177153   Andre Montgomery   3/9/2023      Outlook Email       Legislature Online -   Christina Adkins      Heidi Martinez              Elec Legal                              Privileged - Redact    Attorney Client
                                                                                                                                                                                                                                  regarding new bills filed on March 8, 2023
                                                                       Subject Alert
                                                                                                              Charles Pinney; Lena
                                                                   Sections of Code for                                                 Christina Adkins;                                                                        Email communication between SOS attorneys
DOC_0807015   Andre Montgomery   3/10/2023     Outlook Email                               Heidi Martinez         Proft; Andre                                                     Privileged - Withhold   Attorney Client
                                                                       Bill Review                                                        Kristi Hart                                                                              regarding sections of code for bill review
                                                                                                                 Montgomery
                                                                      FW Potential
                                                                    ineligible voter in
                                                                                                                                                                                                                                Election complaint submitted 3/26/23 regarding
DOC_0807018   Andre Montgomery   3/27/2023     Outlook Email       2020 GE in Gwinnett       LegalTeam            Kate Fisher                                                      Privileged - Withhold     Investigative
                                                                                                                                                                                                                               potential ineligible voter in 2020 General Election
                                                                    County, GA via El
                                                                     Paso County, TX

                                                                                                                                                                 Claude GA                                                      Election complaint submitted 3/26/23 regarding
DOC_0807019   Andre Montgomery   3/27/2023   Adobe Acrobat (PDF)                                                                                                                   Privileged - Withhold     Investigative
                                                                                                                                                                 History pdf                                                   potential ineligible voter in 2020 General Election

                                                                                                                                                                                                                                Election complaint submitted 3/26/23 regarding
DOC_0807020   Andre Montgomery   3/27/2023   Adobe Acrobat (PDF)                                                                                              Claude GA Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                               potential ineligible voter in 2020 General Election

                                                                                                                                                               Claude TX SOS                                                    Election complaint submitted 3/26/23 regarding
DOC_0807021   Andre Montgomery   3/27/2023   Adobe Acrobat (PDF)                                                                                                                   Privileged - Withhold     Investigative
                                                                                                                                                               Complaint pdf                                                   potential ineligible voter in 2020 General Election
                                                                      FW Potential
                                                                    ineligible voter in
                                                                                                                                                                                                                                Election complaint submitted 3/26/23 regarding
DOC_0807025   Andre Montgomery   3/27/2023     Outlook Email       2020 GE in Barrow         LegalTeam            Kate Fisher                                                      Privileged - Withhold     Investigative
                                                                                                                                                                                                                               potential ineligible voter in 2020 General Election
                                                                     County, GA via
                                                                   Howard County, TX
                                                                                                                                                                                                                                Election complaint submitted 3/26/23 regarding
DOC_0807026   Andre Montgomery   3/27/2023   Adobe Acrobat (PDF)                                                                                              Ernest TX Info pdf   Privileged - Withhold     Investigative
                                                                                                                                                                                                                               potential ineligible voter in 2020 General Election




                                                                                                                        4 of 30
                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 5 of 30
                                                                               LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number        Custodian         Date          Application               Subject               Author                   To                    CC                Filename             Treatment                 Claim                          Privilege Statement

                                                                                                                                                                Ernest TX SOS                                                      Election complaint submitted 3/26/23 regarding
DOC_0807027   Andre Montgomery   3/27/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold      Investigative
                                                                                                                                                                Complaint pdf                                                     potential ineligible voter in 2020 General Election
                                                                                                                                                                                                                                  Email communication from SOS attorney to office
                                                                       Administrative                            benjamin barkley@go
DOC_0807035   Christina Adkins   3/24/2023      Outlook Email                               Christina Adkins                                                                       Privileged - Withhold       Legislative          of the governor regarding proposed legislative
                                                                     Oversight Language                               v texas gov
                                                                                                                                                                                                                                  language on administrative oversight of elections
                                                                                                                                                                Administrative
                                                                                                                                                                                                                                   Proposed, unnumbered, legislative language on
DOC_0807036   Christina Adkins   3/24/2023    Microsoft Word 2016                           Christina Adkins                                                      Oversight        Privileged - Withhold       Legislative
                                                                                                                                                                                                                                       administrative oversight of elections
                                                                                                                                                                Language docx
                                                                                                                 Andre Montgomery;
                                                                                                                   Charles Pinney;
                                                                                                                                                                                                                                    Email communication between SOS attorneys
DOC_0807037   Christina Adkins   3/21/2023      Outlook Email             To Review         Christina Adkins      Christina Adkins;                                                Privileged - Withhold     Attorney Client
                                                                                                                                                                                                                                            regarding review of SB 1933
                                                                                                                 Heidi Martinez; Lena
                                                                                                                        Proft
                                                                                                                                                                 SB01933I (CA
DOC_0807038   Christina Adkins   3/21/2023    Microsoft Word 2016                           Christina Adkins                                                                       Privileged - Withhold     Attorney Client                SOS attorney notes on SB 1933
                                                                                                                                                                  Rev 3) docx
                                                                       Administrative                                                                                                                                               Email communication between SOS attorneys
DOC_0807039   Christina Adkins   3/24/2023      Outlook Email                               Christina Adkins         Adam Bitter                                                   Privileged - Withhold     Attorney Client
                                                                     Oversight Language                                                                                                                                             regarding administrative oversight language
                                                                                                                                                                Administrative
                                                                                                                                                                                                                                    Suggested legislative language drafted by SOS
DOC_0807040   Christina Adkins   3/24/2023    Microsoft Word 2016                           Christina Adkins                                                      Oversight        Privileged - Withhold     Attorney Client
                                                                                                                                                                                                                                                       attorney
                                                                                                                                                                Language docx
                                                                                                                 Adam Bitter; Kristi                                                                                                Email communication between SOS attorneys
DOC_0807043   Christina Adkins   3/17/2023      Outlook Email        SB01933I (CA Rev )     Christina Adkins                                                                       Privileged - Withhold     Attorney Client
                                                                                                                       Hart                                                                                                                 regarding review of SB1933
                                                                                                                                                                 SB01933I (CA
DOC_0807044   Christina Adkins   3/17/2023    Microsoft Word 2016                           Christina Adkins                                                                       Privileged - Withhold     Attorney Client               SOS attorney notes on SB 1933
                                                                                                                                                                  Rev ) docx
                                                                     2022 AVSR - County                                                                                                                                             Email communication between SOS attorneys
DOC_0807045   Christina Adkins   3/21/2023      Outlook Email                               Christina Adkins       Charles Pinney                                                  Privileged - Withhold     Attorney Client
                                                                       Cleaned Up xlsx                                                                                                                                                    regarding 2022 AVSR by county
                                                                     Tracking Reports as                                                  Kristi Hart; Dan                                                                          Email communication between SOS attorneys
DOC_0807047   Christina Adkins   3/19/2023      Outlook Email                               Christina Adkins          Elec Legal                                                   Privileged - Withhold     Attorney Client
                                                                          of 3 19 20                                                    Glotzer; Adam Bitter                                                                         regarding bill tracking reports as of 3 19 23
                                                                                                                 Adam Bitter; Kristi                                                                                                Email communication between SOS attorneys
DOC_0807050   Christina Adkins   3/20/2023      Outlook Email        SB01933I (CA Rev 3)    Christina Adkins                                                                       Privileged - Withhold     Attorney Client
                                                                                                                       Hart                                                                                                                 regarding review of SB1933
                                                                                                                                                                 SB01933I (CA
DOC_0807051   Christina Adkins   3/20/2023    Microsoft Word 2016                           Christina Adkins                                                                       Privileged - Withhold     Attorney Client                SOS attorney notes on SB1933
                                                                                                                                                                  Rev 3) docx
                                                                      Legal Assignments                                                                                                                     Attorney Client;      SOS attorney to SOS legal regarding outstanding
DOC_0807052   Christina Adkins   3/21/2023      Outlook Email                               Christina Adkins      Alexa Buxkemper                                                  Privileged - Withhold
                                                                          2023 xlsx                                                                                                                          Work Product                          legal assignments
                                              Microsoft Excel 2016                                                                                             Legal Assignments                            Attorney Client;       A list of outstanding legal assignments for SOS
DOC_0807053   Christina Adkins   3/21/2023                                                  Christina Adkins                                                                       Privileged - Withhold
                                                   Workbook                                                                                                        2023 xlsx                                 Work Product                              attorneys
                                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                                                                  Kristi Hart; Adam
DOC_0807054   Christina Adkins   3/18/2023      Outlook Email        SB01933I (CA Rev 2)    Christina Adkins                                                                       Privileged - Withhold     Attorney Client      SOS elections division employee regarding review
                                                                                                                         Bitter
                                                                                                                                                                                                                                                       of SB1933
                                                                                                                                                                 SB01933I (CA
DOC_0807055   Christina Adkins   3/18/2023    Microsoft Word 2016                           Christina Adkins                                                                       Privileged - Withhold     Attorney Client                SOS attorney notes on SB1933
                                                                                                                                                                  Rev 2) docx
                                                                     Status of Complaints                                                                                                                                            Email communication between SOS general
                                                                      needed - Gliha PIR                          Kate Fisher; Kristi    GeneralCounsel;                                                        Attorney            counsel and SOS elections division employees
DOC_0807068   Christina Adkins   2/13/2023      Outlook Email                                GeneralCounsel                                                                        Privileged - Withhold
                                                                     22-1023 and Judicial                               Hart             Christina Adkins                                                  Client;Investigative        regarding PIR and active election fraud
                                                                      Watch PIR22-1173                                                                                                                                                             investigations
                                              Microsoft Excel 2016                              Tamara                                                         2022 Complaints -
DOC_0807069   Christina Adkins   2/13/2023                                                                                                                                         Privileged - Withhold      Investigative          List and status of active election complaints
                                                   Workbook                                   Schoonmaker                                                       Need Status xlsx
                                                                                                                                                                                                                                      Email communication between SOS general
                                                                                                                                          Keith Ingram;
DOC_0807078   Christina Adkins   10/19/2022     Outlook Email         RE CC/EA/VR List        Adam Bitter            Kristi Hart                                                   Privileged - Withhold     Attorney Client         counsel and SOS elections division employees
                                                                                                                                         Christina Adkins
                                                                                                                                                                                                                                               regarding CC/EA/VR list
                                                                                                                                                                                                                                    Email communication between SOS attorneys
                                                                        RE Access to
STATE177160   Christina Adkins   6/21/2022      Outlook Email                                  Lena Proft          Christina Adkins         Kristi Hart                             Privileged - Redact      Attorney Client       regarding TEAMS access issue raised by Athens,
                                                                          TEAMS
                                                                                                                                                                                                                                                         TX
                                                                                                                                                                 Elections for
                                                                                                                                                                                                                                  SOS attorney's notes and highlights of elections for
DOC_0807096   Christina Adkins   2/17/2023    Microsoft Word 2016                           Christina Adkins                                                     Legislative       Privileged - Withhold     Attorney Client
                                                                                                                                                                                                                                            legislative offices document
                                                                                                                                                                 Offices docx
                                                                        Bills Assigned to                                                                                                                                         A list of legislative bills assigned to SOS attorney
DOC_0807104   Christina Adkins   1/27/2023      Outlook Email                               Christina Adkins       Charles Pinney                                                  Privileged - Withhold     Attorney Client
                                                                              Chuck                                                                                                                                                                  for legal review
                                                                      RE Follow up 2022
                                                                                                                                                                                                                                    Email communication between SOS attorneys
                                                                         November 8th                             Adam Bitter; Keith
DOC_0807109   Christina Adkins    7/8/2022      Outlook Email                               Christina Adkins                                                                       Privileged - Withhold     Attorney Client      regarding petition inquiry response on November
                                                                        Election - Filing                             Ingram
                                                                                                                                                                                                                                                    2022 election
                                                                              status
                                                                     FW Follow up 2022
                                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                         November 8th                             Kristi Hart; Julia
STATE177162   Christina Adkins    7/8/2022      Outlook Email                               Christina Adkins                                                                        Privileged - Redact      Attorney Client       Elections Division employees regarding petition
                                                                        Election - Filing                              Montes
                                                                                                                                                                                                                                    inquiry response on November 2022 election
                                                                              status
                                                                     FW Potential Double
                                                                      voter in 2020 GE in
                                                                                                                                                                                                                                   Election complaint submitted 2/13/23 regarding
DOC_0807173   Christina Adkins   2/14/2023      Outlook Email          Allegheny County,    Elections Internet       Kate Fisher         Christina Adkins                          Privileged - Withhold      Investigative
                                                                                                                                                                                                                                   potential double voter in 2020 General Election
                                                                     PA and Bell County,
                                                                                TX
                                                                                                                                                                                                                                   Election complaint submitted 2/13/23 regarding
DOC_0807174   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                              Jones PA Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                                   potential double voter in 2020 General Election
                                                                                                                                                                 Jones SOS TX                                                      Election complaint submitted 2/13/23 regarding
DOC_0807175   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold      Investigative
                                                                                                                                                                 Complaint pdf                                                     potential double voter in 2020 General Election
                                                                                                                                                                                                                                   Election complaint submitted 2/13/23 regarding
DOC_0807176   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                              Jones TX Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                                   potential double voter in 2020 General Election




                                                                                                                           5 of 30
                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 6 of 30
                                                                               LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date          Application               Subject               Author                  To                   CC                 Filename             Treatment                Claim                          Privilege Statement

                                                                     FW Potential Double
                                                                      voter in 2020 GE in
                                                                                                                                                                                                                                 Election complaint submitted 2/14/23 regarding
DOC_0807178   Christina Adkins   2/14/2023      Outlook Email        Jefferson County, OR   Elections Internet       Kate Fisher        Christina Adkins                          Privileged - Withhold     Investigative
                                                                                                                                                                                                                                 potential double voter in 2020 General Election
                                                                         and Rockwall
                                                                          County, TX
                                                                                                                                                                                                                                  Election complaint submitted 2/13/23 regarding
DOC_0807179   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                            Simons OR Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                                                                                                              Simons SOS TX                                                       Election complaint submitted 2/13/23 regarding
DOC_0807180   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold     Investigative
                                                                                                                                                               Complaint pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                                                                                                  Election complaint submitted 2/13/23 regarding
DOC_0807181   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                            Simons TX Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                                                                                                                                                                                     Email communication between SOS general
                                                                                                                                          Kristi Hart;
                                                                      FW Historical Poll                                                                                                                                           counsel and SOS Elections Division employees
STATE177167   Christina Adkins   11/14/2022     Outlook Email                                GeneralCounsel          Kate Fisher        Christina Adkins;                          Privileged - Redact     Attorney Client
                                                                         Place ID                                                                                                                                                   regarding response to historical poll place ID
                                                                                                                                         GeneralCounsel
                                                                                                                                                                                                                                                      inquiry
                                                                     Counties with Issues                                                                                                                                          Email communication between SOS attorneys
DOC_0807230   Christina Adkins    2/8/2023      Outlook Email          Receiving Mass        Charles Pinney       Christina Adkins                                                Privileged - Withhold    Attorney Client         regarding counties with issues receiving mass
                                                                            Email                                                                                                                                                                 elections email
                                                                                                                                                                                                                                   Email communication between SOS attorneys
                                                                      FW 448 Pedraza                                                      Kate Fisher;
STATE177169   Christina Adkins   12/13/2022     Outlook Email                                Heidi Martinez         Keith Ingram                                                   Privileged - Redact     Attorney Client       regarding complaint against Montgomery County
                                                                        Complaint                                                       Christina Adkins
                                                                                                                                                                                                                                            Republican Party chairman
                                                                        Re Pollbook
                                                                        Certification                                                                                                                                               Email conversation between SOS attorneys
DOC_0807248   Christina Adkins   2/16/2023      Outlook Email                               Christina Adkins       Charles Pinney                                                 Privileged - Withhold    Attorney Client
                                                                     Legislative Changes                                                                                                                                        regarding pollbook certification legislative changes
                                                                           DRAFT
                                                                       Emailing Legal                                                                                                                     Attorney Client;
DOC_0807314   Christina Adkins   2/17/2023      Outlook Email                               Christina Adkins      Christina Adkins                                                Privileged - Withhold                          Email with list of active SOS legal assignments
                                                                      Assignments 2023                                                                                                                      Work Product
                                              Microsoft Excel 2016                                                                                           Legal Assignments                          Attorney Client;Work
DOC_0807315   Christina Adkins   2/17/2023                                                  Christina Adkins                                                                      Privileged - Withhold                          List of SOS attorneys' legal assignments (2023)
                                                   Workbook                                                                                                      2023 xlsx                                    Product
                                                                    RE Follow up 2022
                                                                                                                                                                                                                                   Email conversation between SOS attorneys
                                                                      November 8th                          Adam Bitter; Keith
STATE177180   Christina Adkins    7/8/2022      Outlook Email                            Christina Adkins                                                                          Privileged - Redact     Attorney Client      regarding draft response to Jeff Simmons petition
                                                                     Election - Filing                            Ingram
                                                                                                                                                                                                                                                    rejection
                                                                           status
                                                                       RE Revised
                                                                                                             Kristi Hart; Keith                                                                              Attorney             Email communication between SOS legal, SOS
                                                                    Business Case and
DOC_0807348   Christina Adkins   12/8/2022      Outlook Email                               Adam Bitter      Ingram; Christina                                                    Privileged - Withhold Client;Deliberative        elections division and SOS vendor regarding
                                                                      Business Case
                                                                                                            Adkins; Dan Glotzer                                                                               Process                     revised business case workbook
                                                                        Workbook
                                                                       Texas Project
                                                                                                                                                                Business Case
                                                                   Delivery Framework - Texas Department of
                                              Microsoft Excel 2016                                                                                           Workbook - TEAM                                                       Draft SOS business case workbook, includes
DOC_0807349   Christina Adkins   2/17/2023                               Business           Information                                                                            Privileged - Withhold Deliberative Process
                                                   Workbook                                                                                                    Replacement_v                                                           proposed agency goal and budgets
                                                                   Justification Review      Resources
                                                                                                                                                            11 30 2022 (revs) xlsx
                                                                            Gate
                                                                                                            Keith Ingram; Adam                                                                                                  Email communication between SOS attorneys and
                                                                   Top Priority Election
DOC_0807350   Christina Adkins   2/10/2023      Outlook Email                            Christina Adkins   Bitter; Joe Esparza;                                                  Privileged - Withhold    Attorney Client       SOS executives regarding which legislative bills
                                                                            Bills
                                                                                                                Sam Taylor                                                                                                                  were important to SOS
                                                                   FW Potential Double
                                                                    Voter in 2020 GE in                                                                                                                                          Election complaint submitted 2/13/23 regarding
DOC_0807362   Christina Adkins   2/13/2023      Outlook Email       Denton County, TX    Elections Internet     Kate Fisher             Christina Adkins                          Privileged - Withhold     Investigative        potential double voter in 2020 General Election
                                                                   and Kenosha County,
                                                                             WI
                                                                                                                                                              Mireles SOS TX                                                     Election complaint submitted 2/13/23 regarding
DOC_0807363   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold     Investigative
                                                                                                                                                              Complaint pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                             Mireles TX County                                                   Election complaint submitted 2/13/23 regarding
DOC_0807364   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold     Investigative
                                                                                                                                                                  Info pdf                                                       potential double voter in 2020 General Election
                                                                                                                                                                                                                                 Election complaint submitted 2/13/23 regarding
DOC_0807365   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                            Mireles TX Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                                                                 potential double voter in 2020 General Election
                                                                                                                                                                                                                                 Election complaint submitted 2/13/23 regarding
DOC_0807366   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                           Mireles WI Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                                 potential double voter in 2020 General Election
                                                                        RE Question
                                                                                                                  Heidi Martinez;                                                                                                   Email conversation between SOS attorneys
                                                                         Regarding
STATE177190   Christina Adkins   1/30/2023      Outlook Email                                 Keith Ingram          Kristi Hart;          Adam Bitter                              Privileged - Redact     Attorney Client      regarding response to question on registered voters
                                                                      Registered Voters
                                                                                                                  Christina Adkins                                                                                                          from office of Rep Jetton
                                                                          (DRAFT)
                                                                                                                    Keith Ingram;
                                                                                                                  Christina Adkins;                                                                                              Email discussion between SOS execs and
DOC_0807440   Christina Adkins   2/21/2023      Outlook Email          ERIC TPs / Q&A          Sam Taylor         Kristi Hart; Adam                                               Privileged - Withhold Deliberative Process employees regarding draft of response to legislative
                                                                                                                 Bitter; Joe Esparza;                                                                                                     question on ERIC exit
                                                                                                                     Chad Ennis
                                                                     FW Potential Double
                                                                                                                                                                                                                                 Election complaint submitted 2/14/23 regarding
                                                                      voter in 2020 GE in
DOC_0807465   Christina Adkins   2/14/2023      Outlook Email                               Elections Internet       Kate Fisher        Christina Adkins                          Privileged - Withhold     Investigative        potential double voter in 2020 General Election
                                                                       Union County, OR
                                                                     and Bell County, TX
                                                                                                                                                                                                                                 Election complaint submitted 2/14/23 regarding
DOC_0807466   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                            Tolles OR Info pdf   Privileged - Withhold     Investigative        potential double voter in 2020 General Election

                                                                                                                                                               Tolles SOS TX                                                     Election complaint submitted 2/14/23 regarding
DOC_0807467   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold     Investigative
                                                                                                                                                               Complaint pdf                                                     potential double voter in 2020 General Election
                                                                                                                                                                                                                                 Election complaint submitted 2/14/23 regarding
DOC_0807468   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                            Tolles TX Info pdf   Privileged - Withhold     Investigative
                                                                                                                                                                                                                                 potential double voter in 2020 General Election



                                                                                                                          6 of 30
                                                 Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 7 of 30
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date          Application              Subject               Author                  To                   CC               Filename             Treatment               Claim                      Privilege Statement

                                                                      Chuck Pinney Bill                                                                                                                                   Email communication between SOS attorneys
DOC_0807479   Christina Adkins   2/10/2023      Outlook Email                              Christina Adkins       Charles Pinney                                               Privileged - Withhold   Attorney Client
                                                                      Summary 2 10 23                                                                                                                                     regarding Chuck Pinney bill summary 2 10 23
                                                                    FW Potential Double
                                                                     Voter in 2020 GE in                                                                                                                                  Election complaint submitted 2/13/23 regarding
DOC_0807518   Christina Adkins   2/13/2023      Outlook Email        Denton County, TX     Elections Internet       Kate Fisher        Christina Adkins                        Privileged - Withhold    Investigative     potential double voter election in 2020 General
                                                                     and Clark County,                                                                                                                                                       Election
                                                                             NV
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
                                                                                                                                                           Horning SOS TX
DOC_0807519   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold    Investigative     potential double voter election in 2020 General
                                                                                                                                                            Complaint pdf
                                                                                                                                                                                                                                             Election
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
                                                                                                                                                          Horning TX County
DOC_0807520   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold       Investigative     potential double voter election in 2020 General
                                                                                                                                                               Info pdf
                                                                                                                                                                                                                                             Election
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
DOC_0807521   Christina Adkins   2/13/2023    Adobe Acrobat (PDF)                                                                                         Horning TX Info pdf Privileged - Withhold     Investigative     potential double voter election in 2020 General
                                                                                                                                                                                                                                             Election
                                                                    FW Potential Double
                                                                     voter in 2020 GE in                                                                                                                                  Election complaint submitted 2/14/23 regarding
DOC_0807527   Christina Adkins   2/14/2023      Outlook Email        Lincoln County, OR    Elections Internet       Kate Fisher        Christina Adkins                        Privileged - Withhold    Investigative     potential double voter election in 2020 General
                                                                        and Rockwall                                                                                                                                                         Election
                                                                         County, TX
                                                                                                                                                                                                                          Election complaint submitted 2/14/23 regarding
DOC_0807528   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                          Gales OR Info pdf   Privileged - Withhold    Investigative     potential double voter election in 2020 General
                                                                                                                                                                                                                                             Election
                                                                                                                                                                                                                          Election complaint submitted 2/14/23 regarding
                                                                                                                                                            Gales SOS TX
DOC_0807529   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold    Investigative     potential double voter election in 2020 General
                                                                                                                                                            Complaint pdf
                                                                                                                                                                                                                                             Election
                                                                        FW Question
                                                                                                                Keith Ingram; Kristi                                                                                       Email communication between SOS attorneys
                                                                          Regarding
STATE177208   Christina Adkins   1/30/2023      Outlook Email                               Heidi Martinez        Hart; Christina                                               Privileged - Redact    Attorney Client   regarding draft response to question on registered
                                                                      Registered Voters
                                                                                                                       Adkins                                                                                                                 voters
                                                                          (DRAFT)
                                                                    Committee Hearings                                                                                                                                   Email communication between SOS attorney and
DOC_0807615   Christina Adkins    3/6/2023      Outlook Email        for week of 3/6 and   Christina Adkins         Elec Legal                                                 Privileged - Withhold   Attorney Client   SOS legal regarding committee hearings for week
                                                                            3/13                                                                                                                                                           of 3/6 and 3/13
                                                                       Fwd Corrective                                                                                                                                     Email conversation between Office of Rep Bucy
DOC_0807646   Christina Adkins   2/10/2023      Outlook Email           Action Items       Christina Adkins         Kristi Hart                                                Privileged - Withhold     Legislative     and SOS attorneys regarding proposed legislative
                                                                         Requested                                                                                                                                         language on draft bill to amend election code
                                                                                                                                                                                                                             Draft, untitled, bill to amend election code
DOC_0807647   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                                                                                            88R 1781 pdf      Privileged - Withhold     Legislative
                                                                                                                                                                                                                              forwarded to SOS by office of Rep Bucy
                                                                                                                                                           Floor Amendment
                                                                                                                                                              (SB1) Cure                                                    Draft, untitled, amendment sheet to amend
DOC_0807648   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold     Legislative
                                                                                                                                                           Replacement 8-9-                                                                 election code
                                                                                                                                                                 21 pdf
                                                                                                                                                           SB 1 Amendment                                                  Draft, untitled, amendment sheet to amend
DOC_0807649   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                              O0600NH                                                                         Privileged - Withhold     Legislative
                                                                                                                                                            [87S2 1290] pdf                                                                election code
                                                                     RLA - Updated V2                                                                                                                                     Email communication between SOS attorneys
DOC_0807667   Christina Adkins   2/27/2023      Outlook Email                              Christina Adkins        Adam Bitter                                                 Privileged - Withhold   Attorney Client
                                                                       Draft Report                                                                                                                                                regarding RLA draft report
                                                                                                                                                          RLA - Updated V2                                               SOS attorney's edits and comments on draft RLA
DOC_0807668   Christina Adkins   2/27/2023    Microsoft Word 2016                          Alexa Buxkemper                                                                     Privileged - Withhold   Attorney Client
                                                                                                                                                          Draft Report docx                                                                   report
                                                                    FW Potential Double
                                                                     voter in 2020 GE in
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
DOC_0807677   Christina Adkins   2/14/2023      Outlook Email        Allegheny County,     Elections Internet       Kate Fisher        Christina Adkins                        Privileged - Withhold    Investigative
                                                                                                                                                                                                                         potential double voting in 2020 General Election
                                                                       PA and Wichita
                                                                         County TX
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
DOC_0807678   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                         Ramirez PA Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                                                         potential double voting in 2020 General Election
                                                                                                                                                           Ramirez SOS TX                                                 Election complaint submitted 2/13/23 regarding
DOC_0807679   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold    Investigative
                                                                                                                                                            Complaint pdf                                                potential double voting in 2020 General Election
                                                                                                                                                                                                                          Election complaint submitted 2/13/23 regarding
DOC_0807680   Christina Adkins   2/14/2023    Adobe Acrobat (PDF)                                                                                         Ramirez TX Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                                                         potential double voting in 2020 General Election
                                                                                                                                                                                                                         Email exchange between SOS general counsel and
                                                                                                                                        Keith Ingram;
DOC_0807868   Christina Adkins   10/19/2022     Outlook Email        RE CC/EA/VR List         Kristi Hart          Adam Bitter                                                 Privileged - Withhold   Attorney Client   Elections Division staff concerning question from
                                                                                                                                       Christina Adkins
                                                                                                                                                                                                                                    OAG about election officials
                                                                                                                                                                                                                             Attachment to email from legislative staff
DOC_0807994   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                                                                                            88R 1781 pdf      Privileged - Withhold     Legislative         requesting information and advice about
                                                                                                                                                                                                                                      prospective legislation
                                                                                                                                                           Floor Amendment
                                                                                                                                                                                                                             Attachment to email from legislative staff
                                                                                                                                                              (SB1) Cure
DOC_0807995   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold     Legislative         requesting information and advice about
                                                                                                                                                           Replacement 8-9-
                                                                                                                                                                                                                                     prospective legislation
                                                                                                                                                                 21 pdf
                                                                                                                                                                                                                            Attachment to email from legislative staff
                                                                                                                                                           SB 1 Amendment
DOC_0807996   Christina Adkins   2/10/2023    Adobe Acrobat (PDF)                              O0600NH                                                                         Privileged - Withhold     Legislative         requesting information and advice about
                                                                                                                                                            [87S2 1290] pdf
                                                                                                                                                                                                                                      prospective legislation
                                                                                                                                                                                                                         Email exchange between SOS general counsel and
                                                                                                                                        Keith Ingram;
DOC_0808029   Christina Adkins   10/19/2022     Outlook Email          CC/EA/VR List         Adam Bitter            Kristi Hart                                                Privileged - Withhold   Attorney Client    SOS Elections Division staff concerning question
                                                                                                                                       Christina Adkins
                                                                                                                                                                                                                                 from OAG about election officials
                                                                                                                                                                                                                           Email communication between SOS attorneys
STATE177217   Christina Adkins   11/14/2022     Outlook Email        FW Election fraud      Heidi Martinez       Christina Adkins                                               Privileged - Redact    Attorney Client
                                                                                                                                                                                                                                regarding election fraud complaint




                                                                                                                         7 of 30
                                                Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 8 of 30
                                                                             LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date         Application              Subject               Author                  To                   CC                 Filename             Treatment               Claim                         Privilege Statement

                                                                      Re Pollbook
                                                                                                                                                                                                           Attorney             Email conversation among SOS attorneys
                                                                      Certification
DOC_0808083   Christina Adkins   2/16/2023     Outlook Email                               Charles Pinney       Christina Adkins                                                Privileged - Withhold Client;Deliberative    regarding draft pollbook certification legislative
                                                                   Legislative Changes
                                                                                                                                                                                                            Process                              changes
                                                                         DRAFT
                                                                   FW Election Fraud
                                                                                                                                                                                                                              Email communicating election complaint about
DOC_0808148   Christina Adkins   7/17/2022     Outlook Email        Complaint - Dave      Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                                                                                                                                                                            alleged voter fraud during November 2022 election
                                                                          Jones
                                                                                                                                                            TX SOS Election                                                    Election complaint about alleged voter fraud
DOC_0808149   Christina Adkins   7/17/2022   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                             Complaint pdf                                                           during November 2022 election
                                                                   FW Potential Double
                                                                    voter in 2020 GE in                                                                                                                                       Email communicating election complaint about
DOC_0808338   Christina Adkins   2/14/2023     Outlook Email                              Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                   Harnett County, NC                                                                                                                                       alleged voter fraud during November 2020 election
                                                                   and Bell County, TX

                                                                                                                                                              Lee NC Info                                                    Supporting document to election complaint about
DOC_0808339   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                              History pdf                                                   alleged voter fraud during November 2020 election
                                                                                                                                                              Lee SOS TX                                                       Election complaint about alleged voter fraud
DOC_0808340   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                             Complaint pdf                                                           during November 2020 election
                                                                                                                                                                                                                             Supporting document to election complaint about
DOC_0808341   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                            Lee TX Info pdf     Privileged - Withhold    Investigative
                                                                                                                                                                                                                            alleged voter fraud during November 2020 election
                                                                   FW Potential Double
                                                                    voter in 2020 GE in
                                                                                                                                                                                                                              Email communicating election complaint about
DOC_0808348   Christina Adkins   3/10/2023     Outlook Email        Harris County, TX     Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                                                                                                                                                                            alleged voter fraud during November 2020 election
                                                                   and Wakulla County,
                                                                             FL
                                                                                                                                                           Schaefer TX SOS                                                     Election complaint about alleged voter fraud
DOC_0808349   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                            Complaint pdf                                                            during November 2020 election
                                                                                                                                                               Thomas E                                                      Supporting document to election complaint about
DOC_0808350   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                       Privileged - Withhold     Investigative
                                                                                                                                                          Schaefer_TX info pdf                                              alleged voter fraud during November 2020 election
                                                                                                                                                               Thomas E
                                                                                                                                                                                                                             Supporting document to election complaint about
DOC_0808351   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                     Schaefer_TX        Privileged - Withhold    Investigative
                                                                                                                                                                                                                            alleged voter fraud during November 2020 election
                                                                                                                                                            info county pdf
                                                                     RE DRAFT 1
                                                                                                               Adam Bitter; Keith                                                                                           Email from SOS executive that references attorney-
                                                                     NASED Panel                                                     Zeenia Challa; Joe
STATE177244   Christina Adkins   2/15/2023     Outlook Email                                 Sam Taylor        Ingram; Christina                                                 Privileged - Redact    Attorney Client       client conversation with SOS general counsel
                                                                   Presentation / VBM                                                     Esparza
                                                                                                               Adkins; Kristi Hart                                                                                                     regarding draft presentation
                                                                    ID Requirements
                                                                                                                                                                                                                             Email communication between Elections Division
                                                                    EIRP Webinar 2/16
DOC_0808391   Christina Adkins   2/10/2023     Outlook Email                              David Velez-Perez    Election Trainers                                                Privileged - Withhold   Attorney Client       employees that references prior attorney-client
                                                                          draft
                                                                                                                                                                                                                                    communication with SOS attorney
                                                                   FW Potential Double
                                                                    voter in 2020 GE in
                                                                                                                                                                                                                             Election complaint submitted 2/14/23 regarding
DOC_0808419   Christina Adkins   2/14/2023     Outlook Email       Mecklenburg County,    Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                      NC and Jasper
                                                                        County TX
                                                                                                                                                            Joseph NC Info                                                   Election complaint submitted 2/14/23 regarding
DOC_0808420   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                              History pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                            Joseph SOS TX                                                    Election complaint submitted 2/14/23 regarding
DOC_0808421   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                            Complaint pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/14/23 regarding
DOC_0808422   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                          Joseph TX Info pdf    Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                   FW Potential Double
                                                                    voter in 2020 GE in
                                                                                                                                                                                                                             Election complaint submitted 2/14/23 regarding
DOC_0808447   Christina Adkins   2/14/2023     Outlook Email        Moore County, NC      Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                       and Callahan
                                                                        County TX
                                                                                                                                                            Collins NC Info                                                  Election complaint submitted 2/14/23 regarding
DOC_0808448   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                              History pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                            Collins SOS TX                                                   Election complaint submitted 2/14/23 regarding
DOC_0808449   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                            Complaint pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/14/23 regarding
DOC_0808450   Christina Adkins   2/14/2023   Adobe Acrobat (PDF)                                                                                          Collins TX Info pdf   Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                   FW Potential Double
                                                                     Voter in 2020 GE
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808521   Christina Adkins   2/27/2023     Outlook Email        Bexar County, TX      Elections Internet      Kate Fisher        Christina Adkins                           Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                   and Spokane County,
                                                                            WA
                                                                                                                                                            Curtis SOS TX                                                    Election complaint submitted 2/27/23 regarding
DOC_0808522   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                            Complaint pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                           Curtis TX County                                                  Election complaint submitted 2/27/23 regarding
DOC_0808523   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                                Info pdf                                                     potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808524   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                           Curtis TX Info pdf   Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                              Curtis WA                                                      Election complaint submitted 2/27/23 regarding
DOC_0808525   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold    Investigative
                                                                                                                                                              History pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808526   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                          Curtis WA Info pdf    Privileged - Withhold    Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election



                                                                                                                        8 of 30
                                                Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 9 of 30
                                                                              LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date         Application               Subject               Author                 To                  CC               Filename             Treatment                 Claim                         Privilege Statement

                                                                                                                                                          SB01933I (CA                                                          Copy of proposed SB 1933, reviewed and
DOC_0808550   Christina Adkins   3/19/2023   Microsoft Word 2016                           Christina Adkins                                                                  Privileged - Withhold     Attorney Client
                                                                                                                                                           Rev 2) docx                                                               highlighted by SOS attorney
                                                                    FW Potential Double
                                                                      voter from 2016 -                                                                                                                                      Election complaint submitted 3/10/23 regarding
DOC_0808555   Christina Adkins   3/10/2023     Outlook Email         2020 GE in Pinellas   Elections Internet      Kate Fisher       Christina Adkins                        Privileged - Withhold      Investigative         potential double voter in 2016-2020 General
                                                                       County, FL and                                                                                                                                                           Election
                                                                     Tarrant County, TX
                                                                                                                                                                                                                             Election complaint submitted 3/10/23 regarding
                                                                                                                                                        Ficklin TX County
DOC_0808556   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative         potential double voter in 2016-2020 General
                                                                                                                                                           History pdf
                                                                                                                                                                                                                                                Election
                                                                                                                                                                                                                             Election complaint submitted 3/10/23 regarding
                                                                                                                                                        Ficklin TX County
DOC_0808557   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative         potential double voter in 2016-2020 General
                                                                                                                                                             Info pdf
                                                                                                                                                                                                                                                Election
                                                                                                                                                                                                                             Election complaint submitted 3/10/23 regarding
                                                                                                                                                          Ficklin TX SOS
DOC_0808558   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative         potential double voter in 2016-2020 General
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                                                Election
                                                                                                                                                                                                                             Election complaint submitted 3/10/23 regarding
                                                                                                                                                            Janis Dian
DOC_0808559   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                             Terri Gierer                                                                   Privileged - Withhold       Investigative         potential double voter in 2016-2020 General
                                                                                                                                                        Ficklin_FL info pdf
                                                                                                                                                                                                                                                Election
                                                                                                                                                            Janis Dian                                                       Election complaint submitted 3/10/23 regarding
DOC_0808560   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                             Terri Gierer                                                   Ficklin_FL       Privileged - Withhold      Investigative         potential double voter in 2016-2020 General
                                                                                                                                                          info county pdf                                                                       Election
                                                                                                                                                                                                                             Election complaint submitted 3/10/23 regarding
                                                                                                                                                            Janis Dian
DOC_0808561   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                             Terri Gierer                                                                   Privileged - Withhold       Investigative         potential double voter in 2016-2020 General
                                                                                                                                                        Ficklin_TX info pdf
                                                                                                                                                                                                                                                Election
                                                                       FW Status of
                                                                    Complaints needed -                                                                                                                                     Email conversation between SOS General Counsel
                                                                                                                                                                                                          Attorney
DOC_0808575   Christina Adkins   3/9/2023      Outlook Email         Gliha PIR 22-1023     Jennifer Williams     Christina Adkins                                            Privileged - Withhold                           and SOS Elections Division employee regarding
                                                                                                                                                                                                     Client;Investigative
                                                                    and Judicial Watch                                                                                                                                           PIR and status of election complaints
                                                                        PIR22-1173
                                             Microsoft Excel 2016                              Tamara                                                    2022 Complaints -                                                  Log of still-pending election complaints submitted
DOC_0808576   Christina Adkins   3/9/2023                                                                                                                                   Privileged - Withhold    Investigative
                                                  Workbook                                   Schoonmaker                                                  Need Status xlsx                                                                  to Secretary of State
                                                                        RE Status of                                                                       RE_ Status of
                                                                    Complaints needed -                                                                 Complaints needed -                                                 Email conversation between SOS General Counsel
                                                                                                                                                                                                       Attorney
DOC_0808577   Christina Adkins   3/8/2023      Outlook Email         Gliha PIR 22-1023        Kate Fisher        GeneralCounsel        Kristi Hart       Gliha PIR 22-1023 Privileged - Withhold                             and SOS Elections Division employee regarding
                                                                                                                                                                                                  Client;Investigative
                                                                     and Judicial Watch                                                                 and Judicial Watch                                                       PIR and status of election complaints
                                                                         PIR22-1173                                                                       PIR22-1173 msg
                                                                    FW Potential Double
                                                                     voter in 2020 GE in                                                                                                                                      Election complaint submitted 3/2/23 regarding
                                                                                                                                       Kristi Hart;
DOC_0808646   Christina Adkins   3/2/2023      Outlook Email          Duval County, FL     Elections Internet      Kate Fisher                                               Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                                                                                     Christina Adkins
                                                                      and Wood County,
                                                                              TX
                                                                                                                                                        Howell FL County                                                      Election complaint submitted 3/2/23 regarding
DOC_0808647   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                            Info pdf                                                         potential double voter in 2020 General Election
                                                                                                                                                                                                                              Election complaint submitted 3/2/23 regarding
DOC_0808648   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                        Howell FL Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                                                                                              Election complaint submitted 3/2/23 regarding
DOC_0808649   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                        Howell GA Info pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                                                                                              Election complaint submitted 3/2/23 regarding
DOC_0808650   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                        Howell GA Vote pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                        Howell TX County                                                      Election complaint submitted 3/2/23 regarding
DOC_0808651   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                            Info pdf                                                         potential double voter in 2020 General Election
                                                                                                                                                        Howell TX County                                                      Election complaint submitted 3/2/23 regarding
DOC_0808652   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                           Vote pdf                                                          potential double voter in 2020 General Election
                                                                                                                                                                                                                              Election complaint submitted 3/2/23 regarding
DOC_0808653   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                        Howell TX Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                          Howell TX SOS                                                       Election complaint submitted 3/2/23 regarding
DOC_0808654   Christina Adkins   3/2/2023    Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                          Complaint pdf                                                      potential double voter in 2020 General Election
                                                                    FW Potential Double
                                                                     Voter in 2020 GE                                                                                                                                        Election complaint submitted 2/27/23 regarding
DOC_0808693   Christina Adkins   2/27/2023     Outlook Email         Harris County, TX     Elections Internet      Kate Fisher       Christina Adkins                        Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                     and King County,
                                                                            WA
                                                                                                                                                        Proctor TX County                                                    Election complaint submitted 2/27/23 regarding
DOC_0808694   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                             Info pdf                                                        potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808695   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                        Proctor TX Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                          Proctor TX SOS                                                     Election complaint submitted 2/27/23 regarding
DOC_0808696   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                           Complaint pdf                                                     potential double voter in 2020 General Election
                                                                                                                                                            Proctor WA                                                       Election complaint submitted 2/27/23 regarding
DOC_0808697   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                             Privileged - Withhold      Investigative
                                                                                                                                                            History pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808698   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                        Proctor WA Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                  Keith Ingram;                                                                                             Email conversation between SOS executive, SOS
                                                                       RE AP media                               Christina Adkins;                                                                                          Elections Division team, and SOS general counsel
STATE177269   Christina Adkins   2/23/2023     Outlook Email                                  Sam Taylor                                                                      Privileged - Redact    Deliberative Process
                                                                         request                                Kristi Hart; Adam                                                                                                  on what SOS's position is on ERIC
                                                                                                                Bitter Joe Esparza




                                                                                                                        9 of 30
                                               Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 10 of 30
                                                                             LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date         Application              Subject               Author                 To                  CC                Filename             Treatment                 Claim                          Privilege Statement

                                                                                                                                                                                                                       Email communication Elections Division staff and
                                                                   Fwd Alexa's Edits to                                                                                                            Attorney Client;       SOS attorney regarding what to include in its
DOC_0808748   Christina Adkins   2/16/2023     Outlook Email                              Christina Adkins        Adam Bitter                                               Privileged - Withhold
                                                                     RLA Document                                                                                                                 Deliberative Process recommendation to the Legislature for the election
                                                                                                                                                                                                                                            audit
                                                                                                                                                        Updated V2 Draft
                                                                                                                                                                                                                             Draft changes to risk-limiting audit pilot report
DOC_0808749   Christina Adkins   2/27/2023   Microsoft Word 2016                          Alexa Buxkemper                                                Report - Alexa's   Privileged - Withhold Deliberative Process
                                                                                                                                                                                                                                                  2022
                                                                                                                                                           edits docx
                                                                                                                   Sam Taylor;                                                                                              Email conversation between SOS executive, SOS
                                                                      Re AP media                               Christina Adkins;                                                                                           Elections Division team, and SOS general counsel
STATE177272   Christina Adkins   2/23/2023     Outlook Email                                Keith Ingram                                                                      Privileged - Redact    Deliberative Process
                                                                        request                                Kristi Hart; Adam                                                                                                   on what SOS's position is on ERIC
                                                                                                               Bitter Joe Esparza
                                                                   FW Potential Double
                                                                    Voter in 2020 GE                                                                                                                                         Election complaint submitted 2/27/23 regarding
DOC_0808786   Christina Adkins   2/27/2023     Outlook Email        Dallas County, TX     Elections Internet      Kate Fisher       Christina Adkins                        Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                   and Monroe County,
                                                                           FL
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
                                                                                                                                                          Jobe SOS TX
DOC_0808787   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808788   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                         Jobe TX Info pdf   Privileged - Withhold       Investigative        potential double voter in 2020 General Election


                                                                   FW Potential Double
                                                                     Voter in 2020 GE                                                                                                                                        Election complaint submitted 2/27/23 regarding
DOC_0808815   Christina Adkins   2/27/2023     Outlook Email        Henderson County,     Elections Internet      Kate Fisher       Christina Adkins                        Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                   TX and Miami-Dade
                                                                       County, FL
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
                                                                                                                                                         Coto FL County
DOC_0808816   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                                                                                                             Info pdf
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808817   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                         Coto FL Info pdf   Privileged - Withhold       Investigative        potential double voter in 2020 General Election

                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
                                                                                                                                                          Coto SOS TX
DOC_0808818   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                             Election complaint submitted 2/27/23 regarding
DOC_0808819   Christina Adkins   2/27/2023   Adobe Acrobat (PDF)                                                                                         Coto TX Info pdf   Privileged - Withhold       Investigative        potential double voter in 2020 General Election


                                                                   FW Potential Double
                                                                    voter in 2020 GE in                                                                                                                                      Election complaint submitted 3/13/23 regarding
DOC_0808821   Christina Adkins   3/13/2023     Outlook Email        Harris County, TX     Elections Internet      Kate Fisher       Christina Adkins                        Privileged - Withhold       Investigative        potential double voter in 2020 General Election
                                                                     and Hillsborough
                                                                        County, FL
                                                                                                                                                          Llano TX SOS                                                       Election complaint submitted 3/13/23 regarding
DOC_0808822   Christina Adkins   3/13/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold       Investigative
                                                                                                                                                          Complaint pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                         Margaret Hazel                                                      Election complaint submitted 3/13/23 regarding
DOC_0808823   Christina Adkins   3/13/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                    Privileged - Withhold       Investigative
                                                                                                                                                        Llano TX info pdf                                                    potential double voter in 2020 General Election
                                                                                                                                                         Margaret Hazel
                                                                                                                                                                                                                             Election complaint submitted 3/13/23 regarding
DOC_0808824   Christina Adkins   3/13/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                    Llano_TX        Privileged - Withhold       Investigative
                                                                                                                                                                                                                             potential double voter in 2020 General Election
                                                                                                                                                         info county pdf
                                                                    FW SB01933I (CA                                                                                                                                           Email communication between SOS attorneys
DOC_0808837   Christina Adkins   3/24/2023     Outlook Email                                                                                                                Privileged - Withhold      Attorney Client
                                                                        Rev 3)                                                                                                                                                          regarding SB01933
                                                                                                                                                          SB01933I (CA
DOC_0808838   Christina Adkins   3/24/2023   Microsoft Word 2016                          Christina Adkins                                                                  Privileged - Withhold      Attorney Client         SOS attorney proposed changes to SB 1933
                                                                                                                                                           Rev 3) docx
                                                                                                                                                                                                                            Email communication between SOS attorney and
                                                                     My response to                                                                                                                                         Election Legal with draft communication to Travis
DOC_0808839   Christina Adkins   12/6/2022     Outlook Email                                                       Elec Legal                                               Privileged - Withhold      Attorney Client
                                                                    Travis County VR                                                                                                                                         County voter registrar's office regarding election
                                                                                                                                                                                                                                               procedures
                                                                    RE SB01933I (CA                            Christina Adkins;                                                                                             Email conversation between SOS attorneys and
DOC_0808897   Christina Adkins   3/19/2023     Outlook Email                                Adam Bitter                                                                     Privileged - Withhold      Attorney Client
                                                                        Rev 2)                                   Kristi Hart                                                                                                 SOS Elections Division staff regarding SB 1933
                                                                                                                                                       SB01933I (CA Rev 2)                                                  SOS attorney highlights of proposed changes to SB
DOC_0808900   Christina Adkins   3/19/2023   Microsoft Word 2016                          Christina Adkins                                                                   Privileged - Withhold     Attorney Client
                                                                                                                                                       - AB edits clean docx                                                                     1933
                                                                                                                                                       SB01933I (CA Rev 2)
                                                                                                                                                                                                                            SOS attorney highlights of proposed changes to SB
DOC_0808901   Christina Adkins   3/19/2023   Microsoft Word 2016                          Christina Adkins                                                 - AB edits      Privileged - Withhold       Attorney Client
                                                                                                                                                                                                                                                 1933
                                                                                                                                                          redline docx
                                                                     FW Question of
                                                                                                                                                                                                                              Email communication between SOS attorneys
                                                                   Voter Registration
STATE177274   Christina Adkins   3/23/2023     Outlook Email                               Heidi Martinez       Christina Adkins                                              Privileged - Redact      Attorney Client      regarding Jamaica Beach, TX question about voter
                                                                     with Two Texas
                                                                                                                                                                                                                                              registration
                                                                       Residences
                                                                     FW Question of
                                                                                                                                                                                                                              Email communication between SOS attorneys
                                                                   Voter Registration                            Keith Ingram;
STATE177284   Christina Adkins   3/3/2023      Outlook Email                               Heidi Martinez                                                                     Privileged - Redact      Attorney Client       regarding Jamaica Beach, TX question on voter
                                                                     with Two Texas                             Christina Adkins
                                                                                                                                                                                                                                             registration
                                                                       Residences
                                                                     RE Letter from                                                                                                                                         Email conversation between SOS general counsel,
                                                                                                               Christina Adkins;
STATE177295   Christina Adkins   3/22/2023     Outlook Email        Secretary LaRose         Kristi Hart                                                                      Privileged - Redact      Attorney Client       SOS attorney, and staffer regarding ERIC email
                                                                                                                 Adam Bitter
                                                                   and Working Group                                                                                                                                                        from Ohio SOS



                                                                                                                       10 of 30
                                               Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 11 of 30
                                                                             LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date         Application              Subject               Author                  To                  CC               Filename            Treatment                 Claim                          Privilege Statement

                                                                                                                  Adam Bitter;
                                                                     Fw Letter from
                                                                                                                Christina Adkins;                                                                                           Email communication from SOS attorney to SOS
STATE177297   Christina Adkins   3/22/2023     Outlook Email        Secretary LaRose        Keith Ingram                                                                     Privileged - Redact      Attorney Client
                                                                                                                Joe Esparza; Sam                                                                                            executives regarding ERIC email from Ohio SOS
                                                                   and Working Group
                                                                                                                     Taylor
                                                                   FW Potential Double
                                                                    voter from 2008 -
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0808998   Christina Adkins   3/10/2023     Outlook Email        2020 GE in Levy       Elections Internet      Kate Fisher        Christina Adkins                       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                     County, FL and
                                                                    Bexar County, TX
                                                                                                                                                        Henderson TX SOS                                                   Election fraud complaint received 3/10/23 alleging
DOC_0808999   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold      Investigative
                                                                                                                                                          Complaint pdf                                                           double voting in 2008-2020 elections
                                                                                                                                                           Herman Lee
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0809000   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                 Henderson_FL       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                                                                                                           history pdf
                                                                                                                                                           Herman Lee
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0809001   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                 Henderson_FL       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                                                                                                             info pdf
                                                                                                                                                           Herman Lee
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0809002   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                 Henderson_FL       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                                                                                                         info county pdf
                                                                                                                                                           Herman Lee
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0809003   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                 Henderson_TX       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                                                                                                             info pdf
                                                                                                                                                           Herman Lee
                                                                                                                                                                                                                           Election fraud complaint received 3/10/23 alleging
DOC_0809004   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                 Henderson_TX       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                  double voting in 2008-2020 elections
                                                                                                                                                         info county pdf
                                                                                                                                                                                                                        Email conversations between OAG attorney, SOS
                                                                   FW Attorney/Client                            Keith Ingram;                                                                    Attorney Client;Work
STATE177300   Christina Adkins   3/1/2023      Outlook Email                                Adam Bitter                                                                      Privileged - Redact                       general counsel, and SOS attorneys regarding writ
                                                                       Privilege                                Christina Adkins                                                                         Product
                                                                                                                                                                                                                                         of mandamus
                                                                     RE Letter from                            Keith Ingram; Adam                                                                                          Email conversation between high level SOS
STATE177389   Christina Adkins   3/22/2023     Outlook Email        Secretary LaRose         Sam Taylor         Bitter; Christina                                            Privileged - Redact Deliberative Process     employees regarding Ohio SOS email on data
                                                                   and Working Group                           Adkins Joe Esparza                                                                                        sharing and what path Texas SOS should take
                                                                                                                Christina Adkins;                                                                                       Email communication between SOS attorney and
DOC_0809080   Christina Adkins   3/1/2023      Outlook Email        alternate SB 1070       Keith Ingram        Adam Bitter; Sam                                            Privileged - Withhold    Attorney Client   SOS executive regarding proposed election law, SB
                                                                                                                      Taylor                                                                                                                 1070
                                                                                                                                                        SB01070 alternate                                              SOS attorney comments on proposed election law,
DOC_0809081   Christina Adkins   3/1/2023    Microsoft Word 2016                          Christina Adkins                                                                  Privileged - Withhold    Attorney Client
                                                                                                                                                          language docx                                                                     SB 1070
                                                                   FW Potential Double
                                                                    voter in 2020 GE in
                                                                                                                                                                                                                           Election complain received 3/10/23 alleging double
DOC_0809131   Christina Adkins   3/10/2023     Outlook Email       Cameron County, TX     Elections Internet      Kate Fisher        Christina Adkins                       Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    voting in 2020 General Election
                                                                   and Volusia County,
                                                                             FL
                                                                                                                                                        Barrientos TX SOS                                                  Election complain received 3/10/23 alleging double
DOC_0809132   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold      Investigative
                                                                                                                                                          Complaint pdf                                                             voting in 2020 General Election
                                                                                                                                                              Carlos
                                                                                                                                                                                                                           Election complain received 3/10/23 alleging double
DOC_0809133   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                  Barrientos_FL     Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    voting in 2020 General Election
                                                                                                                                                            history pdf
                                                                                                                                                              Carlos
                                                                                                                                                                                                                           Election complain received 3/10/23 alleging double
DOC_0809134   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                  Barrientos_FL     Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    voting in 2020 General Election
                                                                                                                                                             info pdf
                                                                                                                                                              Carlos
                                                                                                                                                                                                                           Election complain received 3/10/23 alleging double
DOC_0809135   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                  Barrientos_FL     Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    voting in 2020 General Election
                                                                                                                                                         info county pdf
                                                                                                                                                              Carlos
                                                                                                                                                                                                                           Election complain received 3/10/23 alleging double
DOC_0809136   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                  Barrientos_TX     Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    voting in 2020 General Election
                                                                                                                                                             info pdf
                                                                   FW Potential Double
                                                                    voter in 2018 and
                                                                    2020 GE in Bexar                                                                                                                                       Election complaint received 3/10/23 alleging double
DOC_0809175   Christina Adkins   3/10/2023     Outlook Email                              Elections Internet      Kate Fisher        Christina Adkins                       Privileged - Withhold      Investigative
                                                                     County, TX and                                                                                                                                                 voting in 2018 and 2020 elections
                                                                    Suwannee County,
                                                                            FL
                                                                                                                                                          Payton TX SOS                                                    Election complaint received 3/10/23 alleging double
DOC_0809176   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold       Investigative
                                                                                                                                                           Complaint pdf                                                            voting in 2018 and 2020 elections
                                                                                                                                                        Robert L Payton_FL                                                 Election complaint received 3/10/23 alleging double
DOC_0809177   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                   Privileged - Withhold       Investigative
                                                                                                                                                            history pdf                                                             voting in 2018 and 2020 elections
                                                                                                                                                        Robert L Payton_FL                                                 Election complaint received 3/10/23 alleging double
DOC_0809178   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                   Privileged - Withhold       Investigative
                                                                                                                                                              info pdf                                                              voting in 2018 and 2020 elections
                                                                                                                                                        Robert L Payton_FL                                                 Election complaint received 3/10/23 alleging double
DOC_0809179   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                   Privileged - Withhold       Investigative
                                                                                                                                                          info county pdf                                                           voting in 2018 and 2020 elections
                                                                                                                                                        Robert L Payton_TX                                                 Election complaint received 3/10/23 alleging double
DOC_0809180   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                   Privileged - Withhold       Investigative
                                                                                                                                                              info pdf                                                              voting in 2018 and 2020 elections
                                                                                                                                                        Robert L Payton_TX                                                 Election complaint received 3/10/23 alleging double
DOC_0809181   Christina Adkins   3/10/2023   Adobe Acrobat (PDF)                            Terri Gierer                                                                   Privileged - Withhold       Investigative
                                                                                                                                                          info county pdf                                                           voting in 2018 and 2020 elections
                                                                                                                                                                                                                           Email conversation with deliberation between high-
                                                                     Re Letter from                             Sam Taylor; Adam
                                                                                                                                                                                                                            level SOS employees regarding email from Ohio
STATE177391   Christina Adkins   3/22/2023     Outlook Email        Secretary LaRose        Keith Ingram         Bitter; Christina                                           Privileged - Redact    Deliberative Process
                                                                                                                                                                                                                           SOS regarding maintenance of voter rolls proposal
                                                                   and Working Group                           Adkins; Joe Esparza
                                                                                                                                                                                                                               and what position Texas SOS should take



                                                                                                                       11 of 30
                                                Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 12 of 30
                                                                               LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number       Custodian          Date          Application               Subject               Author                 To                   CC                Filename            Treatment                 Claim                       Privilege Statement

                                                                                                                                                                                                                              Email communication between SOS attorneys
                                                                     Portions of Code that
DOC_0809364   Christina Adkins   1/10/2023      Outlook Email                                 Heidi Martinez      Christina Adkins                                             Privileged - Withhold     Attorney Client   regarding portions of election code that impact SOS
                                                                          impact SOS
                                                                                                                                                                                                                                                  duties
                                                                       Re Letter from                                                                                                                                           Email conversation between SOS elections
                                                                                                                 Kristi Hart; Adam
STATE177393   Christina Adkins   3/22/2023      Outlook Email         Secretary LaRose       Christina Adkins                                                                   Privileged - Redact    Deliberative Process department employees regarding how to proceed on
                                                                                                                        Bitter
                                                                     and Working Group                                                                                                                                       Ohio SOS's suggestion of an alternative to ERIC
                                                                                                                Adam Bitter; Kristi                                                                                           Email communication between SOS attorney
DOC_0809443   Christina Adkins   3/20/2023      Outlook Email        SB01933I (CA Rev 3)     Christina Adkins                                                                  Privileged - Withhold     Attorney Client
                                                                                                                      Hart                                                                                                       regarding draft analysis of SB1933
                                                                                                                                                             SB01933I (CA
DOC_0809444   Christina Adkins   3/20/2023    Microsoft Word 2016                            Christina Adkins                                                                  Privileged - Withhold     Attorney Client      SOS attorney's proposed changes to SB 1933
                                                                                                                                                              Rev 3) docx
                                                                                                                 Kristi Hart; Adam                                                                                          Email communication between SOS attorney
DOC_0809445   Christina Adkins   3/18/2023      Outlook Email        SB01933I (CA Rev 2)     Christina Adkins                                                                  Privileged - Withhold     Attorney Client
                                                                                                                        Bitter                                                                                                   regarding draft analysis of SB1933
                                                                                                                                                             SB01933I (CA                                                      SOS attorney's draft changes to SB 1933
DOC_0809446   Christina Adkins   3/18/2023    Microsoft Word 2016                            Christina Adkins                                                                  Privileged - Withhold    Attorney Client
                                                                                                                                                              Rev 2) docx                                                                   highlighted
                                                                      Fwd Letter from                                                                                                                                     Email communication among SOS election division
                                                                                                                Adam Bitter; Kristi
STATE177395   Christina Adkins   3/22/2023      Outlook Email         Secretary LaRose       Christina Adkins                                                                   Privileged - Redact Deliberative Process   employees about how to proceed on Ohio SOS's
                                                                                                                      Hart
                                                                     and Working Group                                                                                                                                            suggestion of alternative to ERIC
                                                                      Fwd alternate SB                                                                                                                                    Email communication between SOS attorneys and
DOC_0809478   Christina Adkins    3/1/2023      Outlook Email                                Christina Adkins       Kristi Hart                                                Privileged - Withhold    Attorney Client
                                                                            1070                                                                                                                                            SOS executive regarding alternative SB1070
                                                                                                                                                                                                                            Legal assignments 2023 List of attorney work
                                                                      Legal Assignments                                                                                                              Attorney Client;Work
DOC_0809487   Christina Adkins   3/21/2023      Outlook Email                                Christina Adkins    Alexa Buxkemper                                               Privileged - Withhold                      assignments Sent from SOS attorney to non-legal
                                                                          2023 xlsx                                                                                                                         Product
                                                                                                                                                                                                                                           SOS employee
                                                                                                                                                                                                                            Legal assignments 2023 List of attorney work
                                              Microsoft Excel 2016                                                                                         Legal Assignments                         Attorney Client;Work
DOC_0809488   Christina Adkins   3/21/2023                                                   Christina Adkins                                                                  Privileged - Withhold                      assignments Sent from SOS attorney to non-legal
                                                   Workbook                                                                                                    2023 xlsx                                    Product
                                                                                                                                                                                                                                           SOS employee
                                                                        FW Pollbook
                                                                                                                                                                                                                            Email communication between SOS attorneys and
                                                                        Certification
DOC_0809490   Christina Adkins    3/5/2023      Outlook Email                                Christina Adkins       Adam Bitter                                                Privileged - Withhold     Attorney Client     SOS Elections Division staff regarding pollbook
                                                                     Legislative Changes
                                                                                                                                                                                                                                    certification legislative changes
                                                                           DRAFT
                                                                                                                Adam Bitter; Kristi
DOC_0809507   Christina Adkins   3/17/2023      Outlook Email        SB01933I (CA Rev )      Christina Adkins                                                                  Privileged - Withhold     Attorney Client          SOS attorney's revision of SB01993I
                                                                                                                      Hart
                                                                                                                                                             SB01933I (CA
DOC_0809508   Christina Adkins   3/17/2023    Microsoft Word 2016                            Christina Adkins                                                                  Privileged - Withhold     Attorney Client      SOS attorney's suggested revision of SB 1993
                                                                                                                                                              Rev ) docx
                                                                       Administrative                                                                                                                                         Email communication between SOS attorneys
DOC_0809509   Christina Adkins   3/24/2023      Outlook Email                                Christina Adkins       Adam Bitter                                                Privileged - Withhold     Attorney Client
                                                                     Oversight Language                                                                                                                                       regarding administrative oversight language
                                                                                                                                                                                                                                 Discussion of proposed amendments to
                                                                       Administrative                                                                                                                                        administrative oversight language in the Texas
DOC_0809518   Christina Adkins   3/24/2023      Outlook Email                                Christina Adkins     Joshua Garrett                                               Privileged - Withhold       Legislative
                                                                     Oversight Language                                                                                                                                     Elections Code Email between SOS attorney and
                                                                                                                                                                                                                                  legislative staff of Rep Reggie Smith
                                                                                                                                                                                                                                 Discussion of proposed amendments to
                                                                                                                                                             Administrative
                                                                                                                                                                                                                             administrative oversight language in the Texas
DOC_0809519   Christina Adkins   3/24/2023    Microsoft Word 2016                            Christina Adkins                                                  Oversight       Privileged - Withhold       Legislative
                                                                                                                                                                                                                            Elections Code Email between SOS attorney and
                                                                                                                                                             Language docx
                                                                                                                                                                                                                                  legislative staff of Rep Reggie Smith
                                                                                                                                                                                                                            Email communication between SOS attorney and
                                                                      RLA - Updated V2                                                                                                                                      SOS general counsel regarding RLA draft report
DOC_0809523   Christina Adkins   2/27/2023      Outlook Email                                Christina Adkins       Adam Bitter                                                Privileged - Withhold     Attorney Client
                                                                        Draft Report                                                                                                                                            that also references prior attorney-client
                                                                                                                                                                                                                                              communication
                                                                                                                                                           RLA - Updated V2
DOC_0809524   Christina Adkins   2/27/2023    Microsoft Word 2016                            Alexa Buxkemper                                                                   Privileged - Withhold     Attorney Client     SOS attorney's highlights on RLA draft report
                                                                                                                                                           Draft Report docx
                                                                       FW Question of
                                                                                                                                                                                                                               Email conversation between SOS attorneys
                                                                      Voter Registration
STATE177398   Heidi Martinez     3/23/2023      Outlook Email                                 Heidi Martinez      Christina Adkins                                              Privileged - Redact      Attorney Client   regarding question of voter registration in Jamaica
                                                                       with Two Texas
                                                                                                                                                                                                                                               Beach, TX
                                                                         Residences
                                                                                                                Charles Pinney; Lena                                                                                        Email communication between SOS attorney that
                                                                     Sections of Code for                                              Christina Adkins;
DOC_0814381   Heidi Martinez     3/10/2023      Outlook Email                                 Heidi Martinez        Proft; Andre                                               Privileged - Withhold     Attorney Client     reveals attorney's mental impressions regarding
                                                                         Bill Review                                                     Kristi Hart
                                                                                                                   Montgomery                                                                                                legal work performed during bill review for SOS
                                                                                                                                                                                                                            Email communication between SOS attorney and
                                                                      RE Dallas County                            Emily Harwell;                                                                                             SOS Elections Division staff regarding an FPCA
DOC_0814434   Heidi Martinez     10/5/2022      Outlook Email                                 Heidi Martinez                              Kristi Hart                          Privileged - Withhold      Investigative
                                                                           Voter                                   Lillian Eder                                                                                             voter in Dallas County who had his vote cancelled
                                                                                                                                                                                                                                              by the County
                                                                       FW 318 Monica
                                                                                                                 Kate Fisher; Kristi                                                                                          Election complaint received 11/2/22 regarding
DOC_0814467   Heidi Martinez     11/2/2022      Outlook Email           Flores-Rolater        Keith Ingram                                                                     Privileged - Withhold      Investigative
                                                                                                                Hart; Heidi Martinez                                                                                           potential unlawful assistance in Plano, TX
                                                                          Complaint
                                                                                                                                                           318 Monica Flores-
                                                                                                                                                                                                                              Election complaint received 11/2/22 regarding
DOC_0814468   Heidi Martinez     12/19/2022   Adobe Acrobat (PDF)                                                                                               Rolater       Privileged - Withhold       Investigative
                                                                                                                                                                                                                               potential unlawful assistance in Plano, TX
                                                                                                                                                             Complaint pdf
                                                                                                                                                                                                                            Election complaint received 10/21/22 and referred
DOC_0814469   Heidi Martinez     10/26/2022     Outlook Email           RE Vela 5 of 5         Kate Fisher        Heidi Martinez                                               Privileged - Withhold      Investigative
                                                                                                                                                                                                                                                 to OAG
                                                                                                                                                                                                                           Email communication between SOS attorneys that
                                                                     Portions of Code that                                                                                                                                 reveals an attorney's mental impressions regarding
DOC_0814480   Heidi Martinez     1/10/2023      Outlook Email                                 Heidi Martinez      Christina Adkins                                             Privileged - Withhold     Attorney Client
                                                                          impact SOS                                                                                                                                        a legal task performed for SOS regarding election
                                                                                                                                                                                                                                                  duties
                                                                       FW YOUR 2020
                                                                         ELECTION
                                                                         RESULTS                                                                                                                                           Email communications between SOS attorneys and
STATE177423   Heidi Martinez      8/9/2022      Outlook Email        TRANSMISSION TO          Heidi Martinez        Kate Fisher           Kristi Hart                           Privileged - Redact      Attorney Client    Elections Division staff regarding safety of 2020
                                                                        AUSTIN WAS                                                                                                                                                           election data
                                                                      CAPTURED AND
                                                                         MODIFIED



                                                                                                                         12 of 30
                                              Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 13 of 30
                                                                            LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian         Date          Application              Subject             Author                To                     CC                 Filename             Treatment               Claim                       Privilege Statement

                                                                    FW Question of
                                                                                                                                                                                                                         Attorney-client discussions on what to do about
                                                                   Voter Registration                       Keith Ingram;
STATE177430   Heidi Martinez    3/3/2023      Outlook Email                              Heidi Martinez                                                                       Privileged - Redact    Attorney Client    question from Jamaica Beach, TX regarding voter
                                                                    with Two Texas                         Christina Adkins
                                                                                                                                                                                                                       registration for citizens with two Texas residences
                                                                      Residences
                                                                    FW 337 Martie                                                                                                                                       Election complaint submitted 11/4/22 regarding
                                                                                                           Kate Fisher; Kristi
DOC_0814501   Heidi Martinez   11/7/2022      Outlook Email           Garcia-Vela        Keith Ingram                                                                        Privileged - Withhold    Investigative     potential violation of Election Code 87 121 that
                                                                                                          Hart; Heidi Martinez
                                                                      Complaint                                                                                                                                                       was referred to OAG
                                                                                                                                                                                                                        Election complaint submitted 11/4/22 regarding
                                                                                                                                                        337 Martie Garcia-
DOC_0814502   Heidi Martinez   12/23/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold      Investigative     potential violation of Election Code 87 121 that
                                                                                                                                                        Vela Complaint pdf
                                                                                                                                                                                                                                      was referred to OAG
                                                                    RE Message from                                                                     RE_ Message from
                                                                    Unknown sender                          Keith Ingram;                                Unknown sender                                                Email communication between SOS attorneys and
DOC_0814558   Heidi Martinez   6/19/2018      Outlook Email        (2102503194) state    Melanie Best       Timothy Juro;                               (2102503194) state   Privileged - Withhold   Attorney Client   SOS executive regarding eligibility of candidates to
                                                                     rep running for                      Elections-Attorneys                             rep running for                                                    run for TX House of Representatives
                                                                         senator                                                                            senator msg
                                                                                                                                                                                                                         Email communication between SOS attorneys
DOC_0814559   Heidi Martinez   8/21/2013      Outlook Email           FW III, 19         Melanie Best        Melanie Best                                FW_ III, 19 msg     Privileged - Withhold   Attorney Client    regarding eligibility of candidates to run for TX
                                                                                                                                                                                                                                  House of Representatives
                                                                    RE 318 Monica
                                                                                                                                                                                                                         Election complaint received 11/2/22 regarding
                                                                     Flores-Rolater                       Charles Pinney; Kate
DOC_0814620   Heidi Martinez   12/7/2022      Outlook Email                              Keith Ingram                              Heidi Martinez                            Privileged - Withhold    Investigative    potential unlawful assistance that was referred to
                                                                      Complaint -                                Fisher
                                                                                                                                                                                                                                             OAG
                                                                    Assignment (CP)
                                                                    Re 318 Monica
                                                                                                                                                                                                                         Election complaint received 11/2/22 regarding
                                                                     Flores-Rolater                        Kate Fisher; Keith
DOC_0814621   Heidi Martinez   12/7/2022      Outlook Email                              Charles Pinney                            Heidi Martinez                            Privileged - Withhold    Investigative    potential unlawful assistance that was referred to
                                                                      Complaint -                               Ingram
                                                                                                                                                                                                                                             OAG
                                                                    Assignment (CP)
                                                                                                                                                                                                                        Email communication between SOS attorney and
                                                                   RE Dallas County                         Heidi Martinez;
DOC_0814632   Heidi Martinez   10/4/2022      Outlook Email                               Lillian Eder                               Kristi Hart                             Privileged - Withhold   Attorney Client    Elections Division staff regarding Dallas County
                                                                        Voter                               Emily Harwell
                                                                                                                                                                                                                              cancelling the vote of a FPCA voter
                                                                    FW 155 Nichole                                                                                                                                        Email communication between SOS attorney
STATE177444   Heidi Martinez   11/28/2022     Outlook Email       Harryman Complaint     Heidi Martinez       Kate Fisher                                                     Privileged - Redact    Attorney Client    regarding a complaint about a polling place that
                                                                   - Assignment (HM)                                                                                                                                                    was not used
                                                                                                                                                                                                                       Email communication between SOS attorney and
                                                                  337 Martie Garcia-
                                                                                                                                                                                                                         Elections Division staff regarding an election
STATE177452   Heidi Martinez   11/7/2022      Outlook Email        Vela Complaint -       Kate Fisher       Charles Pinney         Heidi Martinez                             Privileged - Redact    Attorney Client
                                                                                                                                                                                                                       complaint submitted 11/4/22 regarding a violation
                                                                   Assignment (CP)
                                                                                                                                                                                                                                    of Election Code 87 121
                                                                                                                                                                                                                       Email communication between SOS attorneys and
                                                                    FW 246 Frank                           Kate Fisher; Kristi
STATE177462   Heidi Martinez   9/15/2022      Outlook Email                              Keith Ingram                                                                         Privileged - Redact    Attorney Client   Elections Division staff regarding alleged election
                                                                   Borden Complaint                       Hart; Heidi Martinez
                                                                                                                                                                                                                                         improprieties
                                                                    FW 318 Monica
                                                                                                                                                                                                                        Election complaint submitted 11/2/22 regarding
                                                                     Flores-Rolater
DOC_0814713   Heidi Martinez   11/7/2022      Outlook Email                               Kate Fisher       Charles Pinney         Heidi Martinez                            Privileged - Withhold    Investigative    potential unlawful assistance that was referred to
                                                                      Complaint -
                                                                                                                                                                                                                                             OAG
                                                                    Assignment (CP)
                                                                                                                                                        318 Monica Flores-                                              Election complaint submitted 11/2/22 regarding
DOC_0814714   Heidi Martinez   12/23/2022   Adobe Acrobat (PDF)                                                                                              Rolater       Privileged - Withhold      Investigative    potential unlawful assistance that was referred to
                                                                                                                                                          Complaint pdf                                                                       OAG
                                                                                                                                                                                                                       Email communication between SOS attorney and
                                                                   RE Dallas County                                                Heidi Martinez;
DOC_0814730   Heidi Martinez   10/4/2022      Outlook Email                               Lillian Eder       Emily Harwell                                                   Privileged - Withhold   Attorney Client    Elections division staff regarding an FPCA voter
                                                                        Voter                                                        Kristi Hart
                                                                                                                                                                                                                          whose vote was cancelled by Dallas County
                                                                  318 Monica Flores-                                                                                                                                    Election complaint submitted 11/2/22 regarding
DOC_0814746   Heidi Martinez   11/2/2022      Outlook Email       Rolater Complaint -     Kate Fisher       Charles Pinney         Heidi Martinez                            Privileged - Withhold    Investigative    potential unlawful assistance that was referred to
                                                                   Assignment (CP)                                                                                                                                                            OAG
                                                                                                                                                        318 Monica Flores-                                              Election complaint submitted 11/2/22 regarding
DOC_0814747   Heidi Martinez   12/19/2022   Adobe Acrobat (PDF)                                                                                              Rolater       Privileged - Withhold      Investigative    potential unlawful assistance that was referred to
                                                                                                                                                          Complaint pdf                                                                       OAG
                                                                  300 Maria Gonzalez
                                                                                                                                                                                                                       Email communication between SOS attorneys and
                                                                     Complaint (re
STATE177609   Heidi Martinez   11/7/2022      Outlook Email                               Kate Fisher       Heidi Martinez                                                    Privileged - Redact    Attorney Client   Elections Division employees regarding compliant
                                                                   Gilberto Aguilar) -
                                                                                                                                                                                                                        that alleges violation of Election Code 276 019
                                                                   Assignment (HM)
                                                                                                           Kate Fisher; Kristi                                                                                          Election complaint supplement received 11/3/22
DOC_0814782   Heidi Martinez   11/3/2022      Outlook Email       FW SoS Supplement      Keith Ingram                                                                        Privileged - Withhold    Investigative
                                                                                                          Hart; Heidi Martinez                                                                                                    that was forwarded to OAG
                                                                                                                                                         8th day campaign
                                                                                                                                                                                                                        Election complaint supplement received 11/3/22
DOC_0814783   Heidi Martinez   12/19/2022   Adobe Acrobat (PDF)                                                                                         finance report Eloy Privileged - Withhold     Investigative
                                                                                                                                                                                                                                  that was forwarded to OAG
                                                                                                                                                              Vera pdf
                                                                  132 John Browning                                                                                                                                    Email communication between SOS attorneys and
STATE177642   Heidi Martinez   8/18/2022      Outlook Email          Complaint -          Kate Fisher          Lena Proft          Heidi Martinez                             Privileged - Redact    Attorney Client   Elections Division employee regarding complaint
                                                                   Assignment (LP)                                                                                                                                               and possible election contest
                                                                                                                                                                                                                       Election complaint supplement submitted 11/3/22
                                                                                                          Keith Ingram; Kristi
DOC_0814824   Heidi Martinez   11/3/2022      Outlook Email       RE SoS Supplement       Kate Fisher                                Lena Proft                              Privileged - Withhold    Investigative    regarding potential violations of § 276 015(b) and
                                                                                                          Hart; Heidi Martinez
                                                                                                                                                                                                                                   (d) Was referred to OAG
                                                                  234 Angela Medlin                                                                                                                                    Email communication between SOS attorneys and
STATE177654   Heidi Martinez   11/7/2022      Outlook Email          Complaint -          Kate Fisher       Heidi Martinez                                                    Privileged - Redact    Attorney Client    Elections Division staff regarding complaint of
                                                                   Assignment (HM)                                                                                                                                                improper voter registration
                                                                                                                                  Kate Fisher; Kristi                                                                    Election complaint submitted 6/3/22 regarding
DOC_0814988   Heidi Martinez    6/6/2022      Outlook Email       RE Election Fraud      Keith Ingram       Heidi Martinez                                                   Privileged - Withhold    Investigative
                                                                                                                                 Hart; Charles Pinney                                                                   potential ABBM fraud that was referred to OAG




                                                                                                                   13 of 30
                                             Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 14 of 30
                                                                           LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian         Date         Application             Subject              Author                 To                  CC               Filename             Treatment               Claim                         Privilege Statement

                                                                   FW Question of
                                                                                                                                                                                                                       Email communication between SOS attorneys
                                                                  Voter Registration                         Keith Ingram;
STATE177672   Heidi Martinez   3/3/2023      Outlook Email                              Heidi Martinez                                                                  Privileged - Redact     Attorney Client     regarding voter registration question from Jamaica
                                                                   with Two Texas                           Christina Adkins
                                                                                                                                                                                                                                        Beach, TX
                                                                     Residences
                                                                                                                                                                                                                    Election complaint submitted 12/1422 regarding
                                                                  FW 455 Andrew
DOC_0815191   Heidi Martinez   3/9/2023      Outlook Email                               Kate Fisher        Charles Pinney      Heidi Martinez                         Privileged - Withhold     Investigative       potential voter registration under the name of a
                                                                   Lall Complaint
                                                                                                                                                                                                                                     non U S citizen
                                                                                                                                                                                                                    Election complaint submitted 12/1422 regarding
                                                                                                                                                    455 Andrew Lall
DOC_0815192   Heidi Martinez   3/9/2023    Adobe Acrobat (PDF)                                                                                                         Privileged - Withhold     Investigative       potential voter registration under the name of a
                                                                                                                                                     Complaint pdf
                                                                                                                                                                                                                                     non U S citizen
                                                                 RE DRAFT email to                                                                                                                                  Emails among SOS attorneys regarding edits to a
                                                                                                                                                                                               Attorney Client;
DOC_0815319   Heidi Martinez   3/3/2023      Outlook Email         Ellis County re      Heidi Martinez         Lena Proft                                              Privileged - Withhold                          draft email to Ellis County regarding election
                                                                                                                                                                                                Work Product
                                                                  Farmers Branch                                                                                                                                                        procedures
                                                                                                                                                                                                  Attorney           Email communication between SOS general
                                                                 Re 11th Hour Q&A -                         Adam Bitter; Joe
DOC_0816019    Joe Esparza     2/26/2023     Outlook Email                               Sam Taylor                              Adam Bitter                           Privileged - Withhold Client;Deliberative counsel and SOS executives regarding draft talking
                                                                         V3                                    Esparza
                                                                                                                                                                                                   Process       points that also includes deliberation of SOS policy
                                                                                                                                                   11th Hour Election                                             SOS General Counsel's reviewed version of election
DOC_0816020    Joe Esparza     2/26/2023   Microsoft Word 2016                          Samuel Taylor                                                                 Privileged - Withhold     Attorney Client
                                                                                                                                                      Qs_V3 docx                                                                     talking points
                                                                                                                                                                                                                       Draft talking points on ERIC system with
                                                                 RE 11th Hour Q&A -                        Sam Taylor; Adam
DOC_0816162    Joe Esparza     2/26/2023     Outlook Email                               Joe Esparza                             Adam Bitter                           Privileged - Withhold Deliberative Process highlights for the policy determinations to be made
                                                                         V1                                     Bitter
                                                                                                                                                                                                                                         by SOS
                                                                 25 PIRs due Monday                                                                                                                                   Email communication between SOS general
STATE177683    Joe Esparza     2/10/2023     Outlook Email                             Jennifer Williams      Adam Bitter         Joe Esparza                           Privileged - Redact    Attorney Client
                                                                  2/13 - Friday 2/17                                                                                                                                 counsel and his legal assistant regarding PIR
                                                                 RE 11th Hour Q&A -                         Sam Taylor; Joe                                                                                        Email communication between SOS attorney and
DOC_0816256    Joe Esparza     2/26/2023     Outlook Email                               Adam Bitter                             Adam Bitter                           Privileged - Withhold   Attorney Client
                                                                          V1                                   Esparza                                                                                             SOS executive regarding talking points on ERIC
                                                                                                                                                                                                                       Email communication between SOS general
                                                                                                            Adam Bitter; Joe
DOC_0816307    Joe Esparza     2/26/2023     Outlook Email       11th Hour Q&A - V1      Sam Taylor                                                                    Privileged - Withhold Deliberative Process     counsel and SOS executives regarding talking
                                                                                                               Esparza
                                                                                                                                                                                                                    points on ERIC and what SOS's position should be
                                                                                                                                                   11th Hour Election                                                 Draft talking points on ERIC involving possible
DOC_0816308    Joe Esparza     2/26/2023   Microsoft Word 2016                          Samuel Taylor                                                                 Privileged - Withhold Deliberative Process
                                                                                                                                                      Qs V1 docx                                                         positions SOS could take on membership
                                                                 31 PIRs due Monday                                                                                                                                     Email communication between SOS general
STATE177689    Joe Esparza     3/10/2023     Outlook Email                             Jennifer Williams      Adam Bitter         Joe Esparza                           Privileged - Redact     Attorney Client
                                                                  3/13 - Monday 3/20                                                                                                                                 counsel and legal assistant regarding PIR status
                                                                 21 PIRs due Tuesday                                                                                                                                    Email communication between SOS general
STATE177696    Joe Esparza     2/17/2023     Outlook Email                             Jennifer Williams      Adam Bitter         Joe Esparza                           Privileged - Redact     Attorney Client
                                                                  2/21 - Monday 2/27                                                                                                                                 counsel and legal assistant regarding PIR status
                                                                                                           Dara Stone; Zeenia
                                                                                                                                                                                                  Attorney          Email communication between SOS attorneys and
                                                                  RE Agency COOP                            Challa; Vincent
DOC_0816692    Joe Esparza     2/10/2023     Outlook Email                               Adam Bitter                            Laura Rhinehart                        Privileged - Withhold Client;Deliberative    SOS executives regarding updating of the Agency
                                                                     Updates                                 Houston; Joe
                                                                                                                                                                                                   Process                         Continuity Plan
                                                                                                                Esparza
                                                                   This template
                                                                      provides
                                                                    instructions,
                                                               guidance, and sample
                                                                     text for the
                                                                                      DHS;Federal                                                    SoS Continuity
                                                                  development of                                                                                                                                      SOS General Counsel's edits to SOS business
DOC_0816693    Joe Esparza     3/14/2023   Microsoft Word 2016                         Emergency                                                  Plan_Draft_ZC edits Privileged - Withhold     Attorney Client
                                                               Continuity Plans and                                                                                                                                                continuity plan
                                                                                    Management Agency                                             (plus AB edits) docx
                                                                    programs in
                                                                accordance with the
                                                               Continuity Guidance
                                                               Circular (CGC) dated
                                                                  February 2018
                                                                     FW Voter                                                                                                                                         Inquiry from office of Rep Donna Howard
                                                                                                           Sam Taylor; Kristi
DOC_0816805    Joe Esparza     3/6/2023      Outlook Email       Registration Forms      Joe Esparza                             Adam Bitter                           Privileged - Withhold      Legislative    regarding proposed legislation on voter registration
                                                                                                           Hart; Keith Ingram
                                                                  in High Schools                                                                                                                                                forms in high schools
                                                                     FW Voter                                                                                                                                         Inquiry from office of Rep Donna Howard
                                                                                                           Sam Taylor; Kristi
DOC_0817126    Joe Esparza     3/6/2023      Outlook Email       Registration Forms       JESPARZA                               Adam Bitter                           Privileged - Withhold     Legislative     regarding proposed legislation on voter registration
                                                                                                           Hart; Keith Ingram
                                                                  in High Schools                                                                                                                                                forms in high schools
                                                                 Voter Registration                                                                                                                                   Inquiry from office of Rep Donna Howard
DOC_0817293    Joe Esparza     3/6/2023      Outlook Email         Forms in High       Kimberlee Ralph        Joe Esparza       Samantha Lopez                         Privileged - Withhold     Legislative     regarding proposed legislation on voter registration
                                                                       Schools                                                                                                                                                   forms in high schools
                                                                                                                                                                                                  Attorney           Email communication between SOS general
                                                                 RE 11th Hour Q&A -                         Sam Taylor; Joe
DOC_0817463    Joe Esparza     2/26/2023     Outlook Email                               Adam Bitter                                                                   Privileged - Withhold Client;Deliberative counsel and SOS executives regarding draft talking
                                                                         V1                                    Esparza
                                                                                                                                                                                                   Process              points on ERIC and the role of the SOS
                                                                                                                                                                                                                 Email communication between SOS executives and
                                                                   THE LATEST -
DOC_0817530    Joe Esparza     2/23/2023     Outlook Email                               Sam Taylor           Adam Bitter         Joe Esparza                          Privileged - Withhold  Attorney Client    SOS general counsel regarding draft talking points
                                                                  CONFIRMATION
                                                                                                                                                                                                                                for confirmation of SOS
                                                                                                                                                   V8_Tough QA_SOS                                                Draft talking points for confirmation of SOS, sent
DOC_0817531    Joe Esparza     3/25/2023   Microsoft Word 2016                          Samuel Taylor                                             Confirmation_2023 d Privileged - Withhold   Attorney Client       by SOS executives to SOS general counsel for
                                                                                                                                                          ocx                                                                            review
                                                                                                                                                                                                                     Email communication between SOS general
                                                                 28 PIRs due Monday
STATE177700    Joe Esparza     3/3/2023      Outlook Email                             Jennifer Williams      Adam Bitter         Joe Esparza                           Privileged - Redact   Attorney Client       counsel and his legal assistant regarding PIR
                                                                  3/6 - Monday 3/13
                                                                                                                                                                                                                                        requests
                                                                 Due today 2/15 - RE                                                              Due today 2_15 - RE_
                                                                    Texas Public                                                                      Texas Public
                                                                   Information Act                                                                  Information Act                                                  Email communication between SOS general
STATE177706    Joe Esparza     2/15/2023     Outlook Email         request - Philip    Jennifer Williams      Adam Bitter                           request - Philip    Privileged - Redact   Attorney Client          counsel and his legal assistant regarding
                                                                 Jankowski - Dallas                                                                Jankowski - Dallas                                                redactions on a Dallas Morning News PIR
                                                                 Morning News - PIR                                                               Morning News - PIR
                                                                       22-0135                                                                       22-0135 msg

                                                                                                                   14 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 15 of 30
                                                                           LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian        Date          Application               Subject               Author                 To                CC            Filename             Treatment                 Claim                         Privilege Statement

                                                                      RE Master                                                                                                                                     Email communication between SOS attorney and
                                                                                                              Adam Bitter; Sam
STATE177718   Joe Esparza    2/20/2023      Outlook Email        Script/Doc for Senate     Joe Esparza                                                                Privileged - Redact     Attorney Client       SOS executives regarding talking points for HAC
                                                                                                                  Taylor
                                                                        Finance                                                                                                                                                       subcommittee
                                                                      RE Master                                                                                                                                    Email communication from SOS general counsel to
                                                                                                              Adam Bitter; Sam
DOC_0817757   Joe Esparza    2/20/2023      Outlook Email        Script/Doc for Senate                                                                               Privileged - Withhold    Attorney Client      SOS executives regarding HAC subcommittee draft
                                                                                                                  Taylor
                                                                        Finance                                                                                                                                                           agenda
                                                                                                              Christina Adkins;                                                                                     Email communication between SOS attorney and
                                                                   Re Top Priority
DOC_0817886   Joe Esparza    2/11/2023      Outlook Email                                  Joe Esparza       Keith Ingram; Adam                                      Privileged - Withhold    Attorney Client        SOS executive team that references bill status
                                                                    Election Bills
                                                                                                              Bitter Sam Taylor                                                                                     report and other attorney-client communication
                                                                                                                                                                                                                      Email communication between SOS general
                                                                 25 PIRs due Monday
STATE177726   Joe Esparza    2/24/2023      Outlook Email                                Jennifer Williams      Adam Bitter       Joe Esparza                         Privileged - Redact     Attorney Client          counsel and legal assistant regarding PIR
                                                                  2/27 - Monday 3/6
                                                                                                                                                                                                                                        responses
                                                                  FW 2023 HAVA                                                                                                                                       Email conversation between SOS attorneys and
                                                                                                              Joe Esparza; Sam
DOC_0818704   Joe Esparza    2/27/2023      Outlook Email         Election Security        Adam Bitter                                                               Privileged - Withhold    Attorney Client         SOS staffer regarding 2023 HAVA Election
                                                                                                                   Taylor
                                                                       Funds                                                                                                                                                         Security Funds
                                                                                                                                                                                                Attorney            Email conversation between SOS general counsel
                                                                 Re 11th Hour Q&A -                           Adam Bitter; Joe
DOC_0818970   Joe Esparza    2/26/2023      Outlook Email                                  Sam Taylor                             Adam Bitter                        Privileged - Withhold Client;Deliberative      and SOS executive regarding Q&A talking points
                                                                         V1                                      Esparza
                                                                                                                                                                                                 Process                                 on ERIC
                                                                                                                                                11th Hour Election                                                 SOS general counsel's edits to Q&A talking points
DOC_0818971   Joe Esparza    3/14/2023    Microsoft Word 2016                             Samuel Taylor                                                            Privileged - Withhold      Attorney Client
                                                                                                                                                   Qs V2 docx                                                                            on ERIC
                                                                 26 PIRs due Monday                                                                                                                                Communication between SOS General Counsel and
STATE177732   Joe Esparza    3/24/2023      Outlook Email                                Jennifer Williams      Adam Bitter       Joe Esparza                         Privileged - Redact     Attorney Client
                                                                  3/27 - Monday 4/3                                                                                                                                     legal assistant regarding PIR responses
                                                                   RE 27 PIRs due
                                                                                                             Jennifer Williams;                                                                                    Email communication between SOS attorneys and
STATE177738   Joe Esparza    3/18/2023      Outlook Email           Monday 3/20 -         Zeenia Challa                           Joe Esparza                         Privileged - Redact     Attorney Client
                                                                                                                Adam Bitter                                                                                           legal assistant regarding PIR responses
                                                                     Monday 3/27
                                                                    RLA Report -                              Joe Esparza; Sam                                                                                     Email from SOS general counsel to SOS executives
DOC_0819541   Joe Esparza    3/12/2023      Outlook Email                                  Adam Bitter                            Adam Bitter                        Privileged - Withhold    Attorney Client
                                                                    Current Draft                                  Taylor                                                                                           discussing draft of Risk Limiting Audit Report
                                                                                                                                                SOS Risk Limiting
                                                                                                                                                 Audit Report to
                                                                                                                                                                                                                   SOS general counsel written draft of Risk Limiting
DOC_0819542   Joe Esparza    3/12/2023    Microsoft Word 2016                             Louri O'Leary                                         Legislature - 2023   Privileged - Withhold    Attorney Client
                                                                                                                                                                                                                                    Audit Report
                                                                                                                                                     (DRAFT
                                                                                                                                                  3 12 23) docx
                                                                   RE Letter from                                                                                                                 Attorney          Email conversation among SOS general counsel
                                                                                                              Sam Taylor; Joe
STATE177745   Joe Esparza    3/22/2023      Outlook Email         Secretary LaRose         Adam Bitter                                                                Privileged - Redact    Client;Deliberative    and SOS executives following invitation by Ohio
                                                                                                                 Esparza
                                                                 and Working Group                                                                                                                 Process          SOS to join voter registration verification group
                                                                   Spreadsheet of
                                                                                                              John Scott; Adam                                                                                     Email communication between SOS legal and SOS
DOC_0819752    John Scott    5/27/2022      Outlook Email        Current Open PIRs       Jennifer Williams                        Zac Rhines                         Privileged - Withhold    Attorney Client
                                                                                                                   Bitter                                                                                                 exec regarding status of open PIR
                                                                    as of 5 27 22
                                                                                                                                                 2022 Open Public
                                                                                                                                                                                                                   Spreadsheet of open PIR for SOS, with comments
                                          Microsoft Excel 2016                                                                                     Information
DOC_0819753    John Scott    6/26/2022                                                   Jennifer Williams                                                          Privileged - Withhold     Attorney Client         prepared by SOS general counsel and legal
                                               Workbook                                                                                         Requests Log (as of
                                                                                                                                                                                                                                      assistant
                                                                                                                                                   5 27 22) xlsx
                                                                                                                                                                                                                     Election complaint received from SAO Hotline
                                                                   FW 271 SAO
DOC_0820026   Keith Ingram   10/20/2022     Outlook Email                                                                                                            Privileged - Withhold      Investigative      Complaint regarding alleged paid ballot harvesting
                                                                  Hotline Complaint
                                                                                                                                                                                                                             of homeless in Tarrant County
                                                                                                                                                                                                                     Election complaint received from SAO Hotline
                                                                                                                                                 271 SAO Hotline
DOC_0820027   Keith Ingram   11/19/2022   Adobe Acrobat (PDF)                                                                                                        Privileged - Withhold      Investigative      Complaint regarding alleged paid ballot harvesting
                                                                                                                                                  Complaint pdf
                                                                                                                                                                                                                             of homeless in Tarrant County
                                                                   FW 372 Cesar                                                                                                                                      Election complaint received from SAO Hotline
DOC_0820074   Keith Ingram   11/28/2022     Outlook Email          Alvarado/SAO                                                                                      Privileged - Withhold      Investigative       Complaint regarding inaccurate ballot printing in
                                                                    Complaint                                                                                                                                                 El Paso to exclude candidate
                                                                                                                                                                                                                     Election complaint received from SAO Hotline
                                                                                                                                                372 Cesar Alvarado
DOC_0820075   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold        Investigative       Complaint regarding inaccurate ballot printing in
                                                                                                                                                   Complaint pdf
                                                                                                                                                                                                                              El Paso to exclude candidate
                                                                 Fw 364 Linda Lee                                                                                                                                    Election complaint submitted 11/8/22 regarding
                                                                   Complaint (re                                                                                                                                   potential voter registration fraud in 2022 General
DOC_0820133   Keith Ingram   11/21/2022     Outlook Email                                  Keith Ingram                                                              Privileged - Withhold      Investigative
                                                                    Alexandrina                                                                                                                                                         Election
                                                                    Gronewold)
                                                                                                                                                  364 Linda Lee
                                                                                                                                                                                                                    Election complaint submitted 11/8/22 regarding
                                                                                                                                                  Complaint (re
DOC_0820134   Keith Ingram   12/4/2022    Adobe Acrobat (PDF)                                                                                                        Privileged - Withhold      Investigative      potential voter registration fraud in 2022 General
                                                                                                                                                   Alexandrina
                                                                                                                                                                                                                                        Election
                                                                                                                                                  Gronewold) pdf
                                                                                                                                                                                                                    Election complaint submitted 11/8/22 regarding
                                                                  FW 348 Heather
DOC_0820325   Keith Ingram   11/17/2022     Outlook Email                                                                                                            Privileged - Withhold      Investigative          potential improper voter assistance in 2022
                                                                  Parks Complaint
                                                                                                                                                                                                                                    General Election
                                                                                                                                                                                                                    Election complaint submitted 11/8/22 regarding
                                                                                                                                                348 Heather Parks
DOC_0820326   Keith Ingram   12/19/2022   Adobe Acrobat (PDF)                                                                                                     Privileged - Withhold         Investigative          potential improper voter assistance in 2022
                                                                                                                                                  Complaint pdf
                                                                                                                                                                                                                                    General Election
                                                                                                                                                                                                                      Election complaint received 12/7/22 alleging
                                                                 Fw 452 Paul Feeser
DOC_0820572   Keith Ingram   12/13/2022     Outlook Email                                  Keith Ingram                                                              Privileged - Withhold      Investigative           potential improper poll judge behavior in
                                                                     Complaint
                                                                                                                                                                                                                                     Carrollton, TX
                                                                 FW 287 Linda Lee                                                                                                                                   Election complaint submitted 10/26/22 regarding
DOC_0820585   Keith Ingram   10/26/2022     Outlook Email          Complaint (re                                                                                     Privileged - Withhold      Investigative      potential fraudulent voter registration during 2022
                                                                  Natalia Maida)                                                                                                                                                        election
                                                                                                                                                 287 Linda Lee                                                      Election complaint submitted 10/26/22 regarding
DOC_0820586   Keith Ingram   11/27/2022   Adobe Acrobat (PDF)                                                                                    Complaint (re       Privileged - Withhold      Investigative      potential fraudulent voter registration during 2022
                                                                                                                                                Natalia Maida) pdf                                                                      election




                                                                                                                     15 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 16 of 30
                                                                         LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian        Date          Application             Subject             Author              To             CC             Filename            Treatment                Claim                         Privilege Statement

                                                                RE Rep K Bell - AG
                                                                                                                                                                                                          Discussion between SOS and Rep Keith Bell on
DOC_0820610   Keith Ingram   9/29/2022      Outlook Email        Special Prosecutor Georgeanne Palmer   Keith Ingram    Adam Bitter                       Privileged - Withhold       Legislative
                                                                                                                                                                                                                  special prosecutor legislation
                                                                    Legislation
                                                                                                                                                                                                        Election complaint submitted 10/26/22 regarding
                                                                  FW 299 Shipp
DOC_0820677   Keith Ingram   10/27/2022     Outlook Email                                                                                                 Privileged - Withhold      Investigative       potential improper electioneering by candidate
                                                                   Complaint
                                                                                                                                                                                                                  during 2022 General Election
                                                                                                                                                                                                        Election complaint submitted 10/26/22 regarding
                                                                                                                                       299 Thomas Shipp
DOC_0820678   Keith Ingram   11/27/2022   Adobe Acrobat (PDF)                                                                                             Privileged - Withhold      Investigative       potential improper electioneering by candidate
                                                                                                                                         Complaint pdf
                                                                                                                                                                                                                  during 2022 General Election
                                                                                                                                                                                                        Election complaint received from SAO Complaint
                                                                  FW 271 SAO
DOC_0820731   Keith Ingram   10/19/2022     Outlook Email                                                                                                 Privileged - Withhold      Investigative     Hotline alleging potential illegal vote harvesting in
                                                                 Hotline Complaint
                                                                                                                                                                                                                         Tarrant County
                                                                                                                                                                                                        Election complaint received from SAO Complaint
                                                                                                                                       271 SAO Hotline
DOC_0820732   Keith Ingram   11/19/2022   Adobe Acrobat (PDF)                                                                                             Privileged - Withhold      Investigative     Hotline alleging potential illegal vote harvesting in
                                                                                                                                        Complaint pdf
                                                                                                                                                                                                                         Tarrant County
                                                                                                                                                                                                            Email conversation among SOS attorneys
                                                                                                                                                                                       Attorney          regarding voter fraud investigation in Dimmit
DOC_0820947   Keith Ingram   5/31/2022      Outlook Email       RE Dimmit County                         Lena Proft                                       Privileged - Withhold
                                                                                                                                                                                  Client;Investigative                       County

                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                                                                                                                                                           multiple potential election code violations in
                                                                FW 159 Lawrence
DOC_0820953   Keith Ingram   11/10/2022     Outlook Email                                                                                                 Privileged - Withhold      Investigative          Conroe, TX during 2022 General Election
                                                                 Traw Complaint


                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                                                                                      159 Lawrence Traw
DOC_0820954   Keith Ingram   12/12/2022   Adobe Acrobat (PDF)                                                                                           Privileged - Withhold        Investigative         multiple potential election code violations in
                                                                                                                                         Complaint pdf
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
DOC_0820960   Keith Ingram   5/25/2022     Rich Text Format                                                                                 TXT rtf       Privileged - Withhold      Investigative         multiple potential election code violations in
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                           Portable Network
DOC_0820961   Keith Ingram   5/25/2022                                                                                                   unknown png      Privileged - Withhold      Investigative         multiple potential election code violations in
                                           Graphics Format
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
DOC_0820966   Keith Ingram   5/25/2022     Rich Text Format                                                                                 TXT rtf       Privileged - Withhold      Investigative         multiple potential election code violations in
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                           Portable Network
DOC_0820967   Keith Ingram   5/25/2022                                                                                                   unknown png      Privileged - Withhold      Investigative         multiple potential election code violations in
                                           Graphics Format
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
DOC_0820972   Keith Ingram   5/25/2022     Rich Text Format                                                                                 TXT rtf       Privileged - Withhold      Investigative         multiple potential election code violations in
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                           Portable Network
DOC_0820973   Keith Ingram   5/25/2022                                                                                                   unknown png      Privileged - Withhold      Investigative         multiple potential election code violations in
                                           Graphics Format
                                                                                                                                                                                                            Conroe, TX during 2022 General Election
                                                                   FW George                                                                                                                            Email communication between SOS attorneys and
                                                                 Chamberlain 2020                       Shamika Fehr;                                                                                     Elections Division employees regarding how to
DOC_0820978   Keith Ingram   8/10/2022      Outlook Email                             Keith Ingram                                                        Privileged - Withhold     Attorney Client
                                                                  General County                        Nathan Goggin                                                                                   respond to emails sent to various counties alleging
                                                                     Emails                                                                                                                                                 voter fraud
                                                                  FW 367 Diana                                                                                                                           Election complaint submitted 11/9/22 regarding
DOC_0820990   Keith Ingram   11/28/2022     Outlook Email        Reismann Sexton                                                                          Privileged - Withhold      Investigative      potential denial of voter registration to Fort Bend
                                                                    Complaint                                                                                                                                            County resident
                                                                                                                                      367 Diana Reismann                                                 Election complaint submitted 11/9/22 regarding
DOC_0820991   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                               Sexton       Privileged - Withhold       Investigative      potential denial of voter registration to Fort Bend
                                                                                                                                         Complaint pdf                                                                   County resident
                                                                                                                                                                                                         Election complaint submitted 10/21/22 regarding
                                                                 FW 278 Wayne
DOC_0821084   Keith Ingram   10/26/2022     Outlook Email                                                                                                 Privileged - Withhold      Investigative      potential vote harvesting in Travis County during
                                                                Hamilton Complaint
                                                                                                                                                                                                                      2022 General Election
                                                                                                                                          278 Wayne                                                      Election complaint submitted 10/21/22 regarding
DOC_0821085   Keith Ingram   11/27/2022   Adobe Acrobat (PDF)                                                                              Hamilton       Privileged - Withhold      Investigative      potential vote harvesting in Travis County during
                                                                                                                                         Complaint pdf                                                                2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/8/22 regarding
                                                                FW 352 Linda Lee
                                                                                                                                                                                                          potential voter registration fraud during 2022
DOC_0821089   Keith Ingram   11/17/2022     Outlook Email         Complaint (re                                                                           Privileged - Withhold      Investigative
                                                                                                                                                                                                                         General Election
                                                                 Michael Brown)
                                                                                                                                       352 Linda Lee                                                     Election complaint submitted 11/8/22 regarding
DOC_0821090   Keith Ingram   12/19/2022   Adobe Acrobat (PDF)                                                                           Complaint (re    Privileged - Withhold       Investigative        potential voter registration fraud during 2022
                                                                                                                                      Michael Brown) pdf                                                                 General Election
                                                                                                                                                                                                         Election complaint submitted 11/17/22 regarding
                                                                FW 419 John Clark
DOC_0821095   Keith Ingram   12/7/2022      Outlook Email                                                                                                 Privileged - Withhold      Investigative       potential unlawful obstruction of a poll watcher
                                                                   Complaint
                                                                                                                                                                                                                   during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/17/22 regarding
                                                                                                                                        419 John Clark
DOC_0821096   Keith Ingram    1/6/2023    Adobe Acrobat (PDF)                                                                                             Privileged - Withhold      Investigative       potential unlawful obstruction of a poll watcher
                                                                                                                                         Complaint pdf
                                                                                                                                                                                                                   during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                  FW 378 Laura
DOC_0821109   Keith Ingram   11/28/2022     Outlook Email                                                                                                 Privileged - Withhold      Investigative       potential unlawful obstruction of a poll watcher
                                                                Gutierrez Complaint
                                                                                                                                                                                                                   during 2022 General Election
                                                                                                                                                                                                         Election complaint submitted 11/10/22 regarding
                                                                                                                                      378 Laura Gutierrez
DOC_0821110   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                                             Privileged - Withhold      Investigative       potential unlawful obstruction of a poll watcher
                                                                                                                                         Complaint pdf
                                                                                                                                                                                                                   during 2022 General Election

                                                                                                             16 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 17 of 30
                                                                         LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian        Date          Application             Subject            Author               To                CC              Filename             Treatment              Claim                      Privilege Statement

                                                                                                                                                                                                         Election complaint submitted 11/21/22 regarding
                                                                 FW 420 Rodrigo                                                                                                                          potential curbside voting fraud in 2022 General
DOC_0821284   Keith Ingram   12/7/2022      Outlook Email                                                                                                      Privileged - Withhold    Investigative
                                                                Rodriguez Complaint                                                                                                                                          Election

                                                                                                                                             420 Rolando                                                 Election complaint submitted 11/21/22 regarding
DOC_0821285   Keith Ingram    1/6/2023    Adobe Acrobat (PDF)                                                                                 Rodriguez        Privileged - Withhold    Investigative     potential curbside voting fraud in 2022 General
                                                                                                                                             Complaint pdf                                                                    Election
                                                                                                                                                                                                         Common interest attorney-client communication
                                                                                                      Keith Ingram; Zac
DOC_0821306   Keith Ingram   9/14/2022      Outlook Email        Fwd In re Falgout    Adam Bitter                                                              Privileged - Withhold   Attorney Client     among Rep Cain, OAG, and SOS, regarding
                                                                                                           Rhines
                                                                                                                                                                                                                              Falgout
                                                                                                                                                                                                         Election complaint received from SAO Complaint
                                                                  FW 271 SAO
DOC_0821329   Keith Ingram   10/19/2022     Outlook Email                             Keith Ingram   Information Security                                      Privileged - Withhold    Investigative    Hotline regarding potential ballot harvesting in
                                                                 Hotline Complaint
                                                                                                                                                                                                             Tarrant County in 2022 General Election
                                                                                                                                                                                                         Election complaint received from SAO Complaint
                                                                                                                                           271 SAO Hotline
DOC_0821330   Keith Ingram   12/4/2022    Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold    Investigative    Hotline regarding potential ballot harvesting in
                                                                                                                                            Complaint pdf
                                                                                                                                                                                                             Tarrant County in 2022 General Election
                                                                                                                                                                                                          Election complaint submitted 11/8/22 regarding
                                                                FW 351 Linda Lee
                                                                                                                                                                                                          potential fraudulent voter registration in 2022
DOC_0821341   Keith Ingram   11/17/2022     Outlook Email         Complaint (re                                                                                Privileged - Withhold    Investigative
                                                                                                                                                                                                                         General Election
                                                                 Benjamin Biegel)
                                                                                                                                            351 Linda Lee                                                 Election complaint submitted 11/8/22 regarding
DOC_0821342   Keith Ingram   12/19/2022   Adobe Acrobat (PDF)                                                                               Complaint (re      Privileged - Withhold    Investigative      potential fraudulent voter registration in 2022
                                                                                                                                          Benjamin Biegel) pdf                                                            General Election
                                                                  FW 368 James                                                                                                                            Election complaint submitted 11/8/22 regarding
DOC_0821397   Keith Ingram   11/28/2022     Outlook Email          Dominguez                                                                                   Privileged - Withhold    Investigative        potential pre-filled ballots in 2022 General
                                                                    Complaint                                                                                                                                                  Election
                                                                                                                                              368 James                                                   Election complaint submitted 11/8/22 regarding
DOC_0821398   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                                 Dominguez        Privileged - Withhold    Investigative        potential pre-filled ballots in 2022 General
                                                                                                                                             Complaint pdf                                                                     Election
                                                                FW 353 Linda Lee                                                                                                                          Election complaint submitted 11/8/22 regarding
DOC_0821526   Keith Ingram   11/17/2022     Outlook Email        Complaint (re Ira                                                                             Privileged - Withhold    Investigative      potential fraudulent voter registration in 2022
                                                                      Call)                                                                                                                                               General Election
                                                                                                                                            353 Linda Lee                                                 Election complaint submitted 11/8/22 regarding
DOC_0821527   Keith Ingram   12/19/2022   Adobe Acrobat (PDF)                                                                              Complaint (re Ira   Privileged - Withhold    Investigative      potential fraudulent voter registration in 2022
                                                                                                                                               Call) pdf                                                                  General Election
                                                                  FW 365 Sonya                                                                                                                            Election complaint submitted 11/8/22 regarding
DOC_0821592   Keith Ingram   11/28/2022     Outlook Email          Hesseltine                                                                                  Privileged - Withhold    Investigative    potential incorrect voting machines in Helotes, TX
                                                                    Complaint                                                                                                                                         in 2022 General Election
                                                                                                                                              365 Sonya                                                   Election complaint submitted 11/8/22 regarding
DOC_0821593   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                                 Hesseltine       Privileged - Withhold    Investigative    potential incorrect voting machines in Helotes, TX
                                                                                                                                             Complaint pdf                                                            in 2022 General Election
                                                                                                                                                                                                          Election complaint submitted 11/29/22 regarding
                                                                  FW 441 Judith
DOC_0821902   Keith Ingram   12/12/2022     Outlook Email                                                                                                      Privileged - Withhold    Investigative     potential curbside voting fraud in 2022 General
                                                                 Canion Complaint
                                                                                                                                                                                                                               Election
                                                                                                                                                                                                          Election complaint submitted 11/29/22 regarding
                                                                                                                                          441 Judith Canion
DOC_0821903   Keith Ingram   1/14/2023    Adobe Acrobat (PDF)                                                                                               Privileged - Withhold       Investigative     potential curbside voting fraud in 2022 General
                                                                                                                                            Complaint pdf
                                                                                                                                                                                                                               Election
                                                                                                                                                                                                           Email communication between SOS Elections
                                                                Complaints pending
DOC_0822069   Keith Ingram   11/7/2022      Outlook Email                             Kate Fisher       Keith Ingram                                           Privileged - Withhold    Investigative      Division employee and Keith Ingram regarding
                                                                     review
                                                                                                                                                                                                            open investigations into elections complaint
                                                                                                                                                                                                          Election complaint submitted 3/25/22 regarding
                                                                156 David Jetelina                   Keith Ingram; Heidi                  156 David Jetelina
DOC_0822070   Keith Ingram   5/26/2022      Outlook Email                             Kate Fisher                           Kristi Hart                      Privileged - Withhold      Investigative    potential electioneering in 2022 Primary Election
                                                                    Complaint                             Martinez                          Complaint msg
                                                                                                                                          156 David Jetelina                                              Election complaint submitted 3/25/22 regarding
DOC_0822071   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold    Investigative
                                                                                                                                            Complaint pdf                                                potential electioneering in 2022 Primary Election
                                                                                                                                             157 Jennifer                                                 Election complaint submitted 3/25/22 regarding
                                                                   157 Jennifer                      Keith Ingram; Heidi
DOC_0822072   Keith Ingram   5/26/2022      Outlook Email                             Kate Fisher                           Kristi Hart        Abraham         Privileged - Withhold    Investigative       potential voter harassment in 2022 Primary
                                                                Abraham Complaint                         Martinez
                                                                                                                                            Complaint msg                                                                     Election
                                                                                                                                             157 Jennifer                                                 Election complaint submitted 3/25/22 regarding
DOC_0822073   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                  Abraham         Privileged - Withhold    Investigative       potential voter harassment in 2022 Primary
                                                                                                                                            Complaint pdf                                                                     Election
                                                                    158 Jason                                                                 158 Jason
                                                                                                     Keith Ingram; Heidi                                                                                  Election complaint submitted 3/25/22 regarding
DOC_0822074   Keith Ingram   5/26/2022      Outlook Email          Sollenberger       Kate Fisher                           Kristi Hart      Sollenberger      Privileged - Withhold    Investigative
                                                                                                          Martinez                                                                                       potential electioneering in 2022 Primary Election
                                                                    Complaint                                                               Complaint msg
                                                                                                                                              158 Jason
                                                                                                                                                                                                          Election complaint submitted 3/25/22 regarding
DOC_0822075   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                Sollenberger      Privileged - Withhold    Investigative
                                                                                                                                                                                                         potential electioneering in 2022 Primary Election
                                                                                                                                            Complaint pdf
                                                                                                                                                                                                          Election complaint submitted 5/26/22 regarding
                                                                159 Lawrence Traw                    Keith Ingram; Heidi                  159 Lawrence Traw
DOC_0822076   Keith Ingram    6/6/2022      Outlook Email                             Kate Fisher                           Kristi Hart                     Privileged - Withhold       Investigative     potential election procedure violations in 2022
                                                                    Complaint                             Martinez                          Complaint msg
                                                                                                                                                                                                                         Primary Election
                                                                                                                                                                                                          Election complaint submitted 5/26/22 regarding
                                                                                                                                          159 Lawrence Traw
DOC_0822077   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                               Privileged - Withhold       Investigative     potential election procedure violations in 2022
                                                                                                                                             Complaint pdf
                                                                                                                                                                                                                         Primary Election
                                                                                                                                                                                                          Election complaint submitted 5/26/22 regarding
DOC_0822082   Keith Ingram   5/25/2022     Rich Text Format                                                                                     TXT rtf        Privileged - Withhold    Investigative     potential election procedure violations in 2022
                                                                                                                                                                                                                         Primary Election
                                                                                                                                                                                                          Election complaint submitted 5/26/22 regarding
                                           Portable Network
DOC_0822083   Keith Ingram   5/25/2022                                                                                                       unknown png       Privileged - Withhold    Investigative     potential election procedure violations in 2022
                                           Graphics Format
                                                                                                                                                                                                                         Primary Election




                                                                                                              17 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 18 of 30
                                                                         LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian        Date          Application             Subject             Author                 To                   CC                Filename              Treatment               Claim                       Privilege Statement

                                                                                                                                                                                                                    Election complaint submitted 5/26/22 regarding
DOC_0822088   Keith Ingram   5/25/2022     Rich Text Format                                                                                              TXT rtf         Privileged - Withhold    Investigative      potential election procedure violations in 2022
                                                                                                                                                                                                                                    Primary Election
                                                                                                                                                                                                                    Election complaint submitted 5/26/22 regarding
                                           Portable Network
DOC_0822089   Keith Ingram   5/25/2022                                                                                                                unknown png        Privileged - Withhold    Investigative      potential election procedure violations in 2022
                                           Graphics Format
                                                                                                                                                                                                                                    Primary Election
                                                                                                                                                                                                                    Election complaint submitted 5/26/22 regarding
DOC_0822094   Keith Ingram   5/25/2022     Rich Text Format                                                                                              TXT rtf         Privileged - Withhold    Investigative      potential election procedure violations in 2022
                                                                                                                                                                                                                                    Primary Election
                                                                                                                                                                                                                    Election complaint submitted 5/26/22 regarding
                                           Portable Network
DOC_0822095   Keith Ingram   5/25/2022                                                                                                                unknown png        Privileged - Withhold    Investigative      potential election procedure violations in 2022
                                           Graphics Format
                                                                                                                                                                                                                                    Primary Election
                                                                                                                                                                                                                    Election complaint submitted 5/31/22 regarding
                                                                   169 Alejandro                                                                      169 Alejandro
                                                                                                        Keith Ingram; Heidi                                                                                        potential discrimination against Spanish speaking
DOC_0822096   Keith Ingram    6/6/2022      Outlook Email        Jimenez Martinez       Kate Fisher                              Kristi Hart        Jimenez Martinez     Privileged - Withhold    Investigative
                                                                                                             Martinez                                                                                                          voters in in 2022 Elections
                                                                     Complaint                                                                       Complaint msg
                                                                                                                                                           FW_
                                                                        FW
                                                                                                                                                    Deceiving_Unfair                                                Election complaint submitted 5/31/22 regarding
                                                                 Deceiving/Unfair
                                                                                                                                                    voter registration                                             potential discrimination against Spanish speaking
DOC_0822097   Keith Ingram   5/31/2022      Outlook Email        voter registration     Kate Fisher         Kristi Hart         Lillian Eder                             Privileged - Withhold    Investigative
                                                                                                                                                   process for spanish                                                         voters in in 2022 Elections
                                                                process for spanish
                                                                                                                                                      applicants in
                                                                applicants in Texas
                                                                                                                                                       Texas msg
                                                                                                                                                                                                                   Election complaint submitted 6/212/22 regarding
                                                                 178 Georgia Head                       Keith Ingram; Heidi                        178 Georgia Head
DOC_0822098   Keith Ingram   6/13/2022      Outlook Email                               Kate Fisher                              Kristi Hart                             Privileged - Withhold    Investigative    potential electioneering in 2022 Primary Election
                                                                    Complaint                                Martinez                               Complaint msg
                                                                                                                                                   178 Georgia Head                                                Election complaint submitted 6/212/22 regarding
DOC_0822099   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold    Investigative
                                                                                                                                                     Complaint pdf                                                 potential electioneering in 2022 Primary Election
                                                                                                                                                                                                                   Election complaint submitted 6/212/22 regarding
DOC_0822100   Keith Ingram   12/26/2022    HEIC Image File                                                                                           IMG_2373 heic       Privileged - Withhold    Investigative
                                                                                                                                                                                                                   potential electioneering in 2022 Primary Election
                                                                                                                                                                                                                    Election complaint submitted 11/4/22 regarding
                                                                333 Daniel Martin                                              Heidi Martinez;     333 Daniel Martin
DOC_0822101   Keith Ingram   11/4/2022      Outlook Email                               Kate Fisher        Keith Ingram                                                  Privileged - Withhold    Investigative       potential deceptive ballots in 2022 General
                                                                    Complaint                                                    Kristi Hart         Complaint msg
                                                                                                                                                                                                                                        Election
                                                                                                                                                                                                                    Election complaint submitted 11/4/22 regarding
                                                                                                                                                   333 Daniel Martin
DOC_0822102   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold    Investigative       potential deceptive ballots in 2022 General
                                                                                                                                                     Complaint pdf
                                                                                                                                                                                                                                        Election
                                                                                                                                                                                                                    Election complaint submitted 11/4/22 regarding
                                                                334 Sabine Holton                                             Kristi Hart; Heidi   334 Sabine Holton                                                 potential electioneering by a woman who self-
DOC_0822103   Keith Ingram   11/4/2022      Outlook Email                               Kate Fisher        Keith Ingram                                                  Privileged - Withhold    Investigative
                                                                    Complaint                                                     Martinez           Complaint msg                                                  identified as a Harris County employee in 2022
                                                                                                                                                                                                                                    General Election
                                                                                                                                                                                                                    Election complaint submitted 11/4/22 regarding
                                                                                                                                                   334 Sabine Holton                                                 potential electioneering by a woman who self-
DOC_0822104   Keith Ingram   12/26/2022   Adobe Acrobat (PDF)                                                                                                            Privileged - Withhold    Investigative
                                                                                                                                                     Complaint pdf                                                  identified as a Harris County employee in 2022
                                                                                                                                                                                                                                    General Election
                                                                                                                                                                                                                    Election complaint submitted 10/21/22 regarding
                                                                FW Complaint Vela
DOC_0822133   Keith Ingram   10/26/2022     Outlook Email                              Keith Ingram        Kate Fisher                                                   Privileged - Withhold    Investigative    potential vote harvesting in 2022 General Election
                                                                     1 of 5


                                                                                                                                                                                                                    Election complaint submitted 10/21/22 regarding
DOC_0822134   Keith Ingram   12/15/2022      MPEG-4 file                                                                                             IMG_3093 MP4        Privileged - Withhold    Investigative    potential vote harvesting in 2022 General Election


                                                                                                                                                                                                                    Election complaint submitted 10/21/22 regarding
                                                                                                                              Keith Ingram; Joe
DOC_0822135   Keith Ingram   10/21/2022     Outlook Email           Vela 3 of 5       Wayne Hamilton    Elections Internet                           Vela 3 of 5 msg     Privileged - Withhold    Investigative    potential vote harvesting in 2022 General Election
                                                                                                                                   Esparza


                                                                                                                                                                                                                    Election complaint submitted 10/21/22 regarding
DOC_0822136   Keith Ingram   12/15/2022      MPEG-4 file                                                                                             IMG_3096 MP4        Privileged - Withhold    Investigative    potential vote harvesting in 2022 General Election


                                                                                                                                                                                                                    Election complaint submitted 10/21/22 regarding
                                                                                                                                                   Vela complaintform-
DOC_0822137   Keith Ingram   12/15/2022   Adobe Acrobat (PDF)                                                                                                          Privileged - Withhold      Investigative    potential vote harvesting in 2022 General Election
                                                                                                                                                          sos pdf

                                                                                                                                                                                                                      Election complaint submitted 10/21/22, and
                                                                                                                                                                                                                    supplemented 11/3/22 regarding potential vote
DOC_0822383   Keith Ingram   11/3/2022      Outlook Email       FW SoS Supplement                                                                                        Privileged - Withhold    Investigative
                                                                                                                                                                                                                         harvesting in 2022 General Election

                                                                                                                                                                                                                      Election complaint submitted 10/21/22, and
                                                                                                                                                    8th day campaign
                                                                                                                                                                                                                    supplemented 11/3/22 regarding potential vote
DOC_0822384   Keith Ingram   12/4/2022    Adobe Acrobat (PDF)                                                                                      finance report Eloy Privileged - Withhold      Investigative
                                                                                                                                                                                                                         harvesting in 2022 General Election
                                                                                                                                                         Vera pdf
                                                                                                                                                                                                                     Email communication between SOS attorneys
DOC_0822448   Keith Ingram   8/26/2022      Outlook Email         Fw DRE Cases         Keith Ingram        Adam Bitter                                                   Privileged - Withhold   Attorney Client   regarding request for an opinion on the legality of
                                                                                                                                                                                                                                      using DREs
                                                                    FW List                                                                                                                                        Email communication between SOS attorneys and
DOC_0822491   Keith Ingram   12/12/2022     Outlook Email          Maintenance                                                                                           Privileged - Withhold   Attorney Client        Elections Division worker regarding list
                                                                    Overview                                                                                                                                                         maintenance
                                                                                                                                                    Overview of List
                                                                                                                                                      Maintenance                                                  List maintenance overview presentation with edits
DOC_0822492   Keith Ingram   1/14/2023    Microsoft Word 2016                         Betsy Schonhoff                                                                   Privileged - Withhold    Attorney Client
                                                                                                                                                   Activities (12 12 22                                                and comments from SOS General Counsel
                                                                                                                                                        revs) docx

                                                                                                                18 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 19 of 30
                                                                          LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian        Date          Application              Subject               Author                  To                 CC              Filename             Treatment                 Claim                           Privilege Statement

                                                                                                                                                                                                                        Election complaint submitted 10/27/22 regarding
                                                                 FW 314 Linda Lee
                                                                                                                                                                                                                         potential fraudulent voter registration in 2022
DOC_0822502   Keith Ingram   10/31/2022     Outlook Email          Complaint (re                                                                                        Privileged - Withhold      Investigative
                                                                                                                                                                                                                                        General Election
                                                                 Rebecca Callahan)
                                                                                                                                                     314 Linda Lee                                                      Election complaint submitted 10/27/22 regarding
                                                                                                                                                     Complaint (re                                                       potential fraudulent voter registration in 2022
DOC_0822503   Keith Ingram   12/1/2022    Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold      Investigative
                                                                                                                                                        Rebecca                                                                         General Election
                                                                                                                                                      Callahan) pdf
                                                                   FW 298 Leah                                                                                                                                         Election complaint submitted 10/26/22 regarding
DOC_0822588   Keith Ingram   10/26/2022     Outlook Email           Thibodeau                                                                                           Privileged - Withhold      Investigative       potential electioneering in 2022 General Election
                                                                    Complaint
                                                                                                                                                                                                                       Election complaint submitted 10/26/22 regarding
                                                                                                                                                   298 Leah Thibodeau
DOC_0822589   Keith Ingram   11/27/2022   Adobe Acrobat (PDF)                                                                                                         Privileged - Withhold        Investigative       potential electioneering in 2022 General Election
                                                                                                                                                      Complaint pdf

                                                                                                                                                                                                                        Election complaint submitted 10/21/22 regarding
                                                                 FW Complaint Vela
DOC_0822757   Keith Ingram   10/24/2022     Outlook Email                                Keith Ingram           Kate Fisher                                             Privileged - Withhold      Investigative       potential vote harvesting in 2022 General Election
                                                                      1 of 5


                                                                                                                                                   Vela complaintform-                                                  Election complaint submitted 10/21/22 regarding
DOC_0822758   Keith Ingram   12/12/2022   Adobe Acrobat (PDF)                                                                                                          Privileged - Withhold       Investigative
                                                                                                                                                          sos pdf                                                      potential vote harvesting in 2022 General Election
                                                                                                                                                                                                                         Election complaint submitted 11/8/22 regarding
                                                                  FW 369 James
DOC_0822782   Keith Ingram   11/28/2022     Outlook Email                                                                                                               Privileged - Withhold      Investigative          potential denial of right to vote by Williamson
                                                                 Savage Complaint
                                                                                                                                                                                                                                County in 2022 General Election
                                                                                                                                                                                                                         Election complaint submitted 11/8/22 regarding
                                                                                                                                                   369 James Savage
DOC_0822783   Keith Ingram   12/30/2022   Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold      Investigative          potential denial of right to vote by Williamson
                                                                                                                                                     Complaint pdf
                                                                                                                                                                                                                                County in 2022 General Election
                                                                  FW 438 Deliris
                                                                                                                                                                                                                       Election complaint submitted 11/26/22 regarding
DOC_0822854   Keith Ingram   12/12/2022     Outlook Email         Montanez Berrios                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                                                                                       potential electioneering in 2022 General Election
                                                                    Complaint
                                                                                                                                                      438 Deliris
                                                                                                                                                                                                                       Election complaint submitted 11/26/22 regarding
DOC_0822855   Keith Ingram   1/14/2023    Adobe Acrobat (PDF)                                                                                       Montanez Berrios    Privileged - Withhold      Investigative
                                                                                                                                                                                                                       potential electioneering in 2022 General Election
                                                                                                                                                     Complaint pdf
                                                                 FW Complaint Vela                                                                                                                                      Election complaint submitted 10/21/22 regarding
DOC_0822903   Keith Ingram   10/24/2022     Outlook Email                                                                                                               Privileged - Withhold      Investigative
                                                                      1 of 5                                                                                                                                           potential vote harvesting in 2022 General Election

                                                                                                                                                   Vela complaintform-                                                  Election complaint submitted 10/21/22 regarding
DOC_0822904   Keith Ingram   11/23/2022   Adobe Acrobat (PDF)                                                                                                          Privileged - Withhold       Investigative
                                                                                                                                                          sos pdf                                                      potential vote harvesting in 2022 General Election
                                                                                                                                                                                                                          Email between SOS attorney and Elections
                                                                 2022 Complaints for                                                                                                                 Attorney
DOC_0823823   Keith Ingram   3/23/2023      Outlook Email                                 Kate Fisher          Keith Ingram                                             Privileged - Withhold                          Division employee regarding complaints that were
                                                                   Referral to OAG                                                                                                              Client;Investigative
                                                                                                                                                                                                                               determined to be referred to OAG
                                                                                                                                                       278 Wayne
                                                                                          Information                                                                                                                    Referral letter to OAG regarding possible ballot
DOC_0823824   Keith Ingram   3/23/2023    Adobe Acrobat (PDF)                                                                                        Hamilton - OAG     Privileged - Withhold      Investigative
                                                                                          Technology                                                                                                                          harvesting in 2022 General Election
                                                                                                                                                       Referral pdf
                                                                                                                                                       278 Wayne                                                          Complaint referred letter to OAG regarding
DOC_0823825   Keith Ingram   3/23/2023    Adobe Acrobat (PDF)                                                                                           Hamilton        Privileged - Withhold      Investigative           possible ballot harvesting in 2022 General
                                                                                                                                                      Complaint pdf                                                                          Election
                                                                                                                                                                                                                          Complaint referred letter to OAG regarding
                                                                                                                                                   282 Laura Warnix
DOC_0823826   Keith Ingram   3/23/2023    Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold      Investigative        possible voter registration fraud in 2022 General
                                                                                                                                                     Complaint pdf
                                                                                                                                                                                                                                             Election
                                                                                                                                                                                                                        Election complaint submitted 11/28/22 regarding
                                                                     316 Revesz                             reveszteresa306@gm                        316 Revesz
DOC_0823827   Keith Ingram   10/31/2022     Outlook Email                              Elections Internet                                                               Privileged - Withhold      Investigative       potential vote harvesting in 2022 General Election
                                                                      Complaint                                    ail com                           Complaint msg

                                                                                                                                                   318 Monica Flores-
                                                                                                                                                                                                                        Election complaint submitted 11/28/22 regarding
DOC_0823828   Keith Ingram   3/23/2023    Adobe Acrobat (PDF)                                                                                            Rolater       Privileged - Withhold       Investigative
                                                                                                                                                                                                                       potential vote harvesting in 2022 General Election
                                                                                                                                                     Complaint pdf
                                                                                                                                                     380 Elizabeth
                                                                                                                                                                                                                        Election complaint regarding potential unlawful
DOC_0823829   Keith Ingram   3/23/2023    Adobe Acrobat (PDF)                             Kate Fisher                                                   Bordelon       Privileged - Withhold       Investigative
                                                                                                                                                                                                                              assistance in 2022 General Election
                                                                                                                                                     Complaint pdf
                                                                                                                                                    Keith- Complaints
                                          Microsoft Excel 2016
DOC_0823830   Keith Ingram   3/23/2023                                                    Kate Fisher                                              Referred to OAG for Privileged - Withhold       Investigative       List of election complaints still under investigation
                                               Workbook
                                                                                                                                                    Nov 2022 GE xlsx
                                                                                                                                                                                                                      Email communication between SOS attorneys
                                                                   SB 1 Deposition
                                                                                                                                                                                                 Attorney Client;     regarding SB1 litigation and also referencing
DOC_0823846   Keith Ingram   3/23/2023      Outlook Email           Preparation          Adam Bitter           Keith Ingram        Zeenia Challa                        Privileged - Withhold
                                                                                                                                                                                                  Work Product       previous attorney client conversation with the
                                                                     Materials
                                                                                                                                                                                                                                            OAG
                                                                 Fw Wichita County                                                                                                                                  Email communication between SOS attorneys and
                                                                                                            Sam Taylor; Adam
STATE177925   Keith Ingram    3/7/2023      Outlook Email        case number I-2022-     Keith Ingram                                                                    Privileged - Redact      Investigative       SOS executive regarding Wichita County case
                                                                                                                 Bitter
                                                                        1217                                                                                                                                                               report
                                                                                                                                                                                                                       List of election complaints sent to SOS with
                                          Microsoft Excel 2016                             Tamara                                                   2022 Complaints -                                              description of what the complaint said, when it was
DOC_0826258    Kristi Hart   2/23/2023                                                                                                                                  Privileged - Withhold     Investigative
                                               Workbook                                  Schoonmaker                                                 Need Status xlsx                                                 filed, by whom, and to who the complaint was
                                                                                                                                                                                                                                          issued
                                                                 RE SB 1 Lawsuit -                                                                                                                                     Email communication between SOS General
                                                                  Call with State's                         Keith Ingram; Kristi                                                              Attorney Client;Work Counsel, SOS attorney and Elections Division chief
DOC_0827525    Kristi Hart   2/22/2023      Outlook Email                                Adam Bitter                                                                    Privileged - Withhold
                                                                 Expert - Thursday                                  Hart                                                                            Product          Keith Ingram, and Elections Division employee
                                                                    Availability                                                                                                                                                  regarding SB1 litigation




                                                                                                                     19 of 30
                                           Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 20 of 30
                                                                         LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian       Date          Application              Subject               Author               To              CC                Filename             Treatment                Claim                         Privilege Statement

                                                                                                                                               Hoekstra Report
                                                                                                                                                                                          Attorney Client;Work      SB1 expert report with comments from OAG
DOC_0827527   Kristi Hart   2/22/2023    Microsoft Word 2016                           Mark Hoekstra                                             Draft (from      Privileged - Withhold
                                                                                                                                                                                                Product                              attorney
                                                                                                                                                 OAG) docx
                                                                  RE List of                                                                                                                                        Email communication between SOS general
                                                                Individuals who                                            GeneralCounsel;                                                                         counsel and SOS Elections Division employee
STATE177940   Kristi Hart   10/7/2022      Outlook Email                                Adam Bitter        Kate Fisher                                             Privileged - Redact      Attorney Client
                                                                 Complete Poll                                               Kristi Hart                                                                           regarding Bastrop, TX inquiry on poll watcher
                                                                Watcher Training                                                                                                                                                     training
                                                                FW alternate SB                                                                                                                                    Email communication between SOS attorneys
DOC_0828711   Kristi Hart   3/24/2023      Outlook Email                                Adam Bitter         Kristi Hart                                           Privileged - Withhold     Attorney Client
                                                                     1070                                                                                                                                             discussing proposed changes to SB 1070
                                                                                                                                              SB01070 alternate                                                  SOS attorney's mental impressions and analysis of
DOC_0828712   Kristi Hart   3/24/2023    Microsoft Word 2016                               salsap                                                                 Privileged - Withhold     Attorney Client
                                                                                                                                                language docx                                                                        SB 1070
                                                               FW Potential Double
                                                                voter in 2020 GE in
                                                                                                                                                                                                                  Election complaint submitted 2/16/23 regarding
DOC_0829198   Kristi Hart   2/16/2023      Outlook Email        Harris County, TX     Elections Internet   Kate Fisher       Kristi Hart                          Privileged - Withhold      Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                   and Santa Fe
                                                                    County, NM
                                                                                                                                                 Maples NM                                                        Election complaint submitted 2/16/23 regarding
DOC_0829199   Kristi Hart   2/16/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                 History pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                                                                                  Election complaint submitted 2/16/23 regarding
DOC_0829200   Kristi Hart   2/16/2023    Adobe Acrobat (PDF)                                                                                 Maples NM Info pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                                                                                               Maples SOS TX                                                      Election complaint submitted 2/16/23 regarding
DOC_0829201   Kristi Hart   2/16/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                               Complaint pdf                                                      potential double voter in 2020 General Election
                                                                                                                                              Maples TX County                                                    Election complaint submitted 2/16/23 regarding
DOC_0829202   Kristi Hart   2/16/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                  Info pdf                                                        potential double voter in 2020 General Election
                                                               FW Potential Double
                                                                voter in 2020 GE in
                                                                                                                                                                                                                  Election complaint submitted 2/16/23 regarding
DOC_0829225   Kristi Hart    3/3/2023      Outlook Email        Harris County, TX     Elections Internet   Kate Fisher       Kristi Hart                          Privileged - Withhold      Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                 and King County,
                                                                        WA
                                                                                                                                             Nordloh TX County                                                    Election complaint submitted 2/16/23 regarding
DOC_0829226   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                                   Privileged - Withhold         Investigative
                                                                                                                                                  Info pdf                                                        potential double voter in 2020 General Election
                                                                                                                                                                                                                  Election complaint submitted 2/16/23 regarding
DOC_0829227   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                 Nordloh TX Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                                                                                              Nordloh TX SOS                                                      Election complaint submitted 2/16/23 regarding
DOC_0829228   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                               Complaint pdf                                                      potential double voter in 2020 General Election
                                                                                                                                             Nordloh WA County                                                    Election complaint submitted 2/16/23 regarding
DOC_0829229   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                 History pdf                                                      potential double voter in 2020 General Election
                                                                                                                                             Nordloh WA County                                                    Election complaint submitted 2/16/23 regarding
DOC_0829230   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                  Info pdf                                                        potential double voter in 2020 General Election
                                                                                                                                                Nordloh WA                                                        Election complaint submitted 2/16/23 regarding
DOC_0829231   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                 History pdf                                                      potential double voter in 2020 General Election
                                                                                                                                                                                                                  Election complaint submitted 2/16/23 regarding
DOC_0829232   Kristi Hart    3/3/2023    Adobe Acrobat (PDF)                                                                                 Nordloh WA Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                               FW Potential Double
                                                                voter in 2020 GE in
                                                                                                                                                                                                                   Election complaint submitted 3/1/23 regarding
DOC_0829367   Lena Proft     3/2/2023      Outlook Email       Camden County, MO         LegalTeam                                                                Privileged - Withhold      Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                and Travis County,
                                                                         TX
                                                                                                                                             Thomas TX County                                                      Election complaint submitted 3/1/23 regarding
DOC_0829368   Lena Proft     3/2/2023    Adobe Acrobat (PDF)                                                                                                  Privileged - Withhold          Investigative
                                                                                                                                                 Info pdf                                                         potential double voter in 2020 General Election
                                                                                                                                                                                                                   Election complaint submitted 3/1/23 regarding
DOC_0829369   Lena Proft     3/2/2023    Adobe Acrobat (PDF)                                                                                 Thomas TX Info pdf Privileged - Withhold        Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                                                                                               Thomas TX SOS                                                       Election complaint submitted 3/1/23 regarding
DOC_0829370   Lena Proft     3/2/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                Complaint pdf                                                     potential double voter in 2020 General Election
                                                               FW Potential Double
                                                                voter in 2020 GE in
                                                                                                                                                                                                                   Election complaint submitted 3/1/23 regarding
DOC_0829377   Lena Proft     3/1/2023      Outlook Email       Lubbock County, TX        LegalTeam                                                                Privileged - Withhold      Investigative
                                                                                                                                                                                                                  potential double voter in 2020 General Election
                                                                and Custer County,
                                                                         OK
                                                                                                                                             Phillips OK Info and                                              Election complaint submitted 3/1/23 regarding
DOC_0829378   Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold      Investigative
                                                                                                                                                  History pdf                                                 potential double voter in 2020 General Election
                                                                                                                                               Phillips TX Co                                                  Election complaint submitted 3/1/23 regarding
DOC_0829379   Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold    Investigative
                                                                                                                                                    Info pdf                                                  potential double voter in 2020 General Election
                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0829380   Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                 Phillips TX Info pdf Privileged - Withhold    Investigative
                                                                                                                                                                                                              potential double voter in 2020 General Election
                                                                                                                                              Phillips TX SOS                                                  Election complaint submitted 3/1/23 regarding
DOC_0829381   Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold    Investigative
                                                                                                                                               Complaint pdf                                                  potential double voter in 2020 General Election
                                                                                                                                                                                                                  Email conversation among SOS attorneys
                                                                                                                                                                                             Attorney
DOC_0829382   Lena Proft    5/31/2022      Outlook Email       RE Dimmit County         Keith Ingram        Lena Proft       Kate Fisher                          Privileged - Withhold                        regarding voter fraud investigation in Dimmit
                                                                                                                                                                                        Client;Investigative
                                                                                                                                                                                                                                   County
                                                                                                                                                                                                             Election complaint received 12/20/22 alleging fraud
DOC_0829416   Lena Proft    12/21/2022     Outlook Email       FW Election Fraud      Elections Internet    LegalTeam                                             Privileged - Withhold    Investigative
                                                                                                                                                                                                                     and irregularities in 2022 elections
                                                                                                                                             KW SoS Form 12-20-                                              Election complaint received 12/20/22 alleging fraud
DOC_0829417   Lena Proft    2/15/2023    Adobe Acrobat (PDF)                                                                                                      Privileged - Withhold    Investigative
                                                                                                                                                    22 pdf                                                           and irregularities in 2022 elections
                                                                                                                                                                                                                  Email conversation among SOS attorneys
                                                                                                                                                                                             Attorney
DOC_0829441   Lena Proft    5/31/2022      Outlook Email       RE Dimmit County          Lena Proft        Keith Ingram                                           Privileged - Withhold                        regarding voter fraud investigation in Dimmit
                                                                                                                                                                                        Client;Investigative
                                                                                                                                                                                                                                   County
                                                                                                                                                                                                                  Email conversation among SOS attorneys
                                                                                                                                                                                             Attorney
DOC_0829486   Lena Proft    5/31/2022      Outlook Email       RE Dimmit County                            Keith Ingram                                           Privileged - Withhold                        regarding voter fraud investigation in Dimmit
                                                                                                                                                                                        Client;Investigative
                                                                                                                                                                                                                                   County


                                                                                                                20 of 30
                                          Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 21 of 30
                                                                        LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian      Date          Application              Subject            Author          To          CC          Filename             Treatment                 Claim                         Privilege Statement

                                                                                                                                                                                                  Email conversation among SOS attorneys
                                                                                                                                                                             Attorney
DOC_0829517   Lena Proft   5/31/2022      Outlook Email        Re Dimmit County      Keith Ingram   Lena Proft                                  Privileged - Withhold                           regarding voter fraud investigation in Dimmit
                                                                                                                                                                        Client;Investigative
                                                                                                                                                                                                                   County
                                                                 FW Another
                                                               Potential Double
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                              voter in 2016, 2018
                                                                                                                                                                                                potential double voter in 2016-2020 General
DOC_0829521   Lena Proft   2/22/2023      Outlook Email         and 2020 GEs in       LegalTeam                                                 Privileged - Withhold      Investigative
                                                                                                                                                                                                                 Elections
                                                              Johnson County, TX
                                                                 and San Juan
                                                                  County, CO
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                             Self Bobby CO                                                      potential double voter in 2016-2020 General
DOC_0829522   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative
                                                                                                                                Info pdf                                                                         Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                           Self Bobby SOS TX                                                    potential double voter in 2016-2020 General
DOC_0829523   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                  Privileged - Withhold         Investigative
                                                                                                                             Complaint pdf                                                                       Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                             Self Bobby TX                                                      potential double voter in 2016-2020 General
DOC_0829524   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative
                                                                                                                                Info pdf                                                                         Elections

                                                              FW Potential Double
                                                               voter in 2016, 2018                                                                                                             Election complaint submitted 2/28/23 regarding
                                                                and 2020 GEs in                                                                                                                  potential double voter in the 2020 General
DOC_0829525   Lena Proft    3/1/2023      Outlook Email                               LegalTeam                                                 Privileged - Withhold      Investigative
                                                               Miller County, AR                                                                                                                                  Election
                                                               and Bowie County,
                                                                        TX
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
DOC_0829526   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                Little AR Info pdf   Privileged - Withhold      Investigative          potential double voter in the 2020 General
                                                                                                                                                                                                                    Election
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
DOC_0829527   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                Little TX Info pdf   Privileged - Withhold      Investigative          potential double voter in the 2020 General
                                                                                                                                                                                                                    Election
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
                                                                                                                             Little TX SOS
DOC_0829528   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative          potential double voter in the 2020 General
                                                                                                                             Complaint pdf
                                                                                                                                                                                                                    Election
                                                                                                                                                                                               Election complaint submitted 12/20/20 regarding
DOC_0829551   Lena Proft   12/21/2022     Outlook Email       FW Election Fraud       LegalTeam                                                 Privileged - Withhold      Investigative       potential election fraud in 2022 election in Fort
                                                                                                                                                                                                                 Bend County
                                                                                                                                                                                               Election complaint submitted 12/20/20 regarding
                                                                                                                          KW SoS Form 12-20-
DOC_0829552   Lena Proft   1/21/2023    Adobe Acrobat (PDF)                                                                                  Privileged - Withhold         Investigative       potential election fraud in 2022 election in Fort
                                                                                                                               22 pdf
                                                                                                                                                                                                                 Bend County
                                                                                                                                                                                                Email communication between SOS attorneys
                                                              RE DRAFT email to
                                                                                                                                                                                                  regarding Ellis County inquiry on election
DOC_0829571   Lena Proft    3/3/2023      Outlook Email         Ellis County re                                                                 Privileged - Withhold     Attorney Client
                                                                                                                                                                                                                  procedures
                                                               Farmers Branch
                                                              FW Potential Double
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                               voter in 2018 and
                                                                                                                                                                                               potential double voter in 2018 and 2020 General
DOC_0829604   Lena Proft   2/22/2023      Outlook Email         2020 GEs in Bell                                                                Privileged - Withhold      Investigative
                                                                                                                                                                                                                  Elections
                                                               County, TX and El
                                                                Paso County CO
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                             Wilkinson CO
DOC_0829605   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative       potential double voter in 2018 and 2020 General
                                                                                                                               Info pdf
                                                                                                                                                                                                                  Elections
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                           Wilkinson SOS TX
DOC_0829606   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative       potential double voter in 2018 and 2020 General
                                                                                                                            Complaint pdf
                                                                                                                                                                                                                  Elections
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                             Wilkinson TX
DOC_0829607   Lena Proft   3/26/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative       potential double voter in 2018 and 2020 General
                                                                                                                               Info pdf
                                                                                                                                                                                                                  Elections
                                                              FW Potential Double
                                                               voter in 2020 GE in                                                                                                              Election complaint submitted 3/1/23 regarding
DOC_0829608   Lena Proft    3/1/2023      Outlook Email       Garfield County, CO     LegalTeam                                                 Privileged - Withhold      Investigative       potential double voter in 2020 General Election
                                                               and Harris County,
                                                                        TX
                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
DOC_0829609   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                Lewis CO Info pdf    Privileged - Withhold      Investigative
                                                                                                                                                                                               potential double voter in 2020 General Election
                                                                                                                             Lewis TX SOS                                                       Election complaint submitted 3/1/23 regarding
DOC_0829610   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative
                                                                                                                             Complaint pdf                                                     potential double voter in 2020 General Election
                                                              FW Potential Double
                                                               voter in 2020 GE in                                                                                                              Election complaint submitted 3/1/23 regarding
DOC_0829689   Lena Proft    3/1/2023      Outlook Email         Nodaway County,       LegalTeam                                                 Privileged - Withhold      Investigative       potential double voter in 2020 General Election
                                                                MO and Johnson
                                                                   County, TX
                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
DOC_0829690   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                Dobson TX Info pdf Privileged - Withhold        Investigative       potential double voter in 2020 General Election

                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
                                                                                                                            Dobson TX SOS
DOC_0829691   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative       potential double voter in 2020 General Election
                                                                                                                            Complaint pdf


                                                                                                        21 of 30
                                          Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 22 of 30
                                                                        LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian      Date          Application              Subject               Author              To         CC       Filename              Treatment               Claim                       Privilege Statement

                                                                                                                                                                                               Election complaint submitted 12/20/22 regarding
                                                                                                                                                                                                 potential fraud in Fort Bend County in 2022
DOC_0829799   Lena Proft   12/21/2022     Outlook Email       FW Election Fraud         LegalTeam         Kate Fisher                               Privileged - Withhold    Investigative
                                                                                                                                                                                                                   Election

                                                                                                                                                                                               Election complaint submitted 12/20/22 regarding
                                                                                                                              KW SoS Form 12-20-
DOC_0829800   Lena Proft   2/15/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold       Investigative       potential fraud in Fort Bend County in 2022
                                                                                                                                   22 pdf
                                                                                                                                                                                                                    Election
                                                                                                                                                                                                Email communication between SOS attorneys
                                                                Fw Election and                                                                                                               regarding voting information inquiry received from
STATE178013   Lena Proft   11/21/2022     Outlook Email                                 LegalTeam         Lena Proft                                 Privileged - Redact    Attorney Client
                                                               voting information                                                                                                                          citizen in Morris County

                                                              FW Potential Double
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                               voter in 2018 and
                                                                                                                                                                                               potential double voter in 2018 and 2020 General
DOC_0829835   Lena Proft   2/22/2023      Outlook Email         2020 GEs in Bell     Elections Internet   LegalTeam                                 Privileged - Withhold    Investigative
                                                                                                                                                                                                                  Elections
                                                               County, TX and El
                                                                Paso County CO
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                                 Wilkinson CO                                                  potential double voter in 2018 and 2020 General
DOC_0829836   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                   Info pdf                                                                       Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                               Wilkinson SOS TX                                                potential double voter in 2018 and 2020 General
DOC_0829837   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                Complaint pdf                                                                     Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                                 Wilkinson TX                                                  potential double voter in 2018 and 2020 General
DOC_0829838   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                   Info pdf                                                                       Elections

                                                              FW Potential Double
                                                               voter in 2016, 2018                                                                                                             Election complaint submitted 2/21/23 regarding
                                                                and 2020 GEs in                                                                                                                 potential double voter in 2016-2020 General
DOC_0829843   Lena Proft   2/22/2023      Outlook Email                              Elections Internet   LegalTeam                                 Privileged - Withhold    Investigative
                                                              Johnson County, TX                                                                                                                                 Elections
                                                                  and San Juan
                                                                   County CO
                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                                Self Glenda CO                                                  potential double voter in 2016-2020 General
DOC_0829844   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                    Info pdf                                                                     Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                              Self Glenda SOS TX                                                potential double voter in 2016-2020 General
DOC_0829845   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold       Investigative
                                                                                                                                 Complaint pdf                                                                   Elections

                                                                                                                                                                                               Election complaint submitted 2/21/23 regarding
                                                                                                                                Self Glenda TX                                                  potential double voter in 2016-2020 General
DOC_0829846   Lena Proft   2/22/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                    Info pdf                                                                     Elections

                                                              FW Potential Double
                                                               voter in 2020 GE in                                                                                                              Election complaint submitted 3/1/23 regarding
DOC_0829847   Lena Proft    3/1/2023      Outlook Email       Lubbock County, TX     Elections Internet   LegalTeam                                 Privileged - Withhold    Investigative     potential double voter in 2020 General Election
                                                               and Custer County,
                                                                        OK
                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
                                                                                                                              Phillips OK Info and
DOC_0829848   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                        Privileged - Withhold     Investigative     potential double voter in 2020 General Election
                                                                                                                                   History pdf
                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
                                                                                                                                Phillips TX Co
DOC_0829849   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative     potential double voter in 2020 General Election
                                                                                                                                   Info pdf
                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
DOC_0829850   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                   Phillips TX Info pdf Privileged - Withhold     Investigative     potential double voter in 2020 General Election

                                                                                                                                                                                                Election complaint submitted 3/1/23 regarding
                                                                                                                                Phillips TX SOS
DOC_0829851   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative     potential double voter in 2020 General Election
                                                                                                                                 Complaint pdf
                                                              FW Potential Double
                                                               voter in 2016, 2018
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
                                                                and 2020 GEs in
DOC_0829852   Lena Proft    3/1/2023      Outlook Email                              Elections Internet   LegalTeam                                 Privileged - Withhold    Investigative     potential double voter in 2020 General Election
                                                               Miller County, AR
                                                               and Bowie County,
                                                                        TX
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
DOC_0829853   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                    Little AR Info pdf   Privileged - Withhold    Investigative
                                                                                                                                                                                               potential double voter in 2020 General Election
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
DOC_0829854   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                    Little TX Info pdf   Privileged - Withhold    Investigative
                                                                                                                                                                                               potential double voter in 2020 General Election
                                                                                                                                 Little TX SOS                                                 Election complaint submitted 2/28/23 regarding
DOC_0829855   Lena Proft    3/1/2023    Adobe Acrobat (PDF)                                                                                         Privileged - Withhold    Investigative
                                                                                                                                 Complaint pdf                                                 potential double voter in 2020 General Election
                                                              FW Potential Double
                                                               voter in 2020 GE in
                                                                                                                                                                                               Election complaint submitted 2/28/23 regarding
DOC_0829856   Lena Proft    3/1/2023      Outlook Email         Miller County, AR    Elections Internet   LegalTeam                                 Privileged - Withhold    Investigative
                                                                                                                                                                                               potential double voter in 2020 General Election
                                                               and Bowie County,
                                                                        TX



                                                                                                              22 of 30
                                        Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 23 of 30
                                                                      LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian     Date         Application              Subject               Author             To         CC       Filename             Treatment              Claim                    Privilege Statement

                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0829857   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                   Dobbs AR Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0829858   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                   Dobbs TX Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                             Dobbs TX SOS                                               Election complaint submitted 2/28/23 regarding
DOC_0829859   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829860   Lena Proft   3/1/2023     Outlook Email         Nodaway County,      Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                              MO and Johnson
                                                                 County, TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829861   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Dobson TX Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                             Dobson TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829862   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829869   Lena Proft   3/1/2023     Outlook Email         Columbia County,     Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                               AR and Harris
                                                                 County, TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829870   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Dadgar AR Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                           Dadgar TX County                                              Election complaint submitted 3/1/23 regarding
DOC_0829871   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                               Info pdf                                                 potential double voter in 2020 General Election
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829872   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Dadgar TX Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                             Dadgar TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829873   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829877   Lena Proft   3/1/2023     Outlook Email       Garfield County, CO    Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                             and Harris County,
                                                                      TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829878   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                   Lewis CO Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                             Lewis TX SOS                                                Election complaint submitted 3/1/23 regarding
DOC_0829879   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829880   Lena Proft   3/1/2023     Outlook Email       Larimer County, CO     Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                             and Dallas County,
                                                                      TX
                                                                                                                           Plumley TX County                                             Election complaint submitted 3/1/23 regarding
DOC_0829881   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                    Privileged - Withhold      Investigative
                                                                                                                                Info pdf                                                potential double voter in 2020 General Election
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829882   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Plumley TX Info pdf Privileged - Withhold    Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                            Plumley TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829883   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829887   Lena Proft   3/1/2023     Outlook Email        McLennan County,      Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                              TX and Cleveland
                                                                 County, OK
                                                                                                                           Baskin OK Info and                                            Election complaint submitted 3/1/23 regarding
DOC_0829888   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold     Investigative
                                                                                                                              History pdf                                               potential double voter in 2020 General Election
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829889   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Baskin TX Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                             Baskin TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829890   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829892   Lena Proft   3/1/2023     Outlook Email         Mesa County, CO      Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                            and Tarrant County,
                                                                      TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829893   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Mitchell CO Info pdf Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                           Mitchell TX County                                            Election complaint submitted 3/1/23 regarding
DOC_0829894   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold     Investigative
                                                                                                                               History pdf                                              potential double voter in 2020 General Election
                                                                                                                           Mitchell TX County                                            Election complaint submitted 3/1/23 regarding
DOC_0829895   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold     Investigative
                                                                                                                                Info pdf                                                potential double voter in 2020 General Election
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829896   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                  Mitchell TX Info pdf Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                            Mitchell TX SOS                                              Election complaint submitted 3/1/23 regarding
DOC_0829897   Lena Proft   3/1/2023   Adobe Acrobat (PDF)                                                                                       Privileged - Withhold   Investigative
                                                                                                                             Complaint pdf                                              potential double voter in 2020 General Election
                                                            FW Potential Double
                                                             voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0829905   Lena Proft   3/1/2023     Outlook Email       Camden County, MO      Elections Internet   LegalTeam                               Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                             and Travis County,
                                                                      TX



                                                                                                           23 of 30
                                         Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 24 of 30
                                                                       LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian      Date         Application              Subject               Author             To          CC       Filename             Treatment              Claim                    Privilege Statement

                                                                                                                             Thomas TX County                                              Election complaint submitted 3/1/23 regarding
DOC_0829906   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                                    Privileged - Withhold       Investigative
                                                                                                                                 Info pdf                                                 potential double voter in 2020 General Election
                                                                                                                                                                                           Election complaint submitted 3/1/23 regarding
DOC_0829907   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                   Thomas TX Info pdf Privileged - Withhold     Investigative
                                                                                                                                                                                          potential double voter in 2020 General Election
                                                                                                                              Thomas TX SOS                                                Election complaint submitted 3/1/23 regarding
DOC_0829908   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative
                                                                                                                               Complaint pdf                                              potential double voter in 2020 General Election
                                                                FW Another
                                                              Potential Double
                                                             voter in 2016, 2018                                                                                                          Election complaint submitted 2/21/23 regarding
DOC_0829913   Lena Proft   2/22/2023     Outlook Email         and 2020 GEs in      Elections Internet   LegalTeam                                Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                             Johnson County, TX                                                                                                                             Elections
                                                                and San Juan
                                                                 County, CO
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Self Bobby CO
DOC_0829914   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                  Info pdf
                                                                                                                                                                                                            Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                             Self Bobby SOS TX
DOC_0829915   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative    potential double voter in 2016-2020 General
                                                                                                                               Complaint pdf
                                                                                                                                                                                                            Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Self Bobby TX
DOC_0829916   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                  Info pdf
                                                                                                                                                                                                            Elections
                                                                FW Another
                                                              Potential Double
                                                             voter in 2016, 2018                                                                                                          Election complaint submitted 2/21/23 regarding
DOC_0829919   Lena Proft   2/22/2023     Outlook Email         and 2020 GEs in         LegalTeam                                                  Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                             Johnson County, TX                                                                                                                             Elections
                                                                and San Juan
                                                                 County CO
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Self Bobby CO
DOC_0829920   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                  Info pdf
                                                                                                                                                                                                            Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                             Self Bobby SOS TX
DOC_0829921   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold      Investigative    potential double voter in 2016-2020 General
                                                                                                                               Complaint pdf
                                                                                                                                                                                                            Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Self Bobby TX
DOC_0829922   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                  Info pdf
                                                                                                                                                                                                            Elections
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                           Election complaint submitted 3/1/23 regarding
DOC_0829924   Lena Proft   3/1/2023      Outlook Email        Harris County, TX     Elections Internet   LegalTeam                                Privileged - Withhold   Investigative
                                                                                                                                                                                          potential double voter in 2020 General Election
                                                                and Cleveland
                                                                  County, OK
                                                                                                                             Jacobs TX County                                              Election complaint submitted 3/1/23 regarding
DOC_0829925   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative
                                                                                                                                  Info pdf                                                potential double voter in 2020 General Election
                                                                                                                                                                                           Election complaint submitted 3/1/23 regarding
DOC_0829926   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                   Jacobs TX Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                          potential double voter in 2020 General Election
                                                                                                                               Jacobs TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829927   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative
                                                                                                                               Complaint pdf                                              potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                           Election complaint submitted 3/1/23 regarding
DOC_0829928   Lena Proft   3/1/2023      Outlook Email        Boulder County, CO    Elections Internet   LegalTeam                                Privileged - Withhold   Investigative
                                                                                                                                                                                          potential double voter in 2020 General Election
                                                              and Travis County,
                                                                       TX
                                                                                                                               Rattan TX SOS                                               Election complaint submitted 3/1/23 regarding
DOC_0829929   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative
                                                                                                                               Complaint pdf                                              potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2018 and                                                                                                           Election complaint submitted 2/21/23 regarding
DOC_0829935   Lena Proft   2/22/2023     Outlook Email         2020 GEs in Bell        LegalTeam         Lena Proft                               Privileged - Withhold   Investigative   potential double voter in 2018 and 2020 General
                                                              County, TX and El                                                                                                                              Elections
                                                               Paso County, CO
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Wilkinson CO
DOC_0829936   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative   potential double voter in 2018 and 2020 General
                                                                                                                                 Info pdf
                                                                                                                                                                                                             Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                             Wilkinson SOS TX
DOC_0829937   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative   potential double voter in 2018 and 2020 General
                                                                                                                              Complaint pdf
                                                                                                                                                                                                             Elections
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Wilkinson TX
DOC_0829938   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative   potential double voter in 2018 and 2020 General
                                                                                                                                 Info pdf
                                                                                                                                                                                                             Elections
                                                                FW Another
                                                              Potential Double
                                                             voter in 2016, 2018                                                                                                          Election complaint submitted 2/21/23 regarding
DOC_0829947   Lena Proft   2/22/2023     Outlook Email         and 2020 GEs in         LegalTeam         Lena Proft                               Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                             Johnson County, TX                                                                                                                             Elections
                                                                and San Juan
                                                                 County, CO
                                                                                                                                                                                          Election complaint submitted 2/21/23 regarding
                                                                                                                               Self Bobby CO
DOC_0829948   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                        Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                  Info pdf
                                                                                                                                                                                                            Elections


                                                                                                             24 of 30
                                         Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 25 of 30
                                                                       LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian      Date         Application              Subject           Author          To         CC            Filename              Treatment              Claim                    Privilege Statement

                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                          Self Bobby SOS TX
DOC_0829949   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                  Privileged - Withhold       Investigative    potential double voter in 2016-2020 General
                                                                                                                            Complaint pdf
                                                                                                                                                                                                          Elections
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Bobby TX
DOC_0829950   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                               Info pdf
                                                                                                                                                                                                          Elections
                                                             FW Potential Double
                                                              voter in 2016, 2018
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                               and 2020 GEs in
DOC_0829957   Lena Proft   2/22/2023     Outlook Email                              LegalTeam    Lena Proft                                     Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                             Johnson County, TX
                                                                                                                                                                                                          Elections
                                                                 and San Juan
                                                                  County, CO
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Glenda CO
DOC_0829958   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                Info pdf
                                                                                                                                                                                                          Elections
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                         Self Glenda SOS TX
DOC_0829959   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                  Privileged - Withhold       Investigative    potential double voter in 2016-2020 General
                                                                                                                            Complaint pdf
                                                                                                                                                                                                          Elections
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Glenda TX
DOC_0829960   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                                Info pdf
                                                                                                                                                                                                          Elections
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0830028   Lena Proft   3/1/2023      Outlook Email         Nodaway County,      LegalTeam    Kate Fisher                                    Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                               MO and Johnson
                                                                  County TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0830029   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Dobson TX Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                           Dobson TX SOS                                                 Election complaint submitted 3/1/23 regarding
DOC_0830030   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative
                                                                                                                           Complaint pdf                                                potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0830032   Lena Proft   3/1/2023      Outlook Email       Garfield County, CO    LegalTeam    Kate Fisher                                    Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                              and Harris County,
                                                                       TX
                                                                                                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0830033   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Lewis CO Info pdf     Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                            Lewis TX SOS                                                 Election complaint submitted 3/1/23 regarding
DOC_0830034   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative
                                                                                                                            Complaint pdf                                               potential double voter in 2020 General Election
                                                                FW Another
                                                              Potential Double
                                                             voter in 2016, 2018                                                                                                        Election complaint submitted 2/21/23 regarding
DOC_0830036   Lena Proft   2/22/2023     Outlook Email         and 2020 GEs in      Lena Proft   Kate Fisher                                    Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                             Johnson County, TX                                                                                                                           Elections
                                                                and San Juan
                                                                 County, CO
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Bobby CO
DOC_0830037   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                               Info pdf
                                                                                                                                                                                                          Elections
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                          Self Bobby SOS TX
DOC_0830038   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                  Privileged - Withhold       Investigative    potential double voter in 2016-2020 General
                                                                                                                            Complaint pdf
                                                                                                                                                                                                          Elections
                                                                                                                                                                                        Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Bobby TX
DOC_0830039   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative    potential double voter in 2016-2020 General
                                                                                                                               Info pdf
                                                                                                                                                                                                          Elections
                                                             FW Potential Double
                                                              voter in 2016, 2018
                                                               and 2020 GEs in                                                                                                          Election complaint submitted 2/28/23 regarding
DOC_0830040   Lena Proft   3/1/2023      Outlook Email                              LegalTeam    Kate Fisher                                    Privileged - Withhold   Investigative
                                                              Miller County, AR                                                                                                         potential double voter in 2020 General Election
                                                              and Bowie County,
                                                                       TX
                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0830041   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                 Little AR Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0830042   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                 Little TX Info pdf   Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                            Little TX SOS                                               Election complaint submitted 2/28/23 regarding
DOC_0830043   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative
                                                                                                                            Complaint pdf                                               potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0830044   Lena Proft   3/2/2023      Outlook Email       Camden County, MO      LegalTeam    Kate Fisher                                    Privileged - Withhold   Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                              and Travis County,
                                                                       TX
                                                                                                                          Thomas TX County                                              Election complaint submitted 2/28/23 regarding
DOC_0830045   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                                 Privileged - Withhold        Investigative
                                                                                                                              Info pdf                                                  potential double voter in 2020 General Election
                                                                                                                                                                                        Election complaint submitted 2/28/23 regarding
DOC_0830046   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                Thomas TX Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                        potential double voter in 2020 General Election
                                                                                                                           Thomas TX SOS                                                Election complaint submitted 2/28/23 regarding
DOC_0830047   Lena Proft   3/2/2023    Adobe Acrobat (PDF)                                                                                      Privileged - Withhold   Investigative
                                                                                                                            Complaint pdf                                               potential double voter in 2020 General Election




                                                                                                     25 of 30
                                         Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 26 of 30
                                                                       LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number     Custodian      Date         Application              Subject           Author           To          CC          Filename             Treatment               Claim                     Privilege Statement

                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830050   Lena Proft   3/1/2023      Outlook Email        McLennan County,      LegalTeam     Kate Fisher                                  Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                               TX and Cleveland
                                                                  County, OK
                                                                                                                          Baskin OK Info and                                              Election complaint submitted 3/1/23 regarding
DOC_0830051   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                   Privileged - Withhold      Investigative
                                                                                                                             History pdf                                                 potential double voter in 2020 General Election
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830052   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Baskin TX Info pdf   Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                            Baskin TX SOS                                                 Election complaint submitted 3/1/23 regarding
DOC_0830053   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative
                                                                                                                            Complaint pdf                                                potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830054   Lena Proft   3/1/2023      Outlook Email         Columbia County,     LegalTeam     Kate Fisher                                  Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                AR and Harris
                                                                  County TX
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830055   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Dadgar AR Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                          Dadgar TX County                                                Election complaint submitted 3/1/23 regarding
DOC_0830056   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative
                                                                                                                              Info pdf                                                   potential double voter in 2020 General Election
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830057   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Dadgar TX Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                           Dadgar TX SOS                                                  Election complaint submitted 3/1/23 regarding
DOC_0830058   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative
                                                                                                                           Complaint pdf                                                 potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2016, 2018
                                                                                                                                                                                         Election complaint submitted 2/21/23 regarding
                                                               and 2020 GEs in
DOC_0830062   Lena Proft   2/22/2023     Outlook Email                              Lena Proft    Kate Fisher                                  Privileged - Withhold    Investigative     potential double voter in 2016-2020 General
                                                             Johnson County, TX
                                                                                                                                                                                                           Elections
                                                                 and San Juan
                                                                  County, CO
                                                                                                                                                                                         Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Glenda CO
DOC_0830063   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative     potential double voter in 2016-2020 General
                                                                                                                                Info pdf
                                                                                                                                                                                                           Elections
                                                                                                                                                                                         Election complaint submitted 2/21/23 regarding
                                                                                                                         Self Glenda SOS TX
DOC_0830064   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                  Privileged - Withhold       Investigative     potential double voter in 2016-2020 General
                                                                                                                            Complaint pdf
                                                                                                                                                                                                           Elections
                                                                                                                                                                                         Election complaint submitted 2/21/23 regarding
                                                                                                                            Self Glenda TX
DOC_0830065   Lena Proft   2/22/2023   Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative     potential double voter in 2016-2020 General
                                                                                                                                Info pdf
                                                                                                                                                                                                           Elections
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830069   Lena Proft   3/1/2023      Outlook Email       Lubbock County, TX     LegalTeam     Kate Fisher                                  Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                              and Custer County,
                                                                       OK
                                                                                                                         Phillips OK Info and                                             Election complaint submitted 3/1/23 regarding
DOC_0830070   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                    Privileged - Withhold     Investigative
                                                                                                                              History pdf                                                potential double voter in 2020 General Election
                                                                                                                           Phillips TX Co                                                 Election complaint submitted 3/1/23 regarding
DOC_0830071   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                    Privileged - Withhold     Investigative
                                                                                                                                Info pdf                                                 potential double voter in 2020 General Election
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830072   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Phillips TX Info pdf Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                           Phillips TX SOS                                                Election complaint submitted 3/1/23 regarding
DOC_0830073   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative
                                                                                                                            Complaint pdf                                                potential double voter in 2020 General Election
                                                             FW Potential Double
                                                              voter in 2020 GE in
                                                                                                                                                                                         Election complaint submitted 2/28/23 regarding
DOC_0830074   Lena Proft   3/1/2023      Outlook Email         Miller County, AR    LegalTeam     Kate Fisher                                  Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                              and Bowie County,
                                                                       TX
                                                                                                                                                                                         Election complaint submitted 2/28/23 regarding
DOC_0830075   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Dobbs AR Info pdf    Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                                                                                         Election complaint submitted 2/28/23 regarding
DOC_0830076   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                Dobbs TX Info pdf    Privileged - Withhold    Investigative
                                                                                                                                                                                         potential double voter in 2020 General Election
                                                                                                                            Dobbs TX SOS                                                 Election complaint submitted 2/28/23 regarding
DOC_0830077   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                     Privileged - Withhold    Investigative
                                                                                                                            Complaint pdf                                                potential double voter in 2020 General Election
                                                                 FW ERIC (EI                                                                                                              Email communication between SOS attorneys
STATE178015   Lena Proft   3/6/2023      Outlook Email                              Lena Proft   Charles Pinney                                 Privileged - Redact    Attorney Client
                                                                   Response)                                                                                                                    regarding citizen inquiry on ERIC
                                                             FW Potential Double
                                                              voter in 2020 GE in                                                                                                         Election complaint submitted 3/1/23 regarding
DOC_0830088   Lena Proft   3/1/2023      Outlook Email         Mesa County, CO      LegalTeam     Kate Fisher                                  Privileged - Withhold    Investigative    potential double voter in 2020 General Election
                                                             and Tarrant County,
                                                                       TX
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
DOC_0830089   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                               Mitchell CO Info pdf Privileged - Withhold     Investigative    potential double voter in 2020 General Election

                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
                                                                                                                          Mitchell TX County
DOC_0830090   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                   Privileged - Withhold      Investigative    potential double voter in 2020 General Election
                                                                                                                              History pdf
                                                                                                                                                                                          Election complaint submitted 3/1/23 regarding
                                                                                                                          Mitchell TX County
DOC_0830091   Lena Proft   3/1/2023    Adobe Acrobat (PDF)                                                                                   Privileged - Withhold      Investigative    potential double voter in 2020 General Election
                                                                                                                               Info pdf




                                                                                                       26 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 27 of 30
                                                                          LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian       Date          Application              Subject               Author                  To                    CC                 Filename             Treatment                 Claim                         Privilege Statement

                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0830092    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                            Mitchell TX Info pdf Privileged - Withhold      Investigative        potential double voter in 2020 General Election

                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
                                                                                                                                                          Mitchell TX SOS
DOC_0830093    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                                                                                                           Complaint pdf
                                                                FW Potential Double
                                                                 voter in 2020 GE in                                                                                                                                           Election complaint submitted 3/1/23 regarding
DOC_0830096    Lena Proft     3/1/2023      Outlook Email        Boulder County, CO       LegalTeam            Kate Fisher                                                    Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                 and Travis County,
                                                                          TX
                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
                                                                                                                                                           Rattan TX SOS
DOC_0830097    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative        potential double voter in 2020 General Election
                                                                                                                                                           Complaint pdf
                                                                FW Potential Double
                                                                                                                                                                                                                              Election complaint submitted 2/21/23 regarding
                                                                 voter in 2018 and
                                                                                                                                                                                                                              potential double voter in 2018 and 2020 General
DOC_0830098    Lena Proft    2/22/2023      Outlook Email         2020 GEs in Bell        Lena Proft           Kate Fisher                                                    Privileged - Withhold      Investigative
                                                                                                                                                                                                                                                 Elections
                                                                 County, TX and El
                                                                  Paso County, CO
                                                                                                                                                                                                                              Election complaint submitted 2/21/23 regarding
                                                                                                                                                            Wilkinson CO
DOC_0830099    Lena Proft    2/22/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative        potential double voter in 2018 and 2020 General
                                                                                                                                                              Info pdf
                                                                                                                                                                                                                                                 Elections
                                                                                                                                                                                                                              Election complaint submitted 2/21/23 regarding
                                                                                                                                                         Wilkinson SOS TX
DOC_0830100    Lena Proft    2/22/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative        potential double voter in 2018 and 2020 General
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                                                 Elections
                                                                                                                                                                                                                              Election complaint submitted 2/21/23 regarding
                                                                                                                                                            Wilkinson TX
DOC_0830101    Lena Proft    2/22/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative        potential double voter in 2018 and 2020 General
                                                                                                                                                              Info pdf
                                                                                                                                                                                                                                                 Elections
                                                                FW Potential Double
                                                                 voter in 2020 GE in
                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0830103    Lena Proft     3/1/2023      Outlook Email       Larimer County, CO        LegalTeam            Kate Fisher                                                    Privileged - Withhold      Investigative
                                                                                                                                                                                                                              potential double voter in 2020 General Election
                                                                 and Dallas County,
                                                                          TX
                                                                                                                                                         Plumley TX County                                                     Election complaint submitted 3/1/23 regarding
DOC_0830104    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold         Investigative
                                                                                                                                                              Info pdf                                                        potential double voter in 2020 General Election
                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0830105    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                            Plumley TX Info pdf Privileged - Withhold       Investigative
                                                                                                                                                                                                                              potential double voter in 2020 General Election
                                                                                                                                                          Plumley TX SOS                                                       Election complaint submitted 3/1/23 regarding
DOC_0830106    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative
                                                                                                                                                           Complaint pdf                                                      potential double voter in 2020 General Election
                                                                FW Potential Double
                                                                 voter in 2020 GE in
                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0830107    Lena Proft     3/1/2023      Outlook Email        Harris County, TX        LegalTeam            Kate Fisher                                                    Privileged - Withhold      Investigative
                                                                                                                                                                                                                              potential double voter in 2020 General Election
                                                                   and Cleveland
                                                                     County, OK
                                                                                                                                                          Jacobs TX County                                                     Election complaint submitted 3/1/23 regarding
DOC_0830108    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative
                                                                                                                                                               Info pdf                                                       potential double voter in 2020 General Election
                                                                                                                                                                                                                               Election complaint submitted 3/1/23 regarding
DOC_0830109    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                            Jacobs TX Info pdf   Privileged - Withhold      Investigative
                                                                                                                                                                                                                              potential double voter in 2020 General Election
                                                                                                                                                           Jacobs TX SOS                                                       Election complaint submitted 3/1/23 regarding
DOC_0830110    Lena Proft     3/1/2023    Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative
                                                                                                                                                           Complaint pdf                                                      potential double voter in 2020 General Election
                                                                 FW 114 Bernett
                                                                    Hernandez                                                                                                                              Attorney          Attorney conversation regarding complaint about
DOC_0830228   Melanie Best    8/9/2022      Outlook Email                                 Kate Fisher          Melanie Best                                                   Privileged - Withhold
                                                                   Complaint -                                                                                                                        Client;Investigative     people registering voters in Lamesa County
                                                                 Assignment (MB)
                                                                                                                                                            114 Bernett
                                                                                                                                                                                                                              Election complaint received regarding potential
DOC_0830229   Melanie Best   12/18/2022   Adobe Acrobat (PDF)                                                                                                Hernandez        Privileged - Withhold      Investigative
                                                                                                                                                                                                                             voter registration canvassing fraud in Lamesa, TX
                                                                                                                                                           Complaint pdf
                                                                                                            Kate Fisher; Kristi                                                                                               Election complaint received regarding potential
DOC_0830230   Melanie Best    5/4/2022      Outlook Email         FW Complaint         Elections Internet                          Christina Adkins      FW_ Complaint msg Privileged - Withhold         Investigative
                                                                                                                  Hart                                                                                                       voter registration canvassing fraud in Lamesa, TX

                                                                                                                                                         Lara-Complaint to                                                    Election complaint received regarding potential
DOC_0830231   Melanie Best   12/18/2022   Adobe Acrobat (PDF)                                                                                                                 Privileged - Withhold      Investigative
                                                                                                                                                              SOS pdf                                                        voter registration canvassing fraud in Lamesa, TX
                                                                                                                                                                                                                                Email communication between SOS attorneys
DOC_0830370   Melanie Best   8/26/2022      Outlook Email          retention 2020        Melanie Best           Elec Legal            Adam Bitter                             Privileged - Withhold     Attorney Client       regarding retention of 2020 records in Freestone
                                                                                                                                                                                                                                                   County
                                                                                                                                                                                                                             Email communication between SOS attorneys and
                                                                                                            Keith Ingram; Heidi   Kristi Hart; Charles                                                     Attorney             Elections Division regarding complaint about
DOC_0833773   Chuck Pinney    6/6/2022      Outlook Email       FW Election Fraud         Kate Fisher                                                                         Privileged - Withhold
                                                                                                                 Martinez                Pinney                                                       Client;Investigative   alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                                 Lamesa, TX
                                                                                                                                                                                                                             Email communication between SOS attorneys and
                                                                                                                                   Kate Fisher; Kristi                                                     Attorney             Elections Division regarding complaint about
DOC_0833776   Chuck Pinney    6/6/2022      Outlook Email       FW Election Fraud       Heidi Martinez         Keith Ingram                                                   Privileged - Withhold
                                                                                                                                  Hart; Charles Pinney                                                Client;Investigative   alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                                 Lamesa, TX
                                                                                                                                                            98 Bernett
                                                                                                                                                                                                                              Election complaint alleging candidate in Lamesa
DOC_0833777   Chuck Pinney    6/6/2022    Adobe Acrobat (PDF)                                                                                               Hernandez         Privileged - Withhold      Investigative
                                                                                                                                                                                                                                    violated Election Code Sec 276 016
                                                                                                                                                           Complaint pdf




                                                                                                                    27 of 30
                                           Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 28 of 30
                                                                         LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian       Date         Application             Subject               Author                  To                    CC                  Filename             Treatment                Claim                         Privilege Statement

                                                                                                                                                                                                                           Email communication between SOS attorneys and
                                                                                                                                 Kate Fisher; Kristi                                                     Attorney             Elections Division regarding complaint about
DOC_0833779   Chuck Pinney   6/6/2022      Outlook Email       RE Election Fraud       Heidi Martinez       Keith Ingram                                                    Privileged - Withhold
                                                                                                                                Hart; Charles Pinney                                                Client;Investigative   alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                               Lamesa, TX
                                                                                                          Kate Fisher; Kristi                                                                                              Email communication between SOS attorneys and
                                                                                                            Hart; Charles                                                                                Attorney             Elections Division regarding complaint about
DOC_0833780   Chuck Pinney   6/6/2022      Outlook Email       FW Election Fraud        Keith Ingram                                                                        Privileged - Withhold
                                                                                                            Pinney; Heidi                                                                           Client;Investigative   alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                              Martinez                                                                                                                         Lamesa, TX
                                                                                                                                                           98 Bernett
                                                                                                                                                                                                                           Election complaint about alleged violation of Tex
DOC_0833781   Chuck Pinney   6/6/2022    Adobe Acrobat (PDF)                                                                                               Hernandez        Privileged - Withhold      Investigative
                                                                                                                                                                                                                                Elec Code Sec 276 016 in Lamesa, TX
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                                                                                 Kate Fisher; Kristi                                                     Attorney    Elections Division regarding complaint about
DOC_0833783   Chuck Pinney   6/6/2022      Outlook Email       RE Election Fraud        Keith Ingram       Heidi Martinez                                                   Privileged - Withhold
                                                                                                                                Hart; Charles Pinney                                                Client;Investigative
                                                                                                                                                                                                                  alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                       Lamesa, TX
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                                                                               Kate Fisher; Kristi                                                Attorney           Elections Division regarding complaint about
DOC_0833784   Chuck Pinney   6/6/2022      Outlook Email        Re Election Fraud       Keith Ingram       Heidi Martinez                                              Privileged - Withhold
                                                                                                                              Hart; Charles Pinney                                           Client;Investigative alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                       Lamesa, TX
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                               Re 133 Billy Wright
                                                                                                          Kate Fisher; Keith                                                                      Attorney        Election Division staff on election complaint about
DOC_0833916   Chuck Pinney   6/8/2022      Outlook Email           Complaint -         Charles Pinney                                                                  Privileged - Withhold
                                                                                                                Ingram                                                                       Client;Investigative potential violation of Tex Elec Code Sec 61 008 in
                                                                 Assignment (CP)
                                                                                                                                                                                                                                       Elkhart, TX
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                               140 James Sheridan                                                                  140 James Sheridan
                                                                                                                                                                                                  Attorney        Election Division staff on election complaint about
DOC_0833917   Chuck Pinney   5/24/2022     Outlook Email           Complaint -           Kate Fisher       Charles Pinney       Heidi Martinez          Complaint -    Privileged - Withhold
                                                                                                                                                                                             Client;Investigative potential violation of Tex Elec Code Sec 61 008 in
                                                                 Assignment (CP)                                                                   Assignment (CP) msg
                                                                                                                                                                                                                                       Elkhart, TX
                                                                                                                                                                                                                  Election complaint about alleged violations of Tex
                                                                                                                                                   140 James Sheridan
DOC_0833918   Chuck Pinney   7/25/2022   Adobe Acrobat (PDF)                                                                                                           Privileged - Withhold    Investigative     Elec Code Sec 31 051, 61 003, 61 007, and 61 008
                                                                                                                                                      Complaint pdf
                                                                                                                                                                                                                            during May 2022 Local Election
                                                               FW Elkhart Texas                                                                     FW_ Elkhart Texas
                                                               Election Complaint                                                                   Election Complaint                                               Election complaint supplementation received
DOC_0833919   Chuck Pinney   5/18/2022     Outlook Email                                 LegalTeam           Kate Fisher                                               Privileged - Withhold    Investigative
                                                                   Additional                                                                            Additional                                               5/18/22, alleging violation of 61 007 in Elkhart, TX
                                                                  Information                                                                        Information msg
                                                                                                                                                      Re_ 140 James                                                   Election complaint received 5/16/22, alleging
                                                                 Re 140 James                             Kate Fisher; Kristi
DOC_0833920   Chuck Pinney   5/19/2022     Outlook Email                                Keith Ingram                                               Sheridan Complaint Privileged - Withhold     Investigative        violation of 61 007 in Elkhart, TX Referred to
                                                               Sheridan Complaint                        Hart; Heidi Martinez
                                                                                                                                                            msg                                                                            OAG
                                                                                                                                                                                                                   Draft referral letter to Criminal Investigations at
                                                                                                                                                     Billy Wright - AG                                            Office of Attorney General about election complaint
DOC_0833921   Chuck Pinney   7/25/2022   Microsoft Word 2016                            Louri O'Leary                                                                  Privileged - Withhold    Investigative
                                                                                                                                                       Referral docx                                              alleging violation of Tex Elec Code Sec 61 007 in
                                                                                                                                                                                                                                       Elkhart, TX
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                                                                               Kate Fisher; Kristi                                                Attorney           Elections Division regarding complaint about
DOC_0833954   Chuck Pinney   6/6/2022      Outlook Email       RE Election Fraud       Heidi Martinez       Keith Ingram                                               Privileged - Withhold
                                                                                                                              Hart; Charles Pinney                                           Client;Investigative alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                                                                                                       Lamesa, TX
                                                                                                                                                                                                                  Email communication between SOS attorneys and
                                                                                                          Kate Fisher; Keith
                                                                                                                                                                                                  Attorney           Elections Division regarding complaint about
DOC_0833967   Chuck Pinney   6/6/2022      Outlook Email        Re Election Fraud      Charles Pinney       Ingram; Heidi          Kristi Hart                         Privileged - Withhold
                                                                                                                                                                                             Client;Investigative alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                               Martinez
                                                                                                                                                                                                                                       Lamesa, TX
                                                                  98 Bernett                                                                                98 Bernett                                                     Email communication between SOS attorneys and
                                                                  Hernandez                                                                                 Hernandez                                 Attorney                Elections Division regarding complaint about
DOC_0833968   Chuck Pinney   5/5/2022      Outlook Email                                 Kate Fisher       Charles Pinney         Heidi Martinez                           Privileged - Withhold
                                                                  Complaint -                                                                               Complaint -                          Client;Investigative      alleged violation of Tex Elec Code Sec 276 016 in
                                                                Assignment (CP)                                                                        Assignment (CP) msg                                                                     Lamesa, TX
                                                                                                                                                                                                                           Election complaint about alleged violation of Tex
                                                                                                                                                        Bernett Hernandez
DOC_0833969   Chuck Pinney   7/22/2022   Adobe Acrobat (PDF)                                                                                                              Privileged - Withhold        Investigative         Elec Code Sec 276 016 during May 2022 Local
                                                                                                                                                          Complaint pdf
                                                                                                                                                                                                                                         Election in Lamesa, TX
                                                                                                                                                                                                                           Email communication between SOS attorneys and
                                                                                                                                                        FW_ Supplemental
                                                               FW Supplemental                                                                                                                      Attorney               Elections Division staff regarding complaint about
DOC_0833970   Chuck Pinney   4/27/2022     Outlook Email                                 LegalTeam           Kate Fisher                                   Report R      Privileged - Withhold
                                                               Report R Gonzales                                                                                                               Client;Investigative        alleged violation of Tex Elec Code Sec 276 016 in
                                                                                                                                                          Gonzales msg
                                                                                                                                                                                                                                               Lamesa, TX
                                                                                                                                                        Rebecca Gonzales                                                   Election complaint about alleged violation of Tex
DOC_0833971   Chuck Pinney   7/22/2022   Adobe Acrobat (PDF)                                                                                              Supplemental      Privileged - Withhold      Investigative         Elec Code Sec 276 016 during May 2022 Local
                                                                                                                                                        Documentation pdf                                                                Election in Lamesa, TX
                                                                                                                                                        Rebecca Gonzales                                                   Election complaint about alleged violation of Tex
DOC_0833972   Chuck Pinney   7/22/2022   Adobe Acrobat (PDF)                                                                                              Supplemental      Privileged - Withhold      Investigative         Elec Code Sec 276 016 during May 2022 Local
                                                                                                                                                        Documentation pdf                                                                Election in Lamesa, TX
                                                                                                                                                                                                                            Email between SOS staff deliberating on how to
                                                                    RE voter                              Kate Fisher; Elec
STATE178017   Chuck Pinney   2/2/2023      Outlook Email                              Andre Montgomery                              Kristi Hart                              Privileged - Redact      Attorney Client      process complaint about alleged voter registration
                                                                registration fraud                             Legal
                                                                                                                                                                                                                                                  fraud
                                                               Fw Potential 2020
                                                                Primary Election
                                                                ineligible voter in                                                                                                                                         Election complaint submitted 2/13/23 regarding
DOC_0834076   Chuck Pinney   2/14/2023     Outlook Email                               Charles Pinney        Kate Fisher                                                    Privileged - Withhold      Investigative
                                                               Fulton County, GA                                                                                                                                            potential double voter in 2022 Primary Election
                                                               via Wayne County,
                                                                        MI
                                                                                                                                                           Krentzel GA                                                      Election complaint submitted 2/13/23 regarding
DOC_0834077   Chuck Pinney   2/14/2023   Adobe Acrobat (PDF)                                                                                                                Privileged - Withhold      Investigative
                                                                                                                                                           History pdf                                                      potential double voter in 2022 Primary Election
                                                                                                                                                                                                                            Election complaint submitted 2/13/23 regarding
DOC_0834078   Chuck Pinney   2/14/2023   Adobe Acrobat (PDF)                                                                                           Krentzel GA Info pdf Privileged - Withhold      Investigative
                                                                                                                                                                                                                            potential double voter in 2022 Primary Election



                                                                                                                  28 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 29 of 30
                                                                           LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian       Date          Application               Subject                Author                  To                    CC                 Filename             Treatment                Claim                       Privilege Statement

                                                                                                                                                              Krentzel MI                                                    Election complaint submitted 2/13/23 regarding
DOC_0834079   Chuck Pinney   2/14/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold     Investigative
                                                                                                                                                              History pdf                                                    potential double voter in 2022 Primary Election
                                                                                                                                                             KRENTZEL MI                                                     Election complaint submitted 2/13/23 regarding
DOC_0834080   Chuck Pinney   2/14/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold     Investigative
                                                                                                                                                                Info pdf                                                     potential double voter in 2022 Primary Election
                                                                                                                                                              Krentzel TX                                                    Election complaint submitted 2/13/23 regarding
DOC_0834081   Chuck Pinney   2/14/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold     Investigative
                                                                                                                                                              History pdf                                                    potential double voter in 2022 Primary Election
                                                                                                                                                             KRENTZEL TX                                                     Election complaint submitted 2/13/23 regarding
DOC_0834082   Chuck Pinney   2/14/2023    Adobe Acrobat (PDF)                                                                                                                  Privileged - Withhold     Investigative
                                                                                                                                                                Info pdf                                                     potential double voter in 2022 Primary Election
                                                                                                             Andre Montgomery;
                                                                    Re [External                               Heidi Martinez;                                                                              Attorney       Email between SOS attorneys deliberating on how
STATE178020   Chuck Pinney   11/21/2022      Outlook Email       Sender]Signatures of     Charles Pinney      Christina Adkins;                                                 Privileged - Redact    Client;Deliberative to respond to question from Dallas County Election
                                                                 Appointing Authority                         Lena Proft; Keith                                                                              Process       Department about poll watcher appointment forms
                                                                                                                   Ingram
                                                                                                                                                                                                                              Email communication between SOS attorneys
                                                                 FW Request for SOS
                                                                                                              Christina Adkins;                                                                                             regarding how to respond to question from Dallas
STATE178024   Chuck Pinney    2/7/2023       Outlook Email             written             Keith Ingram                              Elections-Attorneys                        Privileged - Redact     Attorney Client
                                                                                                                Adam Bitter                                                                                                   County about delivering balloting materials to
                                                                   interpretation
                                                                                                                                                                                                                                                  voters
                                                                 RE Generic Chain of                                                                                                                      Attorney          Email communication between SOS attorney and
                                                                                                              Christina Adkins;
DOC_0834137   Chuck Pinney   2/27/2023       Outlook Email        Custody Provision -    Alexa Buxkemper                                                                       Privileged - Withhold Client;Deliberative       Elections Division employee deliberating on
                                                                                                                 Elec Legal
                                                                    High Priority                                                                                                                          Process             interpreting chain of custody requirements
                                                                 RE Generic Chain of                          Alexa Buxkemper;                                                                            Attorney          Email communication between SOS attorney and
DOC_0834151   Chuck Pinney   2/27/2023       Outlook Email        Custody Provision -    Elizabeth Hawkins    Christina Adkins;                                                Privileged - Withhold Client;Deliberative       Elections Division employee deliberating on
                                                                    High Priority                                 Elec Legal                                                                               Process             interpreting chain of custody requirements
                                                                                                             Lena Proft; Christina
                                                                    FW [External                               Adkins; Charles                                                                              Attorney       Email between SOS attorneys deliberating on how
STATE178075   Chuck Pinney   11/17/2022      Outlook Email       Sender]Signatures of     Heidi Martinez        Pinney; Andre                                                   Privileged - Redact    Client;Deliberative to respond to question from Dallas County Election
                                                                 Appointing Authority                         Montgomery; Keith                                                                              Process       Department about poll watcher appointment forms
                                                                                                                   Ingram
                                                                                                             Heidi Martinez; Lena
                                                                    Re [External                               Proft; Christina                                                                           Attorney       Email between SOS attorneys deliberating on how
DOC_0834183   Chuck Pinney   11/18/2022      Outlook Email       Sender]Signatures of      Keith Ingram        Adkins; Charles                                                 Privileged - Withhold Client;Deliberative to respond to question from Dallas County Election
                                                                 Appointing Authority                           Pinney; Andre                                                                              Process       Department about poll watcher appointment forms
                                                                                                                 Montgomery
                                                                 RE It Is Time to Get                           Keith Ingram;                                                                                                Email communication between SOS attorneys
STATE178079   Chuck Pinney   12/12/2022      Outlook Email        Rid of Black Box         Adam Bitter        Christina Adkins;                                                 Privileged - Redact     Attorney Client    regarding election integrity concerns received from
                                                                        Voting                                 Charles Pinney                                                                                                          the office of Rep Hartnett
                                                                                                              Christina Adkins;
                                                                    FW [External                             Charles Pinney; Lena                                                                         Attorney       Email between SOS attorneys deliberating on how
DOC_0834197   Chuck Pinney   11/21/2022      Outlook Email       Sender]Signatures of     Heidi Martinez         Proft; Andre                                                  Privileged - Withhold Client;Deliberative to respond to question from Dallas County Election
                                                                 Appointing Authority                         Montgomery; Keith                                                                            Process       Department about poll watcher appointment forms
                                                                                                                   Ingram
                                                                                                                                                                                                                            Email communication between SOS attorney and
                                                                 RE May Breakdown                            Charles Pinney; Elec
DOC_0834200   Chuck Pinney    1/3/2023       Outlook Email                               Elizabeth Hawkins                                                                     Privileged - Withhold    Attorney Client     Elections Division employee regarding drafting of
                                                                     Calendar                                       Legal
                                                                                                                                                                                                                                            election calendar
                                                                                                                                                              YEARLY &
                                                                                                                                                               MONTHY
                                          Microsoft Excel 2016                                                                                                                                                                 A draft version of May 6, 2023 Election Law
DOC_0834201   Chuck Pinney    1/3/2023                                                   Elizabeth Hawkins                                                   BREAKDOWN         Privileged - Withhold    Attorney Client
                                               Workbook                                                                                                                                                                           Calendar that contains attorney edits
                                                                                                                                                              05 06 2022
                                                                                                                                                            CALENDAR xlsx
                                                                                                             Heidi Martinez; Lena
                                                                    Re [External                               Proft; Christina                                                                           Attorney       Email between SOS attorneys deliberating on how
DOC_0834211   Chuck Pinney   11/18/2022      Outlook Email       Sender]Signatures of      Keith Ingram        Adkins; Charles                                                 Privileged - Withhold Client;Deliberative to respond to question from Dallas County Election
                                                                 Appointing Authority                           Pinney; Andre                                                                              Process       Department about poll watcher appointment forms
                                                                                                                 Montgomery
                                                                 Re 271 SAO Hotline                                                                                                                                            Election complaint received SAO Complaint
                                                                                                              Kate Fisher; Keith
DOC_0834221   Chuck Pinney   12/8/2022       Outlook Email           Complaint -          Charles Pinney                               Heidi Martinez                          Privileged - Withhold     Investigative       Hotline regarding potential vote harvesting in
                                                                                                                   Ingram
                                                                   Assignment (CP)                                                                                                                                                          Tarrant County
                                                                                                                                                                                                                               Election complaint received SAO Complaint
                                                                                            Information                                                    Duane Sedge (SAO) -
DOC_0834222   Chuck Pinney   12/8/2022    Microsoft Word 97/98                                                                                                                 Privileged - Withhold     Investigative       Hotline regarding potential vote harvesting in
                                                                                            Technology                                                           NR doc
                                                                                                                                                                                                                                            Tarrant County
                                                                   Re 318 Monica                                                                                                                                             Election complaint submitted 11/2/22 regarding
                                                                    Flores-Rolater                            Kate Fisher; Keith                                                                                              potential unlawful assistance in 2022 General
DOC_0834229   Chuck Pinney   12/7/2022       Outlook Email                                Charles Pinney                               Heidi Martinez                          Privileged - Withhold     Investigative
                                                                     Complaint -                                   Ingram                                                                                                                       Election
                                                                   Assignment (CP)
                                                                   RE Provisional
                                                                    Ballot Affidavit                                                                                                                                        Email between SOS attorneys regarding question
                                                                                                               Charles Pinney;
                                                                  Envelope Transfer                                                                                                                                         from Travis County Tax Office about provisional
STATE178083   Chuck Pinney   12/7/2022       Outlook Email                                Heidi Martinez      Christina Adkins;                                                 Privileged - Redact     Attorney Client
                                                                     and Review                                                                                                                                               ballot affidavit envelope transfer and review
                                                                                                                 Elec Legal
                                                                 Procedures for Travis                                                                                                                                                          procedures
                                                                        County
                                                                                                          Heidi Martinez;
                                                                    RE [External                                                                                                                                            Email between SOS attorneys regarding question
                                                                                                         Christina Adkins;
DOC_0834282   Chuck Pinney   11/21/2022      Outlook Email       Sender]Signatures of Andre Montgomery                                                                         Privileged - Withhold    Attorney Client      from Dallas County Election Department about
                                                                                                       Charles Pinney; Lena
                                                                 Appointing Authority                                                                                                                                               poll watcher appointment forms
                                                                                                        Proft; Keith Ingram
                                                                    Re Provisional
                                                                    Ballot Affidavit                                                                                                                                         Email communication between SOS attorneys
                                                                  Envelope Transfer                           Christina Adkins;                                                                                            regarding question from Travis County Tax Office
DOC_0834285   Chuck Pinney   12/6/2022       Outlook Email                                Charles Pinney                                                                       Privileged - Withhold    Attorney Client
                                                                     and Review                                  Elec Legal                                                                                                about provisional ballot affidavit envelope transfer
                                                                 Procedures for Travis                                                                                                                                                   and review procedures
                                                                        County


                                                                                                                      29 of 30
                                            Case 5:21-cv-00844-XR Document 747-18 Filed 09/01/23 Page 30 of 30
                                                                          LUPE v. Texas, No. 5:21-cv-844-XR - Privilege Log May 12, 2023

ID Number      Custodian       Date          Application              Subject               Author                  To                    CC                 Filename              Treatment               Claim                        Privilege Statement

                                                                FW It Is Time to Get                          Adam Bitter;                                                                                                 Email communication between SOS attorneys
STATE178086   Chuck Pinney   12/12/2022     Outlook Email         Rid of Black Box       Keith Ingram       Christina Adkins;                                                  Privileged - Redact     Attorney Client   regarding election integrity concerns received from
                                                                       Voting                                Charles Pinney                                                                                                          the office of Rep Hartnett
                                                                  RE Provisional
                                                                   Ballot Affidavit
                                                                                                                                                                                                                         Email communication between SOS attorney and
                                                                 Envelope Transfer                          Christina Adkins;
STATE178090   Chuck Pinney   12/6/2022      Outlook Email                               Alexa Buxkemper                                                                        Privileged - Redact     Attorney Client   Election Division staff regarding provisional ballot
                                                                    and Review                                 Elec Legal
                                                                                                                                                                                                                                   question from Travis County
                                                                Procedures for Travis
                                                                       County
                                                                                                                                                        May 6, 2023 Election
                                                                                                                                                                                                                         Attorney draft version of the May 7, 2022 Election
DOC_0834314   Chuck Pinney   11/2/2022    Microsoft Word 2016                             Allison Fick                                                   Law Calendar (AM Privileged - Withhold        Attorney Client
                                                                                                                                                                                                                                           Law Calendar
                                                                                                                                                         half) (DRAFT) docx
                                                                  Re 318 Monica                                                                                                                                            Election complaint submitted 11/2/22 regarding
                                                                   Flores-Rolater                           Kate Fisher; Keith                                                                                              potential unlawful assistance in 2022 General
DOC_0834316   Chuck Pinney   12/7/2022      Outlook Email                                Charles Pinney                              Heidi Martinez                           Privileged - Withhold     Investigative
                                                                    Complaint -                                  Ingram                                                                                                                       Election
                                                                  Assignment (CP)
                                                                                                                                                          Monica Flores-                                                 Draft letter to the Director of Law Enforcement at
DOC_0834317   Chuck Pinney   12/7/2022    Microsoft Word 2016                            Charles Pinney                                                  Rolater - Unlawful Privileged - Withhold       Investigative     the Office of Attorney General referring election
                                                                                                                                                        Assistance - AG docx                                                                  complaint
                                                                 RE 318 Monica
                                                                                                                                                                                                                           Election complaint submitted 11/2/22 regarding
                                                                  Flores-Rolater                           Charles Pinney; Kate
DOC_0834319   Chuck Pinney   12/7/2022      Outlook Email                                Keith Ingram                                Heidi Martinez                           Privileged - Withhold     Investigative       potential unlawful assistance in 2022 General
                                                                   Complaint -                                    Fisher
                                                                                                                                                                                                                                              Election
                                                                 Assignment (CP)
                                                                RE DRAFT email to                          Charles Pinney; Lena
                                                                                                                                                                                                                           Email between SOS attorneys regarding inquiry
DOC_0834423   Chuck Pinney    3/3/2023      Outlook Email         Ellis County re        Heidi Martinez      Proft; Elections-                                                Privileged - Withhold    Attorney Client
                                                                                                                                                                                                                         from Ellis County about election services contracts
                                                                 Farmers Branch                                  Attorneys
                                                                RE DRAFT email to                             Heidi Martinez;
                                                                                                                                                                                                                          Email between SOS attorneys regarding inquiry
DOC_0834453   Chuck Pinney    3/3/2023      Outlook Email         Ellis County re          Lena Proft         Charles Pinney;                                                 Privileged - Withhold    Attorney Client
                                                                                                                                                                                                                         from Ellis County about election services contract
                                                                 Farmers Branch                             Elections-Attorneys
                                                                                                            Alexa Buxkemper;                                                                                              Email from SOS attorney to Election Division staff
                                                                epollbook Handbook
DOC_0834475   Chuck Pinney   1/18/2023      Outlook Email                               Christina Adkins    David Velez-Perez;                                                Privileged - Withhold    Attorney Client      regarding how to draft handbook in compliance
                                                                      (DRAFT)
                                                                                                              Charles Pinney                                                                                                                   with EPB
                                                                                                                                                        epollbook Handbook                                                   Attorney-drafted handbook about epollbooks
DOC_0834476   Chuck Pinney   1/18/2023    Microsoft Word 2016                            Administrator                                                                     Privileged - Withhold       Attorney Client
                                                                                                                                                           (DRAFT) docx                                                            circulated to SOS staff as model
                                                                 Re Travis County                                                                                                                                          Email between SOS attorneys regarding inquiry
                                                                                                             Lena Proft; Elec
DOC_0834491   Chuck Pinney   5/25/2022      Outlook Email         EVBB Notice of         Charles Pinney                                                                       Privileged - Withhold    Attorney Client   from Travis County about communicating notices of
                                                                                                                 Legal
                                                                      Defect                                                                                                                                                                     defect
                                                                 RE Travis County                                                                                                                                          Email between SOS attorneys regarding inquiry
                                                                                                           Charles Pinney; Lena
DOC_0834492   Chuck Pinney   5/25/2022      Outlook Email         EVBB Notice of         Heidi Martinez                                                                       Privileged - Withhold    Attorney Client   from Travis County about communicating notices of
                                                                                                             Proft; Elec Legal
                                                                      Defect                                                                                                                                                                     defect
                                                                 RE Travis County                            Heidi Martinez;                                                                                               Email between SOS attorneys regarding inquiry
DOC_0834531   Chuck Pinney   5/25/2022      Outlook Email         EVBB Notice of          Melanie Best     Charles Pinney; Lena                                               Privileged - Withhold    Attorney Client   from Travis County about communicating notices of
                                                                     Defect                                  Proft; Elec Legal                                                                                                                defect
                                                                 RE Travis County                                                                                                                                         Email between SOS attorneys regarding inquiry
                                                                                                             Lena Proft; Elec
DOC_0834535   Chuck Pinney   5/25/2022      Outlook Email         EVBB Notice of         Heidi Martinez                                                                       Privileged - Withhold    Attorney Client  from Travis County about communicating notices of
                                                                                                                 Legal
                                                                     Defect                                                                                                                                                                    defect
                                                                                                                                     Keith Ingram;                                                       Attorney       Email between SOS staff and general counsel about
                                                                 FW OCA-Greater
DOC_0834536   Chuck Pinney    6/7/2022      Outlook Email                                Heidi Martinez         Elec Legal          Christina Adkins;                         Privileged - Withhold Client;Deliberative     legal implications of OCA-Greater Houston
                                                                  Houston Order
                                                                                                                                      Adam Bitter                                                         Process                            decision
                                                                Re DRAFT email to
                                                                                                           Lena Proft; Elections-                                                                                         Email between SOS attorneys regarding inquiry
DOC_0834627   Chuck Pinney    3/3/2023      Outlook Email         Ellis County re        Charles Pinney                                                                       Privileged - Withhold    Attorney Client
                                                                                                                Attorneys                                                                                                from Ellis County about election services contract
                                                                 Farmers Branch
                                                                                                                                                          Tenex - Precinct
                                                                                          Information                                                   Central 5 1 7 - Letter                                                Attorney-drafted letter to Tenex Software
DOC_0834873   Chuck Pinney   1/19/2023    Microsoft Word 2016                                                                                                                  Privileged - Withhold   Attorney Client
                                                                                          Technology                                                     Regarding Action                                                Solutions about certification of electronic pollbooks
                                                                                                                                                            Items docx




                                                                                                                    30 of 30
